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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAUL CHILL and SYLVIA CHILL, for the use
and beneﬁt of the CALAMOS GROWTH FUND,
                                Plaintiﬀs,
                                                                   OPINION AND ORDER
                     – against –                                       15 CIV. 1014 (ER)

CALAMOS ADVISORS LLC,
                                Defendant.


Ramos, D.J.:

        �is opinion considers whether a mutual fund investment adviser breached the “ﬁduciary

duty with respect to the receipt of compensation for services” that is imposed by § 36(b) of the

Investment Company Act of 1940 (the “ICA”) (codiﬁed at 15 U.S.C. § 80a-35(b)).

        Plaintiﬀs Saul Chill and Sylvia Chill are shareholders in of the Calamos Growth Fund

(the “Fund”), a mutual fund. Statement of Stipulated Facts (“SSF”) ¶ 1, Doc. 187-1. Defendant

Calamos Advisors LLC (“Calamos”) serves as investment advisor to the Fund pursuant to an

Investment Management Agreement (the “IMA”) between Calamos and the Fund. Id. ¶ 58. �e

IMA requires Calamos to provide certain investment advisory services to the Fund in exchange

for an annual investment advisory fee. Id. ¶ 60.

        Plaintiﬀs ﬁled the present suit in February 2015 on behalf of and for the beneﬁt of the

Fund, pursuant to § 36(b) of the ICA. Compl. ¶ 1, Doc. 1. Plaintiﬀs claim that Calamos

received, and continues to receive, “excessive” investment advisory fees from the Fund, in

violation of its ﬁduciary duty under § 36(b). Id. ¶¶ 3–4.

        �e Court granted partial summary judgment to Calamos in September 2018, concluding

that Plaintiﬀs had failed to raise triable issues of fact related to two of the six so-called
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“Gartenberg factors” traditionally considered by courts in § 36(b) cases. See Chill v. Calamos

Advisors LLC, No. 15 Civ. 1014 (ER), 2018 WL 4778912, at *21 (S.D.N.Y. Oct. 3, 2018); see

also Gartenberg v. Merrill Lynch Asset Mgmt., 694 F.2d 923 (2d Cir. 1982). Speciﬁcally, the

Court concluded that Plaintiﬀs had failed to raise triable issues of fact regarding the extent to

which Calamos realized and shared “fall-out” beneﬁts and economies of scale. Chill, 2018 WL

4778912 at *21.

       In that same opinion, the Court declined to rule on the parties’ motions to exclude certain

expert testimony from the record. Id. �e Court explained that if, after hearing live testimony at

trial, it concluded that an expert was unqualiﬁed to opine on a particular topic or oﬀered

unreliable or unhelpful opinions, then the Court would aﬀord those opinions little or no weight in

evaluating the merits of Plaintiﬀs’ claim. Id. at *6–7.

       �e Court commenced a bench trial on November 19, 2018 that lasted two weeks.

Because of the Court’s pre-trial rulings, the evidence introduced at trial centered on whether the

compensation received by Calamos was excessive in light of the four remaining “Gartenberg

factors” — namely, (1) the nature and quality of services provided to the Fund and its

shareholders; (2) the proﬁtability of the Fund to Calamos; (3) comparative fee structures (in other

words, a comparison of the fees paid to Calamos by the Fund with those paid by similar funds);

and (4) the care and conscientiousness of the Fund’s board of trustees in evaluating adviser

compensation. �e Court also considered all other pertinent facts.

       Shortly after trial, the parties submitted proposed ﬁndings of facts and conclusions of law.

See Docs. 217–22. Closing arguments were held in February 2019. For the reasons explained

below, the Court concludes that Plaintiﬀs have failed to prove that Calamos breached its duty

under § 36(b). Accordingly, Plaintiﬀs’ claim is DISMISSED.




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I.     THE INVESTMENT COMPANY ACT OF 1940

       Congress adopted the ICA to regulate investment companies, including mutual funds.

Jones v. Harris Assocs. L.P., 559 U.S. 335, 338 (2010). “A mutual fund is a pool of assets,

consisting primarily of [a] portfolio [of] securities, and belonging to the individual investors

holding shares in the fund.” Id. (quoting Burks v. Lasker, 441 U.S. 471, 480 (1979)) (alteration

in original). Typically, a mutual fund is created by a separate entity called an investment advisor,

which also selects the fund’s board of trustees, manages the fund’s investments, provides the

fund with administrative services, and markets the fund to shareholders — all in exchange for

various fees paid by the fund to the investment advisor. Jones, 559 U.S. at 338.

       “Because the [investment] generally supervises the daily operation of the fund and often

selects aﬃliated persons to serve on the company’s board of directors, the relationship between

investment advisers and mutual funds is fraught with potential conﬂicts of interest.” Daily

Income Fund, Inc. v. Fox, 464 U.S. 523, 536 (1984) (internal quotation marks omitted).

“�erefore, the forces of arm’s-length bargaining do not work in the mutual fund industry in the

same manner as they do in other sectors of the American economy.” Burks, 441 U.S. at 481

(quoting S. Rep. No. 91-184, at 5 (1969)).

       To lessen “the potential for abuse inherent in the structure of investment companies,” id.

at 480, Congress, through passage of the ICA, established a regulatory scheme for the industry

that limited who may be on a fund’s board of directors and required that any contract between

advisors and a fund be approved by the board and shareholders. See Fox, 464 U.S. at 536–37.

       As the Supreme Court detailed in Jones, the growing popularity of mutual funds as an

investment vehicle in the 1950s and 1960s sparked studies and reports centered on the ICA’s

eﬀectiveness (or lack thereof) in protecting shareholders. 559 U.S. at 339. One Securities and




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Exchange Commission (“SEC”) report found that mutual fund advisors often charged higher fees

to captive funds than to their other clients, despite the best eﬀorts of the then-current version of

the ICA. See Fox, 464 U.S. at 537.

          Congress thereafter set out to remedy the perceived inadequacies in the ICA and bolster

shareholder protection. To that end, Congress amended the ICA in two primary ways with the

Investment Company Amendments Act of 1970 (“ICAA”), Pub. L. No. 91-547, 84 Stat. 1413

(1970).

          First, in an eﬀort to control conﬂicts of interest within mutual funds, Congress amended

the ICA to require that at least 40% of an investment company’s board be composed of members

who are not “interested persons” in the company, as deﬁned by the ICA. ICAA § 5 (codiﬁed at

15 U.S.C. § 80a–10(a)); see also Burks, 441 U.S. at 482. �is “stricter” requirement

strengthened the prior version of the ICA, which required that only 40% of the board not be

oﬃcers or employees of the company or “aﬃliated persons” of the company’s advisor. See id.

(citing the Investment Company Act of 1940, ch. 686, 54 Stat. 789, 806 (1940)). Congress also

added a requirement that the outside members of the board not be “interested persons” — a much

“broader category than the previously identiﬁed group of persons ‘aﬃliated’ with the advisor,”

Fox, 464 U.S. at 538 (citing 15 U.S.C. §§ 80a-2(a); 80a-15(c)). �e ICA assigns “a host of

special responsibilities” to the disinterested board members. Jones, 559 U.S. at 340 (citation

omitted). Of note, the disinterested board members “review and approve the contracts of the

investment annually, and a majority of these [members] must approve an adviser’s

compensation.” Id. (internal quotation marks and citation omitted).

          Second, Congress added § 36(b) to the ICA. Section 36(b) “imposed upon investment

advisers a ‘ﬁduciary duty’ with respect to compensation received from a mutual fund and granted




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individual investors a private right of action for breach of that duty.” Jones, 559 U.S. at 340

(citing 84 Stat. 1429, codiﬁed at § 80a-35(b) (internal citations removed)). Notably, “[i]n

contrast to its approach in other aspects of the 1970 amendments, . . . Congress decided not to

rely solely on the fund’s directors to assure reasonable adviser fees, notwithstanding the

increased disinterestedness of the board.” Fox, 464 U.S. at 540 (emphasis added).

        “�e ‘ﬁduciary duty’ standard contained in § 36(b) represent[s] a delicate compromise.”

Jones, 559 U.S. at 340. Speciﬁcally, § 36(b) reﬂects Congress desire to adopt “a diﬀerent

method of testing management compensation that [is] more favorable to shareholders than the

previously available remedies,” yet stringent enough to “not permit a compensation agreement to

be reviewed in court for ‘reasonableness.’” Id. (citation and some internal quotation marks

omitted).

        “Congress added § 36(b) to the ICA in 1970 because it concluded that . . . shareholders

should not have to ‘rely solely on the fund’s directors to assure reasonable adviser fees,

notwithstanding the increased disinterestedness of the board.’” Kamen v. Kemper Fin. Servs.,

Inc., 500 U.S. 90, 108 (1991) (quoting Fox, 464 U.S. at 540). �us, the ICA allows shareholders,

like Plaintiﬀs, to ﬁle suit on behalf of the company for breach of the investment adviser’s

ﬁduciary duty with respect to compensation received from the company. Id.

II.     LEGAL STANDARD

        To succeed on their § 36(b) claim, Plaintiﬀs must demonstrate by a preponderance of the

evidence that the advisory fee charged to the Fund by Calamos during the relevant period 1 was


1
 Under § 36(b), Plaintiffs cannot recover damages from Calamos “for any period prior to one year before the action
was instituted.” 15 U.S.C. § 80a-35(b)(3). Here, in accordance with § 36(b), Plaintiffs challenge the advisory fees
paid by the Fund to Calamos as far back as February 11, 2014 — one year prior to the filing of their complaint. See
Pls.’ Resp. to Def.’s Statement of Material Facts Not in Dispute, ¶ 22, Doc. 79. But the advisory fee then in effect
was approved during a June 2013 board of trustees meeting. See Kotler Decl. in Support of Def.’s Mot. for Summ.



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“so disproportionately large that it bears no reasonable relationship to the services rendered and

could not have been the product of arm’s length bargaining.” Jones, 559 U.S. at 346 (citing

Gartenberg, 694 F.2d at 928). �e ICA requires courts to consider all relevant factors in

evaluating an advisory fee. Id. at 349. �e Supreme Court has approved a focus on the

following six factors analyzed in Gartenberg when considering whether a fee is “so

disproportionately large”: “[1] the nature and quality of services provided to fund shareholders;

[2] the proﬁtability of the fund to the advisor-manager; [3] fall-out beneﬁts; [4] economies of

scale; [5] comparative fee structures; and [6] the independence and conscientiousness of the

trustees.” Krinsk v. Fund Asset Mgmt., Inc., 875 F.2d 404, 409 (2d Cir. 1989) (citing Gartenberg,

694 F.2d at 929–30); accord Jones, 559 U.S. at 344 n.5.

        While courts are the ultimate arbiters of whether an advisory fee is excessive, “the

structure and purpose of the ICA indicate that Congress entrusted to the independent directors of

investment companies . . . primary responsibility for looking after the interests of the funds’

shareholders.” Burks, 441 U.S. at 484–85; see also Jones, 559 U.S. at 348 (noting that the ICA

“interposes disinterested directors as ‘independent watchdogs’ of the relationship between a

mutual fund and its advisor” (quoting Burks, 441 U.S. at 484)). Consequently, “the standard for

ﬁduciary breach under § 36(b) does not call for judicial second-guessing of informed board

decisions.” Jones, 559 U.S. at 352. For this reason, the Supreme Court has instructed courts to

refrain from “supplant[ing] the judgment of disinterested directors apprised of all relevant

information, without additional evidence that the fee exceeds the arm’s-length range.” Id.

(emphasis added). Put diﬀerently:

             [I]f the disinterested directors considered the relevant factors, their decision

J., Ex. 27 at 00503387–428, Doc. 67. Thus, unless otherwise stated, the Court considers “relevant” the period as far
back as the June 2013 board meeting through the present. See SSF ¶ 22.



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           to approve a particular fee agreement is entitled to considerable weight,
           even if a court might weigh the factors diﬀerently. �is is not to deny that
           a fee may be excessive even if it was negotiated by a board in possession of
           all relevant information, but such a determination must be based on evi-
           dence that the fee is so disproportionately large that it bears no reasonable
           relationship to the services rendered and could not have been the product of
           arm’s-length bargaining.
Id. at 351 (internal quotation marks and citations omitted). Ultimately, “[w]here a board’s

process for negotiating and reviewing investment-adviser compensation is robust, a reviewing

court should aﬀord commensurate deference to the outcome of the bargaining process.” Id.

Likewise, “where the board’s process was deﬁcient or the adviser withheld important

information, the court must take a more rigorous look at the outcome.” Id. In the end, courts

must focus on both procedure and substance, id., and bestow “such consideration . . . as is

deemed appropriate under all the circumstances” to board approval of an adviser’s

compensation, id. at 348 (quoting 15 U.S.C. § 80a-35(b)(2)).

       With these precepts in mind, the Court turns to the facts and merits of Plaintiﬀs’ suit.

III.   FINDINGS OF FACT

       A. �e Parties

       Plaintiﬀs Saul and Sylvia Chill have been shareholders of the Fund at all times since July

2005. SSF ¶ 1.

       Defendant Calamos is an investment adviser registered under the ICA, organized under

Delaware law as a limited liability company, and headquartered in Naperville, Illinois. Id. ¶ 3.

Calamos oﬀers certain investment products to its clients, including open-end mutual funds,

closed-end funds, undertakings for collective instruments in transferable securities (“UCITS”),

institutional accounts, managed accounts, commingled privately placed funds, and oﬀshore

funds. Id. ¶¶ 5–6.




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         B. �e Fund

         Calamos has established sixteen Open-End Funds and has at all times sponsored them

and served as their investment advisor. Id. ¶¶ 7–8. �e sixteen Open-End Funds are organized

as a separate series within Calamos Investment Trust (“CIT”), a Massachusetts business trust

registered with the SEC as an open-end investment management company under the ICA. Id.

¶ 7. �e Open-End Funds continuously oﬀer shares to the public that can be purchased or

redeemed at any time. Def.’s Proposed Findings of Fact and Conclusions of Law (“DPF”) ¶ 22,

Doc. 218.

         One such Open-End Fund is the Fund (that is, the Calamos Growth Fund). Pls.’ Resps. to

Def.’s Proposed Findings of Fact and Conclusions of Law (“Pls.’ Resps.”) ¶ 18, Doc. 220. 2

Calamos established the Fund in 1990. SSF ¶ 9. �e Fund, like other mutual funds, has no

employees. Pls.’ Resps. ¶ 23. Instead, it contracts with Calamos to provide, directly or

indirectly, almost all of the services necessary to operate the Fund under the ICA and other

federal laws and regulations. DPF ¶ 23.

         �e Fund is managed following Calamos’ “All Cap Growth” investment strategy. SSF

¶ 10. �e All Cap Growth strategy is sometimes referred to as the “U.S. Equity Growth”

strategy, the “U.S. Growth” strategy, the “Growth” strategy, or simply “ACG.” Id. In addition to

the Fund, Calamos oﬀers its All Cap Growth investment strategy to: (1) non-U.S. investors,

through the U.S. Growth Fund UCITS; (2) institutional investors, through separately managed

accounts; (3) investment vehicles sponsored by other investment advisors for whom Calamos

serves as a sub-advisor; and (4) managed accounts. Id. ¶ 11.



2
 All references to the parties’ proposed findings of facts and conclusions of law (or responses to the opposing
party’s proposed findings and conclusions) incorporate the evidentiary citations therein.



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       �e Fund’s investment objective, as disclosed in its ﬁlings with the SEC and in materials

sent to Fund shareholders, is long-term capital growth. Id. ¶ 12. �e Fund’s benchmarks, as

disclosed in its ﬁlings with the SEC and in materials sent to shareholders, have at various times

included the Russell 3000 Growth Index and the Russell Midcap Growth Index. Id. ¶ 13.

       Calamos, like investment advisors across the industry, does not price the services it

provides to the Fund — or any other account — on a “cost-plus” basis. DPF ¶ 214. In other

words, it does not price the services that it provides by ﬁrst determining the cost required to oﬀer

the service and then adding some pre-determined proﬁt ﬁgure to that cost. Id. Instead, Calamos

prices the services it provides to the Fund by referring to the market rates that its competitor

investment advisors charge to peer mutual funds. Calamos’ market-based approach for setting

mutual fund prices is consistent with the pricing approach followed by other investment advisors

in the asset management industry. Id.

       C. �e CIT Board

       �e CIT Board of Trustees (the “Board”) oversees each of the Funds within CIT,

including the Fund. SSF ¶ 25. During the relevant period, the Board was comprised of the

following persons: John P. Calamos, Sr.; Stephen B. Timbers; John E. Neal; William R. Rybak;

David D. Tripple; Weston W. Marsh (until July 2015); Virginia G. Breen (from September 2015

through the present); �eresa Hamacher (from September 2015 through mid-2017); and Lloyd

Wennlund (from July 2018 through the present). Id. ¶ 23. All of the directors except for John

Calamos are “Independent Trustees” — that is, trustees who are not “interested” as deﬁned under

the ICA. Id. ¶ 22; Pls.’ Resps. ¶ 55.

       �ere is no genuine dispute surrounding the Independent Trustees’ independence or

qualiﬁcations. Each of the Independent Trustees has over twenty-ﬁve years of experience in the




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ﬁnancial services industry, including board and senior executive positions with a number of

investment advisors who advise both mutual funds and institutional accounts. Pls.’ Resps. ¶ 57.

Each year since 2004, the Board has appointed Stephen Timbers as Lead Independent Trustee.

SSF ¶ 26.

       �e Independent Trustees also comprised three diﬀerent standing committees of the

Board — that is, the Audit, Valuation, and Governance Committees. Id. ¶ 24. �e Board’s Audit

and Valuation Committees met quarterly; the Governance Committee met twice a year. Id. ¶ 29.

Each year since 2001, the Board has appointed John Neal as Chair of the Board’s Audit

Committee. Id. ¶ 27.

       During the relevant period, the Board held in-person meetings four times per year —

typically in March, June or July, September, and December — with additional meetings held

telephonically as needed. Id. ¶¶ 28, 30. �e Board also received monthly performance reports

from Calamos concerning the Fund. Id. ¶ 31.

       In advance of each regular Board meeting, the Independent Trustees received hundreds of

pages of written materials for their review. Pls.’ Resps. ¶ 76. �ese written materials covered a

wide variety of subjects including: fund performance; quarterly performance reports on service

providers; ﬁnancial reports; reports on services provided by Calamos to the Funds; shareholder

and client services updates; compliance reports; and information on industry, legal, and

regulatory developments. Id.

       With respect to fund performance, at each Board meeting Calamos delivered a Chief

Investment Oﬃcer Update on its business and the Fund, including an overview of the Fund’s

performance history over a series of short-, medium-, and long-term periods, as well as a global

outlook of the market. Id. ¶ 77. �e Independent Trustees also regularly received a “Focus




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Fund” report from Calamos containing more detailed information regarding the Fund’s holdings,

performance, and outlook, as well as in-person presentations from the Fund’s portfolio manager.

Id.

       During the relevant period, the Independent Trustees were fully aware of the Fund’s long-

term history of success and its more recent performance challenges relative to its peer funds and

its benchmarks. Id. ¶ 92. �roughout each year, the Independent Trustees considered a variety

of measurements of the Fund’s performance: (1) on an absolute basis, (2) relative to

benchmarked indices, and (3) relative to peer funds. Id. �e Trustees also considered Calamos’

long-term history of managing the Fund, including the fact that the Fund has been in existence

for nearly thirty years — which is unusual longevity for a mutual fund — and that the Fund’s

“since-inception” performance remains strong. Id.

       �e Independent Trustees annually requested and considered extensive information

concerning the nature, quality, and extent of Calamos’ services to the Fund. Id. ¶ 78. In

addition, Calamos employees regularly prepared and presented reports and presentations at every

Board meeting on the many services that Calamos provided to the Fund. Id. �ey also

informally conferred with the Independent Trustees concerning the Fund’s struggles with

performance. Id. ¶ 93.

       D. Service Agreements with Calamos,
          Calamos Aﬃliates, and �ird-Party Providers

       CIT has entered into agreements with Calamos, certain of Calamos’ aﬃliates, and various

third-party service providers unaﬃliated with Calamos to provide the Funds with the services

required for their continuing operations. SSF ¶ 56. Calamos monitors, supervises, and oversees

the third-party service providers who provide services to the Funds, whether through agreements

with CIT or through the agreements with Calamos. Id. ¶ 57.



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           The Investment Management Agreement

       CIT has entered into an Investment Management Agreement (the “IMA”) dated

December 13, 2004, as subsequently amended, appointing Calamos as the Funds’ investment

advisor. Id. ¶ 58. �e IMA is subject to annual review and approval by the Independent

Trustees. Id. ¶ 59. �e IMA includes advisory fee schedules. Id. ¶ 60. �e Fund’s advisory fee

schedule, which is disclosed in Fund ﬁlings with the SEC and in materials sent to Fund

shareholders, was as follows from December 2004 through June 2018:


                                  ADVISORY FEE SCHEDULE
                                        Growth Fund
                Monthly                                                           Annual
                Average Net Assets                                                Fee Rate

                Assets up to
                and including $500 million ...................................... 1.00%

                Next $500 million up to
                and including $1 billion ........................................... 0.90%

                Next $5 billion up to
                and including $6 billion ........................................... 0.80%

                Next $5 billion up to
                and including $11 billion ......................................... 0.78%

                Next $5 billion up to
                and including $16 billion ......................................... 0.76%

                Next $5 billion up to
                and including $21 billion ......................................... 0.74%

                Next $5 billion up to
                and including $26 billion ......................................... 0.72%

                Assets above $26 billion .......................................... 0.70%
Id.

       �e Independent Trustees approved a revised fee schedule for the Fund in July 2018,



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which is as follows:


                                    ADVISORY FEE SCHEDULE
                                          Growth Fund
                 Monthly                                                               Annual
                 Average Net Assets                                                    Fee Rate

                 Up to and including $500 million ...........................            1.00%

                 Next $500 million up to
                 and including $1 billion...........................................     0.90%

                 Next $5 billion up to
                 and including $6 billion...........................................     0.80%

                 Assets above $6 billion ...........................................     0.70%

Id. ¶ 61. �e revised fee schedule does not reduce the advisory fees or eﬀective fee rates that the

Fund currently pays; Fund assets are currently below $2 billion, and the advisory fee rates with

respect to the ﬁrst $6 billion of Fund AUM are identical in both the pre- and post-June 2018

advisory fee rate schedules. Def.’s Resps. to Pls.’ Proposed Findings of Fact and Conclusions of

Law (“Def.’s Resps.”) ¶ 37, Doc. 222.

       �e eﬀective advisory fee rate paid by the Fund to Calamos for each annual period

(ending October 31) between 2007 and 2017, as stated in the Fund’s annual prospectuses ﬁled

with the SEC in late February or early March each year, were as follows:




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                           Year                Eﬀective Advisory Fee Rate as
                      (ending Oct. 31)         % of Average Daily Net Assets
                           2007                           0.79%
                           2008                           0.80%
                           2009                           0.82%
                           2010                           0.81%
                            2011                          0.81%
                           2012                           0.82%
                           2013                           0.83%
                           2014                           0.84%
                           2015                           0.85%
                           2016                           0.87%
                           2017                           0.89%

SSF ¶ 21. For the period from July 1, 2013 through June 30, 2014, the Board required that

Calamos accept a ﬁve-basis-point reduction to its annual investment advisory fee (approximately

6% of Calamos’ fee), at a total cost to Calamos of more than $2.4 million. Id. ¶ 35. In February

2017, the Fund’s lead portfolio manager was terminated and replaced due to the Fund’s

continued underperformance. Id. ¶ 36.

       �e Fund’s assets under management (“AUM”) and advisory fees paid for each year from

2007 through 2017 were as follows:

                                Fund AUM and Advisory Fees
                                          (in millions)
                                Fund Net Assets Advisory Fees Paid
                         Year
                                 (as of Oct. 31)      (as of Oct. 31)
                         2007            $17,494                   $128
                         2008             $7,863                   $109
                         2009             $7,988                    $58
                         2010             $8,293                    $66
                         2011             $7,727                    $71
                         2012             $6,392                    $60
                         2013             $4,441                    $41
                         2014             $3,484                    $32
                         2015             $2,726                    $26
                         2016             $1,899                    $19
                         2017             $1,672                    $15


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Id. ¶ 20.

            The Financial Accounting Services Agreement

        On behalf of the Funds, CIT also entered into an Amended and Restated Financial

Accounting Services Agreement with Calamos dated December 2004 (the “FASA”). Id. ¶ 62.

Pursuant to the FASA, Calamos was appointed the “Fund Accountant” for each of the Funds,

including the Fund, and was required to perform certain services for the Funds. Id. ¶ 63. �e

FASA set forth the following fee schedule:


                                        FEE SCHEDULE
            Each Party shall pay to Calamos for the services contemplated hereunder the
             following annual rate based on the daily average net assets of all Parties:
                                   0.0175% on the ﬁrst $1 billion
                                   0.0150% on the next $1 billion
                       0.0110% on average net assets in excess of $2 billion.


Id. ¶ 64.

        While the FASA was in operation, each of the Funds paid its pro-rata share of fees under

the FASA based on the proportion of its net assets to total net assets for all the Funds. Id. ¶ 66.

In line with this arrangement, the Fund paid the following “ﬁnancial accounting fees” to

Calamos pursuant to the FASA:

                                            Financial
                                         Accounting Fees
                                         2014 $450,484
                                         2015 $358,737
                                         2016 $252,712
                                         2017 $203,202

Id.¶ 67. �e FASA was terminated in November 2018. Id.¶ 65.

            Other Service Agreements Related to the Fund

        Non-party Calamos Financial Services LLC (“CFS”) is a registered broker-dealer under



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the Securities and Exchange Act of 1934 that serves as sole distributor for the Fund and is an

aﬃliate of Calamos. Id. ¶ 4.

        U.S. Bancorp Fund Services LLC (“USBFS”) serves as Transfer Agent to the Funds

pursuant to a January 2014 Transfer Agent Servicing Agreement between USBFS, CIT, and the

Calamos Advisors Trust. Id. ¶ 71. As Transfer Agent, USBFS is responsible for, among other

duties, keeping records of all mutual fund shareholders; opening, maintaining, and servicing fund

shareholder accounts; and processing all mutual fund share transactions, including purchases,

redemptions, dividend payments and reinvestments. Id. ¶ 72.

        Calamos has entered into a Services Agreement with Citibank, N.A. (“Citibank”) dated

August 2009, as subsequently amended. Id. ¶ 87. Under the Services Agreement, Citibank

provides Calamos with certain account management services. Id. ¶ 88.

        State Street Bank & Trust (“State Street”) serves as Custodian for the Funds pursuant to a

September 2009 Master Custodian Agreement between State Street and CIT. Id. ¶ 75. Pursuant

to the Master Custodian Agreement, State Street, among other duties, holds all cash and

securities for the Funds (directly or through a book-entry system); delivers and receives payment

for securities sold by the Funds; receives and pays for securities purchased by the Funds; collects

income from investments of the Funds; and provides the Funds with certain pricing services,

including automated pricing services and fair valuation services. Id. ¶ 76. State Street is

compensated under the Master Custodian Agreement for serving as Custodian for the Funds. Id.

¶ 78.

        CIT has entered into a Master Services Agreement dated March 2004 with State Street.

Id. ¶ 79. Under the Master Services Agreement, State Street provides certain administrative and

accounting services to the Funds. Id. ¶ 80. �ese duties include providing daily reconciliation of




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cash, trades, and positions; maintaining general ledger and capital stock accounts; preparing

daily trial balance; calculating net asset value; providing selected general ledger reports;

preferred share compliance; calculating total returns; and providing monthly distribution analysis

to the Funds. Id. State Street is compensated for the services rendered pursuant to the Master

Services Agreement. Id. ¶ 82.

        Calamos has also entered into a Sub-Administration Agreement with State Street dated

October 2009. Id. ¶ 83. Under this agreement, State Street provides Calamos with certain

administration-related services in exchange for a ﬂat annual fee per Open-End and Closed-End

Fund. Id. ¶ 84.

        State Street also provides securities lending services as one of the Funds’ securities

lending agents pursuant to a September 2009 Securities Lending Authorization Agreement

between State Street and Calamos (on behalf of the Funds). Id. ¶ 94. Under this agreement,

State Street administers a securities lending program on their behalf and loans out securities held

in the Funds’ portfolios to earn extra income for such Funds. Id. ¶ 95. Citibank provides similar

securities lending services to the Funds pursuant to a similar agreement and operates as the

Funds’ primary securities lending agent. Id. ¶ 96.

        Deloitte & Touche LLLP (“Deloitte”) is CIT’s independent auditor. Id. ¶ 90. Deloitte

audits and reports on the Funds’ annual ﬁnancial statements. Id. ¶ 91.

        And, ﬁnally, the Fund paid between $105,000 and $667,000 each year during the relevant

period to the Independent Trustees’ counsel and other third-party legal services providers. Id.

¶ 93.

        E. �e Independent Trustees’ Annual 15(c) Review

           The 15(c) Process

        Section 15(c) of the ICA requires that the Independent Trustees undertake an annual


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review to determine whether to approve the continuation of the IMA — a process known as the

Independent Trustees’ “15(c) Review.” Id. ¶ 37. Each year, the Independent Trustees’ Counsel

— led by Paulita M. Pike of K &L Gates LLP until 2015 and Ropes & Gray LLP afterwards, id.

¶¶ 32–33 — issues a letter to Calamos requesting information deemed necessary for the

Independent Trustees’ 15(c) Review (the “15(c) Request”). Id. ¶ 38. �e Counsel drafts the

15(c) Request and provides it to the Trustees for their review prior to sending it to Calamos. Id.

¶ 39. Pike’s team typically sends the 15(c) Request to Calamos in the spring of each year, in

advance of the June or July Board meeting where the Trustees vote as to whether to approve the

IMA. Id. ¶ 40.

       Calamos’ legal department initially receives the 15(c) Requests and assigns responsibility

for preparing responsive materials to personnel in one or more Calamos departments, including

Fund Administration, Operations, Trading, and Accounting. Id. ¶ 42. Calamos’ legal department

reviews the draft 15(c) Response materials provided by other Calamos departments. Id. ¶ 43.

Calamos’ legal department then sends the draft 15(c) Response materials to Independent

Trustees’ Counsel for review and comment. Id. ¶ 44. Once the 15(c) Responses are ﬁnalized,

Calamos provides them to the Independent Trustees for their review in advance of each June or

July Board meeting. Id. ¶ 45.

           Fund Comparative Analysis by Third-Party Service Providers

       As part of the Independent Trustees’ 15(c) Request, the Independent Trustees also

approve Calamos’ retention of a third-party service provider to independently compare the

Funds’ fees and performance against comparable mutual funds. Id. ¶ 46. �e Independent

Trustees approved the retention of Lipper, Inc., to provide the analyses in 2013 (the “Lipper

Report”). Id. ¶ 47. Morningstar, Inc. conducted the analysis in 2014, 2015, and 2016 (the




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“Morningstar Reports”), id. ¶ 48, while Strategic Insight conducted it in 2017 and 2018 (the “SI

Reports”), id. ¶ 49. Together, Lipper, Morningstar, and Strategic Insight are referred to herein as

the “Independent Data Providers.”

       �e third-party fee information received by the Independent Trustees compared the

Fund’s investment advisory fee to multiple diﬀerent groups of similar mutual funds. Pls.’ Resps.

¶ 259. �e smallest of these groups is the Fund’s “peer group,” a set of approximately ten to

twenty funds custom-selected by one of the Independent Data Providers, that each Data Provider

party considers to be most similar to the Fund. Id. A review of this smallest group of

comparable funds demonstrates that the Fund’s advisory fee was within the range of its peers

each year. Id. A chart reﬂecting this data is provided below:

                                             2013 2014 2015 2016 2017 2018
           Growth Fund Net
           Management Fee                    81.7     83     80      85    86.9    88.6
           (basis points)
           Peer Group Median
           Management Fee                    63.4     62     60      62    72.7    74.3
           (basis points)
           Growth Fund Management
           Fee vs Peer Group
                                             78%      88    94%     95%    80%     69%
           (percentile,
           high equal to 100%)

Id.

       In addition to showing the small peer group of similar mutual funds, the Lipper and

Morningstar reports prepared for the Independent Trustees also compared the Fund’s advisory

fee to that of a larger group of similar funds (ranging from about seventy to two hundred) known

as the “Lipper Expense Universe” or “Morningstar Category,” as applicable. As with the Fund’s

peer group, the Fund’s management fee fell within the range of fees in this larger category every

year for which data was available:


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                                                     2013 2014 2015 2016 2017 2018
   Growth Fund
   Net Management Fee                                81.7    83     80      85    86.9   88.6
   (basis points)
   Category Median
   Management Fee                                    73.0    69     69      68    N/A    N/A
   (basis points)

   Growth Fund Management Fee vs Category
                                          70%               81%    81%     83%    N/A    N/A
   (percentile)

Id. ¶ 260.

             Calculating Proﬁtability

       Under Gartenberg, the Independent Trustees are directed to consider the adviser’s pre-

distribution proﬁtability from managing each of the Funds in connection with their consideration

of whether to continue the IMA — that is, the proﬁtability the adviser realizes from the Funds

before distribution revenues and distribution expenses are considered. Id. ¶ 293. Accordingly,

for each year within the relevant period, the Independent Trustees requested and considered

information concerning Calamos’ pre-distribution proﬁtability from the Funds as part of their

15(c) Request. DPF ¶ 294. Each of Calamos’ 15(c) Responses contained a presentation titled

“Mutual Fund Proﬁtability” (the “15(c) Proﬁtability Presentations”) that claimed to depict the

proﬁtability to Calamos of serving as adviser to each of the Funds, including the Fund. Pls.’

Proposed Findings of Fact and Conclusions of Law (“PPF”) ¶ 238, Doc. 217 (citing DX 184-Q,

176-Q, 145-R, 113-S, 61-S, 32-Q). During the relevant period, these presentations were

standardized, diﬀering only in speciﬁc numbers (as opposed to methods of calculation or manner

of presentation). Id.

       �e pre-distribution proﬁtability information requested by the Independent Trustees is not

kept by Calamos in the ordinary course of business; nor is this information prepared or used for



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any purpose outside of the 15(c) Process. Pls.’ Resps. ¶ 295; Def.’s Resps. ¶ 271. Accordingly,

the information for Calamos’ 15(c) Proﬁtability Presentation is prepared through a process

overseen by Calamos’ accounting department, headed by Helmetag. DPF ¶ 296. Multiple

people both within and outside the accounting department, along with the Independent Trustees’

counsel, review and comment on the Proﬁtability Presentation. Id. As a result of this annual

process, Calamos provides the Independent Trustees with its annual calculation and assessment

of its pre-distribution proﬁtability with respect to the Fund through the Proﬁtability Presentation

that is part of its 15(c) Response. Id.

       �e Proﬁtability Presentation, inter alia, sets forth the methodology that Calamos uses to

calculate its proﬁtability with respect to the Fund. Pls.’ Resps. ¶ 297. As the Proﬁtability

Presentation explains, the proﬁtability calculations reﬂect the “functional” proﬁtability of the

advisory services Calamos provides to the Funds. Id. Because Calamos and CFS are aﬃliated,

there is not a strict delineation between the two entities with respect to which employees provide

advisory services to the Funds as opposed to distribution services. Id. To account for this,

Calamos reports proﬁtability attributable to “adviser” activities and proﬁtability attributable to

“distribution” activities on a functional basis — in other words, in a manner that is reﬂective of

the actual services that are being required, without concern for which legal entity or its nominal

employees are actually performing the service. Id. �is approach more completely reﬂects

Calamos’ proﬁtability from all services provided to the Funds. Id.

       Prior to 2012, Calamos allocated indirect costs by utilizing a “time spent” methodology.

DPF ¶ 303. Plaintiﬀs did not argue at trial that the “time spent” methodology was inappropriate,

nor did they argue that the proﬁtability calculations resulting from that methodology were

inaccurate. Id.




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       Since 2012, Calamos has allocated indirect costs according to average AUM. Pls.’ Resps.

¶ 304. �is indirect cost allocation proceeded in a two-step process. PPF ¶ 240. In the ﬁrst step,

a “product-line allocation,” Calamos started with the total advisory costs Calamos incurred in

advising all of its investment clients and products, and it allocated a portion of those total costs to

the Funds (as opposed to other clients, such as the sub-advised or institutional clients) according

to the Funds’ proportion of Calamos’ total AUM. Id. �us, for example, if the Funds constituted

86% of Calamos’ total AUM, then Calamos would allocate 86% of its total advisory costs to the

Fund. Id. In the second step, after having allocated an amount of advisory costs to the Funds in

the aggregate, Calamos then allocated portions of its aggregate Funds-related advisory costs to

each of the Funds, again on the basis of AUM (that is, each Fund’s proportion of the Funds’

aggregate AUM). Id.

           15(c) Board Meetings

       �e Independent Trustees annually voted on whether to approve the IMA at the following

Board meetings (the “15(c) Board Meetings”): June 26, 2014; July 16–17, 2015; June 30 and

July 1, 2016; and June 21, 2017. SSF ¶ 52. At each of these 15(c) Board Meetings, members of

Calamos’ management presented on various portion of the 15(c) materials to the Independent

Trustees. Id. ¶ 53. Following these presentations, the Independent Trustees met in executive

session with their counsel to vote on whether to continue the IMA. Id. ¶ 54. At each of these

15(c) Board Meetings, the Independent Trustees voted unanimously to approve continuation of

the IMA and the relevant Fund advisory fee rate schedule. Id. ¶ 55.

       F. �e Other ACG Accounts’ Advisory Fee Rates

       In addition to the open- and closed-end U.S.-regulated funds sponsored by Calamos,

Calamos also subadvised open-end U.S.-regulated mutual funds sponsored by third-party

investment advisors (Calamos’ “Subadvised Accounts” or “sub-advisory clients”), and it advised


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separately-managed accounts, predominantly for institutional investors (Calamos’ “Institutional

Accounts” or “institutional clients”). Id. ¶¶ 6–7. Some of these accounts used the All Cap

Growth strategy, like the Fund. (the “Other ACG Accounts” or “Other ACG Clients”). Id. ¶ 98.

�e Fund’s investment performance was substantially similar to the Other ACG Accounts’

investment performance. Id. ¶ 101.

           Calamos does not currently advise Other ACG Accounts, id. ¶ 98, and has not advised

such accounts since November 2016, Def.’s Resps., ¶ 4. �e majority of Other ACG Accounts

terminated their relationship with Calamos because of subpar performance. Trial Tr. 87:5–89:17

(Behan). 3

           During the relevant period, Calamos publicly reported in its Form ADV a standard

advisory fee rate schedule it oﬀered to its Other ACG Accounts. SSF ¶ 102. �e standard fee

rate schedule was as follows:

                       AUM Range                                       Rate
                       First $25 million in assets                    0.75%
                       Next $25 million, up to $50 million            0.70%
                       Next $25 million, up to $75 million            0.65%
                       Assets greater than $ 75 million               0.50%
Id. ¶ 103. All of Calamos’ Institutional Accounts (totaling 31 of the 36 Other ACG Accounts)

paid advisory fees to Calamos in accordance with the schedule above. See id. Ex. 1; Def.’s

Resps. ¶ 78. �e eﬀective fee rates paid by Calamos’ Institutional Accounts during the relevant

period ranged from 0.62% to 0.82%, with 26 accounts paying Calamos advisory fees 0.76% or

below. See SSF, Ex. 1.

           Calamos prices the services it provides to its Other ACG Clients by referring to the

market rates that its competitor investment advisors charge to institutional and sub-advised



3
    The trial transcript may be found at ECF Docs. 198, 200, 202, 204, 206, 208, and 210.



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accounts. DPF ¶ 214. Calamos’ market-based approach for setting institutional and sub-advised

account prices is consistent with the pricing approach followed by other investment advisors in

the asset management industry. Id.

        During the relevant period, Calamos’ Other ACG Accounts included ﬁve Subadvised

Accounts: the Nomura Currency Fund – U.S. Growth Equity Fund (“Nomura”); the MD

American Growth Fund and the MDPIM US Equity Pool (collectively, “MD American”); Union

Bancaire Privée (“UBP”); and �rivent Financial for Lutherans (“�rivent”). See Def’s. Resps.

¶ 72 n.115. 4 �ese accounts operated on diﬀerent fee schedules and paid eﬀective advisory fee

rates between 0.39% and 0.65%. Id. ¶ 77; see also SSF, Ex. 1.

        G. Calamos’ Witnesses

        In a bench trial, credibility determinations are the province of the presiding judge. See

DeGiorgio v. Fitzpatrick, No. 08 Civ. 6551 (LMS), 2011 WL 10501908, at *7 (S.D.N.Y. Mar. 8,

2011), report and recommendation adopted, No. 08 Civ. 6551 (KMK), 2013 WL 978792, at *3

(S.D.N.Y. Mar. 12, 2013); Haimdas v. Haimdas, No. 09 Civ. 2034 (ENV), 2010 WL 652823, at

*3 (E.D.N.Y. Feb. 22, 2010). Grounds for ﬁnding a witness incredible include, inter alia,

evasive, inconsistent, contradictory or implausible testimony. See, e.g., Latin Am. Music Co.,

Inc. v. Spanish Broad. Sys., Inc., 254 F. Supp. 3d 584, 589–90 (S.D.N.Y. 2017) (ﬁnding witness

incredible where he could not recall important details, his testimony directly contradicted prior

statements, and he evasively answered questions on cross-examination). Moreover, if the Court

ﬁnds that any portion of a witness’s testimony was intentionally untruthful or misleading, the

Court can elect, under the doctrine of falsus in uno falsus in omnibus, to reject the entirety of the


4
 Specifically, the IMAs operative between Calamos and each of these Subadvised Accounts made clear that
Calamos was being retained by another investment advisor to provide certain investment advisory services to a fund
or portfolio sponsored and managed by that investment advisor. PPF ¶ 72 n.5.



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witness’s testimony. Hernandez v. NJK Contractors, Inc., No. 09 Civ. 4812 (RER), 2015 WL

1966355, at *31 (E.D.N.Y. May 1, 2015) (citing United States v. Foster, 9 F.R.D. 367, 389

(S.D.N.Y. 1949)); accord Hyman v. Brown, 927 F.3d 639, 661–62 (2d Cir. 2019) (“[J]ust as the

law permits a factﬁnder who identiﬁes falsity in part of a witness’s testimony to discredit the

whole, it also aﬀords a factﬁnder discretion to credit parts of a witness’s testimony despite

discrediting others.” (citations omitted)).

         At trial, both parties put on multiple witnesses, including expert witnesses. 5 �e

witnesses’ backgrounds and testimonies are summarized in part below, as well as their

credibility, where applicable and relevant.

             Deposition Witnesses

         Calamos ﬁrst oﬀered the deposition testimony of ﬁve fact witnesses. Pls.’ Resps. ¶ 39.

Each of these witnesses has extensive asset management industry experience in his area of

specialty. Id. Each of Calamos’ deposition witnesses testiﬁed credibly. Id.

         Nimish Bhatt, Calamos’ former Chief Financial Oﬃcer, joined Calamos in January 2004

as Head of Operations and became Chief Financial Oﬃcer in 2011. Id. ¶ 40. Bhatt also served

as an Oﬃcer of the Funds, in which capacity he reported to the Board. Id.

         David Kalis, who was the portfolio manager for the Fund from approximately November

2014 through 2017, joined Calamos in approximately February 2013. Id. ¶ 41. Prior to that

time, he held a number of portfolio management positions at other ﬁrms. Id. In February 2017,

Michael Grant replaced Kalis as the head of U.S. growth strategy and portfolio manager of the

Fund. SSF ¶ 18.


5
  In advance of trial, Plaintiffs filed a set of evidentiary objections to portions of the declarations of Calamos’
witnesses, which Calamos submitted in lieu of direct testimony. See Pls.’ Objs. to Direct Test. of Def.’s Witnesses
(Nov. 18, 2018), Doc. 189. Plaintiffs’ objections are overruled.



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       Mark Mickey has been the Chief Compliance Oﬃcer (the “CCO”) for the Funds since

2005. Pls.’ Resps. ¶ 42. As Mickey testiﬁed, the role of the Fund’s CCO is separate from

Calamos’ CCO in that, as the Funds’ CCO, Mickey holds no position at Calamos and reports

directly to the Independent Trustees. Id. Each year, Mickey provides an annual report to the

Board, which is required by Rule 38a-1 under the ICA, conﬁrming that the procedures in place at

Calamos and the third-party service providers that Calamos oversees are reasonably designed to

prevent violations of the federal securities laws. Id. Neither Calamos nor Mickey is required to

provide such a report for any of Calamos’ All Cap Growth institutional or sub-advisory clients.

Id.

       Derek Olsen, who has worked at Calamos since 2001, is currently Calamos’ Chief of

Investment Risk, Investment Operations, and IT Application Development. Id. ¶ 43. Olsen is

primarily responsible for managing the Operations department and overseeing IT application

development and investment risk. Id. In that role, Olsen, among other things, assists the

portfolio management team with their assessment and management of risk arising out of the

structure and holdings in the Fund’s portfolio. Id.

       Stephen B. Timbers is the Lead Independent Trustee of the Board. Id. ¶ 45. He has an

MBA from Harvard Business School and experience serving on the boards of other investment

companies. Timbers also has over thirty years of experience in the asset management industry,

including serving as President of Northern Trust Global Investments. Id. ¶ 57.

           Fact Witnesses

       In addition to the deposition witnesses, Calamos presented six fact witnesses at trial via

trial declarations and redirect testimony: Scott Becker, Robert Behan, J. Christopher Jackson,

Christian Helmetag, Curtis Holloway, and John Neal. Pls.’ Resps. ¶¶ 26–32. �e Court ﬁnds




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that all of Calamos’ fact witnesses oﬀered credible testimony, notwithstanding that some of the

witnesses have business relationships with Calamos, the Fund or both.

       Scott Becker, a qualiﬁed investment professional who has been with Calamos since

2003, is currently Calamos’ Senior Vice President and Senior Portfolio Specialist. Id. ¶ 27. His

primary responsibility is compiling analyses of the Fund’s performance that are shared with

Fund investors and their ﬁnancial advisors, the Board (in both Chief Investment Oﬃcer reports

and “Focus Fund” presentations), and internally within Calamos’ investment team. Id. He is

also responsible for preparing summaries of and communicating changes to Calamos’ investment

team as those changes relate to the Fund and the All Cap Growth strategy. Id. In his declaration

and at trial, Becker explained that his role was “client-facing.” Trial Tr. 30:19–20. In other

words, Becker’s function was to communicate investment products and strategy, microeconomic

perspectives, strategy performance, and risk attribution to clients and their representatives. Id.

30:12–16.

       Becker testiﬁed that while the Fund’s since-inception performance has been “excellent,”

there have been times where it has “struggled.” Id. 101:9–15. During the relevant period,

Calamos made several changes to its investment process and investment team to improve. See

Pls.’ Resps. ¶ 106. One such change was Calamos’ transformation of its investment team from a

“vertical” structure with a “one-team-one-process” approach to a “horizontal” structure with a

“team-of-teams” approach. Id. Becker explained the goals, costs, and importance of the

restructuring in his declaration. See Becker Decl. ¶¶ 34–39, 40–43; see also Trial Tr. 64:19–68:7

(Becker); id. 103:5–105:7 (testimony of Calamos President Robert Behan, corroborating

Becker’s account).

       Becker also oﬀered testimony shedding light on the relative burdens of servicing




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institutional accounts versus mutual funds. In particular, Becker stressed that the eﬀort servicing

mutual funds far exceeded that of servicing institutional clients:

           Q.: [D]escribe . . . the burden . . . of these institutional account meetings
           versus the kinds of meetings you’re required to have for purposes of man-
           agement of funds.
           A.: [With respect to] the institutional meetings we certainly wanted to make
           sure that we were servicing those clients according to their needs, and so we
           would travel to see them or do quarterly phone calls. But the upside was as
           their guidelines would be similar to everyone else’s guidelines, they were
           pretty standardized, so most of the presentation materials that we would do
           and the conversations that we would have would, arguably, be the same . . . .
           But we had to do the same for our retail or our mutual fund clients through
           their intermediaries, which would ﬁnancial advisors. You know, there’s
           thousands here in New York alone. �ere’s multiple thousands across the
           country, and again, we need to make ourselves available to them with their
           questions and concerns because we want to keep and maintain their trust as
           well.
           Q.: So thousands, on the one hand; 36 [institutional clients following the
           same All Cap Growth strategy as the Fund], on the other hand?
           A.: Correct.
                                               ***
           Q.: [C]ompare the burden of those kind of meetings with the burden of pre-
           paring for the mutual fund board meetings.
           A.: Yeah. So again, the institutional meetings were fairly similar, recurring.
           We would organize the presentation much the same. . . . Perhaps we want
           to talk about the market and what our new review points are; I would make
           sure that that got entered into that institution’s presentation and every
           presentation thereafter until that changed.
           �e mutual fund board, on the other hand, we have quarterly and annual
           meetings and they had asked us to spend more time and more attention on
           the growth fund as performance had struggled, so that took quite a bit of
           time and we wanted to make sure that they got detailed and thorough infor-
           mation. It was formatted so that they could easily, readily understand it and
           it wouldn’t change quarter to quarter so that they knew that they were get-
           ting the same thing every time, but if they had additional questions, they
           would go through outside counsel and back to us. So there was a lot of
           back-and-forth, and it took quite a bit of time to put those together, as well
           it should.


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Id. 72:23–73:23, 74:3–75:4.

       Becker also testiﬁed that Calamos formerly subadvised an investment product for

Nomura — a fund for Japanese investors that broadly followed the same All Cap Growth

investment strategy as the Fund. Id. 34:15–35:6. Prior to the termination of their business

relationship, Nomura was Calamos’ largest Institutional ACG account. Id. 35:4–6. Becker

testiﬁed as to how he, along with others, provided extensive individualized service to Nomura.

But Becker also explained why Nomura was not a “typical account” for Calamos:

           Q.: Was Nomura a typical account?
           A.: Not at all. Nomura was very diﬀerent. I mean, essentially they were an
           outside fund distributor overseas who asked us to be the American manager
           of this American investment strategy for them. And for them to tout to their
           clients our strength and why they have us, they wanted information from
           us. So very detailed, very thorough. �eir monthly data requests were,
           again, pretty standardized, but they would say, Did you do everything in the
           guidelines that we asked you to do, so it was yes every month. But someone
           in the relationship group had to check and make sure that all those were
           accurate, etc. And then we agreed to help them once a year to show up lo-
           cally in order to support, you know, their business as well. But that was --
           that was an extreme.
           Q.: So if the Court is trying to make sense of the evidence we have today,
           would you advise the Court to look at the Nomura experience and extrapo-
           late from that experience to other institutional accounts or not?
           A.: I wouldn’t say that they’re quite normal. I would say, you know, that
           they were the -- they were the exception to the rule.
Id. 75:5–76:2.

       Robert Behan, a qualiﬁed investment professional who has been with Calamos since

2007, is currently Calamos’ President and Head of Global Distribution. He also serves as a Vice

President of the Calamos Investment Trust. Pls.’ Resps. ¶ 28. Behan has more than thirty years

of experience in the ﬁnancial services industry. Id. Behan has primary responsibility, among

other things, for negotiating fee rates that Calamos oﬀers to institutional and sub-advisory



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clients, including those that invested in Calamos’ All Cap Growth strategy, and for assessing

potential new ﬁnancial products that Calamos oﬀers, including new mutual funds. Behan has

attended every quarterly Board meeting since 2013, and he regularly presents to the Board on

topics involving industry trends and shareholder services. Id.

       Behan testiﬁed about how Calamos sets its prices for diﬀerent types of clients. Behan

testiﬁed that Calamos used a “market-based approach.” Trial Tr. 112:5–7. Behan explained that

Calamos did not set prices for their products merely by adding up the costs of goods sold and

adding a margin; rather, Calamos assessed the competitive landscape’s oﬀerings and set its prices

accordingly. Id. 112:14–113:2. Behan testiﬁed that Calamos was consciously aware that it

charged more to manage the Fund than its Other ACG Accounts. Id. 113:5–8.

       Behan also credibly testiﬁed about an Other ACG Account that had elected to move its

assets to the Calamos-sponsored fund. He testiﬁed that the James B. Powell Restated Revocable

Trust (the “Powell Trust) “decided that it would be more convenient for them and easier to be in

a mutual fund and to have the fund negotiate all the services that comes along with trust

bestowing, accounting, etc., and decided to invest in the [F]und,” at which point the Powell Trust

was charged the same advisory fee as any other client investing in the Fund. Trial Tr. 115:15–

116:13. Behan previously cited the Powell Trust as an example of a client who, on some

occasions, “prefer[red] the mutual fund oﬀering and [chose] to pay the higher fee that is charged

to mutual fund shareholders [as opposed to the lower fee typically negotiated for institutional

accounts] in exchange for [Calamos]’ services as advisor.” Behan Decl. ¶ 69.

       Instead of cross-examining Behan on this point, Plaintiﬀs attempted to impeach Behan’s

credibility after the fact by submitting a letter to the Court at the end of that day’s testimony, in

which it requested (and was subsequently granted) permission to admit a new exhibit into




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evidence that Plaintiﬀs asserted was inconsistent with Behan’s testimony. See Pls.’ Request to

Add and Admit Ex. (Nov. 19, 2018), Doc. 192. �e evidence took the form of an email in which

a senior associate at Calamos stated the following:

           �is email shall serve as notiﬁcation the client will be transferring their
           growth SMA portfolio (~930k) in kind to the Calamos Growth Fund (I share
           class). �is is an INST best X traded portfolio who, prior to the end of April,
           had $1.5 million invested. We can no longer manage this portfolio as a
           INST SMA any longer. Dr. Powell needed the cash and does not have plans
           to bring the account to its previous AUM status. Instead of losing the assets,
           the fund was oﬀered and Dr. Powell accepted.
           Bob is on copy (as approval) of exception since the client does not meet the
           stated minimum for I shares.
PX 487 at 595407.

       Plaintiﬀs contend that Behan’s testimony — namely, that the Powell Trust voluntarily

chose to close its separately managed account and invest in the Fund as a way to take advantage

of the alleged greater services — was “ﬂatly inconsistent with [Calamos’] internal

communications, which indicate that the [Powell Trust] had no choice but to close its SMA and

transfer its funds into the [Fund], or choose a new investment advisor, because it fell below

[Calamos’] minimum AUM threshold for SMAs.” PPF ¶ 310. �e Court disagrees.

       As Behan explained (and as the internal communications detail), the Powell Trust did

choose to move its money into the Fund, when it was otherwise free to take its money elsewhere.

�us, the Court ﬁnds little inconsistency between Behan’s statements and the internal Calamos

communications proﬀered by Plaintiﬀs. �e credible evidence at trial revealed that some

institutional clients were not dissuaded by the Fund’s advisory fee and instead voluntarily chose

to pay the fee and park their money in the Fund.

       J. Christopher Jackson has served as the General Counsel of Calamos and a number of

the other Calamos-related entities since 2010. Pls.’ Resps. ¶ 29. He is also the Secretary of the



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Calamos Funds. Id. Jackson has practiced law in the asset management industry for over thirty

years, and he has served as an interested trustee for another mutual fund complex. Id. He

manages and exercises responsibility for Calamos’ legal and compliance departments, which

includes providing legal advice and support on a variety of matters concerning the Funds for

which Calamos serves as advisor. Id.

       At trial, Jackson credibly explained that the Independent Trustees were informed that the

litigation risks associated with advising mutual funds clients are greater than the litigation risks

associated with non-fund clients. Trial Tr. 263:11–15. Moreover, Jackson explained the factual

bases for that conclusion. Speciﬁcally, Jackson explained that Calamos has been involved in

signiﬁcant litigation with respect to some of its mutual funds in the past, id. 264:24–265:25; that

it did not make sense to reduce to a numerical ﬁgure the litigation risks faced by Calamos in

advising mutual funds solely by “extrapolat[ing]” on what was spent during prior lawsuits that

contained unique “facts and circumstances,” id. 266:8–18; that because there are so many rules,

regulations, [and] statutes that are implicated when one is looking after a registered investment

company[,] . . . it is hard to say exactly where that litigation will come from,” id. 270:16–19; that

the amount Calamos priced into its agreements with the Funds due to the increased litigation

risks associated with advising mutual funds was necessarily subjective, id. 265:10–14; and,

consequently, that “as part and parcel of all of the services and items that the [B]oard takes into

account when it is reﬂecting upon the advisory fee that [Calamos] provide[s], it is fair to take

into account the regulatory environment in which [Calamos] operate[s] and the litigation

exposure to which [Calamos] ha[s],” id. 268:21–269:1.

       Jackson also testiﬁed that while Calamos maintained various insurance policies, each

policy was subject to various deﬁnitions of a coverable claim and was subject to various




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exclusions such that it was uncertain whether those polices would cover any speciﬁc lawsuit. Id.

277:2–16.

       Plaintiﬀs contend that Jackson’s trial declaration “repeated the false claim that Nomura

and the MD Accounts did not cite ‘performance’ as one of the reasons why they terminated their

advisory relationships with Calamos.” See PPF ¶ 311. On this point, the Court agrees with the

Plaintiﬀs. In his declaration, Jackson averred that Calamos has historically served as sub-adviser

to non-U.S. based investment companies, citing Nomura and MD as two examples. Jackson

Decl. ¶ 104. Jackson averred that while MD and Nomura terminated their accounts with

Calamos in 2016, “[n]either provided any reason for its termination.” Id. At trial, it was

revealed during the cross-examination of Behan that both MD and Nomura cited suboptimum

performance as one of their reasons for terminating the business relationships with Calamos. See

Trial Tr. 82:21–85:7 (Behan). Jackson’s declaration to the contrary was therefore inaccurate.

But, given the dearth of evidence tending to show that Jackson was aware of MD and Nomura’s

cited reasons for leaving Calamos and Jackson’s otherwise credible testimony, the Court ﬁnds

that Jackson’s claims were consistent with his own personal knowledge, rather than any

intentional attempt to mislead the Court.

       Christian Helmetag is the Corporate Controller of Calamos and other Calamos-related

entities. He has worked at Calamos since 2011. Pls.’ Resps. ¶ 30. As Corporate Controller,

Helmetag oversees Calamos’ ten-person corporate accounting department. Id. Among many

other responsibilities, Helmetag and his team are responsible for preparing Calamos’ annual

proﬁtability presentation to the Independent Trustees as part of Calamos’ 15(c) Response. Id.

       Helmetag’s testimony concerned the methodology by which Calamos calculated

proﬁtability since at least 2013. Trial Tr. 229:17–230:21. As Helmetag explained, Calamos




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would ﬁrst identify direct revenues by product line — that is, the mutual fund product line versus

other Calamos clients — and direct expenses by product line. Id. �en, Calamos would allocate

indirect expenses following an “average AUM” methodology. Id. Jackson explained that

indirect expenses are basically “common expense that you [could not] associate or delineate to a

speciﬁc service or product,” or, in other words, “a shared expense.” Id. 235:1–7. For example,

“rent for the building is a shared expense because you can’t identify and delineate the cost of rent

to a particular service or product;” Helmetag cited salary as another indirect expense. Id.

       Helmetag explained that the average AUM methodology is a reasonable way to allocate

indirect expenses because it can be systematically and consistently applied. See id. 235:16–25.

       Helmetag testiﬁed that Calamos in the past had used a “time-spent” methodology to

allocate costs — that is, one where individuals would estimate how long they worked on each

product line. Id. 236:6–14. Helmetag credibly explained that Calamos shifted from a time-spent

methodology to an average AUM methodology because “the nature of time spent is very

subjective. You’re asking an individual . . . for their best estimate of their time to allocate that

across multiple products and multiple services.” Id. 236:23–237:1. Moreover, as a well-

experienced certiﬁed public accountant, Helmetag explained that the average AUM methodology

is a generally accepted approach to presenting proﬁtability. Id. 239:7–12.

       Curtis Holloway, the Head of Fund Administration at Calamos, has worked in Calamos’

Fund Administration Department for 12 years and has more than 20 years of related asset

management industry experience. Pls.’ Resps. ¶ 31. Holloway and the Fund Administration

Department are responsible for providing — either directly or by monitoring and overseeing

third-party service providers — many of the “back oﬃce” fund administration services required

to manage the Fund. Id. As Holloway explained at trial, he and his department do not provide




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any fund administration services to Calamos’ All Cap Growth institutional or sub-advisory

clients. Id.

        In his declaration and at trial, Holloway credibly described the wide array of services that

are provided only for the Fund and not for any institutional or sub-advised account that is

invested in the U.S. All Cap Growth Strategy. Moreover, Holloway testiﬁed that while the FASA

was in existence, neither he nor his department ever sat down to analyze whether any of the

services they provided fell under the IMA or FASA. Trial Tr. 393:14–394:4. He testiﬁed further

that the department continues to have the same amount of — if not more — work now,

notwithstanding the termination of the FASA. Id.

        John E. Neal, an Independent Trustee, also testiﬁed at trial. Pls.’ Resps. ¶ 32. Neal has

an MBA from Harvard Business School; he is a partner in a health care private equity company;

and he is a Director for a publicly-owned Real Estate Investment Trust, for a private international

microﬁnance company, and for a bank. Id. ¶ 57. Neal also has over thirty years of experience in

the investment management industry — including as President and COO of the investment

management group at Kemper Corporation and Kemper Financial Services and as President of

the Kemper Funds Group. Id.

        At trial, Neal explained that, as a Trustee, he considered the services rendered under the

IMA and FASA “collectively” because he believed that Calamos was bound under the IMA to

provide all the services listed in the FASA, regardless of whether the FASA was in eﬀect or not.

Def.’s Resps. ¶ 317. �is comported with the trial evidence that tended to show that, while the

FASA was in place, the Independent Trustees annually reviewed the services Calamos provided

and the 1.1 basis point fee charged under that agreement. �e evidence indicated that the

Independent Trustees did consider the IMA or FASA collectively, rather than in isolation. Pls.’




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Resps. ¶ 350.

           Expert Witnesses

       In addition to fact witnesses, Calamos presented ﬁve expert witnesses at trial: Kevin

Cronin, R. Glenn Hubbard, Arthur B. Laby, John Lacey, and David Richardson. Id. ¶¶ 33–38.

       Kevin Cronin has an MBA from Boston College’s Carroll School of Management and a

BA in Economics from Wesleyan University. Pls.’ Resps. ¶ 34. During a career exceeding

twenty ﬁve years in the asset management industry, Cronin developed senior executive-level

responsibility for portfolio management on behalf of both mutual funds and institutional clients.

�is experience has included designing and implementing the restructuring of investment

management teams at multiple investment advisors. Id. Cronin has had direct responsibility for

setting the fees that investment advisors charge to manage both mutual funds and institutional

accounts. Id.

       Calamos hired Cronin to research and opine on whether the investments that Calamos

made to enhance the quality of its portfolio management services were a reasonable way of

seeking to increase the value of services that Calamos provides to the Fund and its shareholders.

Cronin Report ¶ 16. Calamos also asked Cronin to review and opine on portions of the reports

presented by Mercer E. Bullard and Steven Pomerantz, Plaintiﬀs’ experts. Id. ¶ 17.

       In his report, Cronin concludes, among other things, that: (1) Calamos’ decision to

improve the quality of services it provided to the Fund through its reorganization of its

investment approach and management team was a reasonable and appropriate way to beneﬁt the

shareholders; (2) contrary to Bullard’s report, publicly available information and the materials

Calamos provided to the Independent Trustees suﬃciently explain Calamos’ restructuring eﬀorts

as they pertain to the Fund and contain the type of content and level of detail that is consistent




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with what other boards of trustees receive in the industry; and (3) contrary to Pomerantz’s report,

the services that Calamos provides to mutual funds are more extensive and expensive than the

services Calamos provides to institutional and sub-advised clients. Id. ¶¶ 20, 37–169. At trial,

Cronin testiﬁed credibly to the same eﬀect.

       Plaintiﬀs challenge Cronin’s opinions on multiple grounds. Of note, Plaintiﬀs contend

that Cronin’s opinions concerning the beneﬁts of switching investment approaches are irrelevant,

do not require specialized knowledge, are aimed at impermissibly bolstering Calamos’ lay

witness testimony, and are entirely speculative. See Pls.’ Mem. to Partially Exclude Ops. of

Kevin Cronin (Pls.’ Mot. to Exclude Cronin) at 4, Doc. 107. �e Court rejects each challenge.

       Plaintiﬀs ﬁrst argue that Cronin’s opinions are “entirely irrelevant” because “[w]hether

the switch from a vertical to horizontal investment approach was an intended improvement has

nothing to do with whether [Calamos] should have charged the Fund a lower, non-excessive fee.”

Id. at 5. But evidence of Calamos’ reasonable eﬀorts to improve the Fund’s performance bears

directly on the Gartenberg factors focused on the nature and quality of Calamos’ services to the

Fund, as well as the care and conscientiousness of the Independent Trustees in approving the

IMA. For this same reason, Plaintiﬀs’ claim that Cronin’s testimony is “unhelpful” is unavailing.

       Plaintiﬀs next claim that Cronin’s opinions do not require specialized knowledge and are

instead used to bolster the testimony of Calamos’ fact witnesses. Id. at 6. To the contrary, the

opinions in Cronin’s report are based on his extensive industry experience — which includes

managing a mutual fund portfolio; developing new investment philosophies, teams, and

processes to manage securities for institutional clients and mutual funds; and overseeing a team

of investment professionals to implement the type of structural changes that Calamos has

undertaken in recent years. See Cronin Report ¶¶ 6–7. His specialized knowledge in the




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industry, as applied to his opinions, aids the Court in determining whether Calamos has breached

its ﬁduciary duty under § 36(b). Cf. Fed. R. Evid. 702.

        �e Court, however, agrees with Plaintiﬀs that Cronin’s opinions regarding the purpose

of the reorganization is best left to lay witnesses who are better positioned to recount their

reasons for that particular approach. Pls.’ Mem. to Exclude Cronin at 2; see Pension Comm. of

Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, 691 F. Supp. 2d 448, 472 (S.D.N.Y.

2010) (“[T]here is little reason that an expert witness — as opposed to a lay witness with ﬁrst-

hand knowledge — should be used to support [an] assertion” that goes to a lay witness’s own

recollection). 6

        R. Glenn Hubbard is the Dean of the Graduate School of Business at Columbia

University and is a professor of ﬁnance and economics at both Columbia University’s Graduate

School of Business and in the Economics Department of the Faculty of Arts and Sciences.

Hubbard has a Ph.D. in economics from Harvard University. Pls.’ Resps. ¶ 35. He has

previously taught at Northwestern University, the University of Chicago, and Harvard

University. Id. He has served in the U.S. government as the supervisor of the Oﬃce of Tax

Policy in the Department of Treasury under President George H.W. Bush and as the White House

Economic Advisor under President George W. Bush. Id. He has published research speciﬁcally

related to the structure of the mutual fund industry and the eﬀect of competitive forces on mutual

fund fees. 7 Id. He also has served as an independent trustee in charge of supervising


6
  The Court notes that Cronin previously served as senior vice president and senior manager of Putnam Investments,
where he had oversight of mutual funds. Around the time he worked at Putnam, the funds he managed were subject
to a lawsuit that alleged that Putnam charged those funds excessive advisory fees. Trial Tr. 609:24–611:6. Cronin’s
involvement with the suit may have left him biased against § 36(b) generally, but the Court does not find that
Cronin’s opinions are infected with bias.
7
 The Court notes that at least one of Hubbard’s publications concerning the structure of the mutual fund industry
and the effect of competitive forces on mutual fund fees was funded in part by the Investment Company Institute



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BlackRock’s closed-end fund complex since 2004. Id.

         At trial, Hubbard credibly explained that from an economic perspective — and based on

his industry expertise and experience — Calamos’ Other ACG Accounts are inapt comparators

when considering what advisory fee would be appropriate to charge the Fund. Id. ¶ 217.

Moreover, both in his report and at trial, Hubbard persuasively explained that a fund’s expense

ratio 8 is the more “economically relevant fee” to a mutual fund shareholder, when compared with

a sub-component of the expense ratio, such as an investment adviser’s annual advisory fee. See

Expert Report of Glenn Hubbard (“Hubbard Report”) ¶¶ 44–47. As Hubbard explained, from a

shareholder’s perspective, a mutual fund’s total expense ratio is the most economically

meaningful fee because the expense ratio, and not the advisory fee, is the fee that the shareholder

actually pays; a shareholder cannot purchase portfolio management services from one adviser

and then purchase transfer-agency, custodial, or other services from another adviser. DPF ¶ 269.

And, after analyzing both the Fund’s expense ratios and advisory fees with what Hubbard

considered the Fund’s peer mutual funds, 9 Hubbard concluded that the Fund’s expense ratios and

advisory fees were within the range of its peer funds. Hubbard Report ¶¶ 48–56.

         Arthur B. Laby, a Professor of Law at Rutgers Law School, has extensive prior



(“ICI”) Mutual Insurance Company — a company that provides insurance to mutual fund advisers, including
insurance that covers § 36(b) litigation. See Trial Tr. 675:24–676:24.
8
 A fund’s expense ratio is calculated as the total operating expenses expressed as a percentage of a fund’s average
assets over a certain period of time. See Hubbard Report ¶ 18.
9
  Hubbard used Lipper data to construct the Fund’s “peer groups” for the purpose of comparing total expense ratios
and management fees. See Hubbard Report at App’x D. In so doing, he identified share classes based on several
pertinent criteria (as detailed in the appendix); included only fund share classes that had the same load type and
minimum initial investment range as the corresponding Fund share class; excluded share classes with missing, zero,
or negative values in the Lipper database over the relevant period related to their total expense ratio, management
fee, or non-management fee; employed, at times, size restrictions on the peer groups, such that the peer group was
limited to include the ten funds ranked immediately above and the ten funds ranked immediately below the Fund,
based on year-end AUM levels; and further restricted the peer group to one fund per Fund Management Company,
among other restrictions. Id. The Court finds Hubbard’s peer group construction reasonable.



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experience with mutual fund matters, including as Assistant General Counsel responsible for

investment management matters at the SEC, where he provided advice on regulatory and

enforcement matters related to mutual funds and investment advisors. Id. ¶ 36. Laby also

worked in the SEC’s Division of Investment Management, which specializes in investment

company and investment adviser regulation. Id.

       Laby was asked by Calamos to evaluate the process employed by the Board in reviewing

and approving the IMA each year and to examine the care and conscientiousness of the Board in

reviewing and approving it. Trial Tr. 939:23–940:6. As part of his evaluation, Laby examined

the quality and thoroughness of the materials the Board requested and reviewed in connection

with their 15(c) Review. Id. 940:6–10. Laby opined that the Board’s processes and structures

are generally very strong. Id. 955:22–25. He opined that, in evaluating the IMA, the Trustees

carefully examined information Calamos provided to them concerning the nature and quality of

Calamos’ services. Id. 956:1–5.

       Yet, while Laby testiﬁed credibly, the Court aﬀords his opinions less weight than

otherwise warranted due to his use of the “business-judgment rule” in analyzing the Trustees’

conscientiousness and care. Speciﬁcally, at trial, Laby opined that the business judgment rule,

“generally speaking,” applies to a board of trustees’ review and approval of advisory fees. Id.

945:5–10. He testiﬁed that, in formulating his opinions in this case, he was guided by “the

business judgment rule.” Id. 945:11–17; see also Expert Report of Arthur B. Laby (“Laby

Report”) at 8 (“As I examined the Board’s processes, I was guided by the overarching principle

that the decision whether to renew a management agreement is committed to a board’s business

judgment.”). But, as Plaintiﬀs correctly pointed out at trial, the phrase “business-judgement

rule” exists nowhere in Jones. And while Calamos attempted to walk back Laby’s comments,




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see Def.’s Resps. ¶ 324 (“Professor Laby did not oﬀer the opinion, and [Calamos] is not relying

on any opinion, that the business judgment rule applies such that the Court has no review

function with respect to the Independent Trustees’ decision-making.”), the Court concludes that

Laby’s opinions as to the conscientiousness of the Independent Trustees may be somewhat

skewed due to his application of the business-judgment rule to this case. 10

         John Lacey is a Certiﬁed Public Accountant and Professor of Accountancy at California

State University, Long Beach. Pls.’ Resps. ¶ 37. Lacey also regularly teaches accounting to

judges for various judicial education organizations including the Federal Judicial Center and the

National Judicial College and at a large international investment management ﬁrm with mutual

fund and institutional products. Id. He earned a PhD at University of California, Los Angeles,

with a major in accounting information systems and minors in economics and mathematics; and

he has an MBA in quantitative business analysis and a BS in accounting from the University of

Southern California. Expert Report of John M. Lacey, Ph.D. (“Lacey Report”) ¶ 6.

         In his expert report, Lacey opined that: (1) the methods Calamos used to calculate and

report fund-level proﬁt margins to the Board were reasonable and adequate for the Board to

assess Calamos’ proﬁtability associated with providing advisory services to the Fund; (2) the



10
  The Court notes that Laby attempted to walk back some of his comments at trial — explaining that, when the
business-judgement rule applies, “there is typically deference to the board, and sometimes substantial deference, but
that does not completely end the analysis.” Trial Tr. 947:1–9 (Laby) (emphases added). This understanding of the
business-judgment rule seemingly comports with Jones, which makes clear that “the standard for fiduciary breach
under § 36(b) does not call for judicial second-guessing of informed board decisions” and instructs courts to refrain
from “supplant[ing] the judgment of disinterested directors apprised of all relevant information, without additional
evidence that the fee exceeds the arm’s-length range.” 559 U.S. at 352.
Nevertheless, Laby also opined that “generally speaking,” the judicial role typically ceases once the business
judgment rule is applicable. Trial Tr. 948:2–17. Use of the business-judgment rule in this way seemingly conflicts
with § 36(b). See Fox, 464 U.S. at 540 (explaining that “Congress decided not to rely solely on the fund’s directors
to assure reasonable adviser fees” (emphasis added)). Consequently, Laby’s use of the business-judgment rule in
analyzing the conscientious and care of the Independent Trustees renders his opinions somewhat less persuasive to
the Court.



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cost-allocation methodology Calamos used to estimate fund-level expenses was reasonable and

consistent with Generally Accepted Accounting Principles (“GAAP”); (3) there is no single best

(or required) method to allocate expenses for purposes of § 36(b); (4) the use of AUM to allocate

expenses, as Calamos does, is consistent with managerial accounting principles; and, (5) contrary

to Plaintiﬀs’ experts, Calamos’ use of AUM as the primary allocation metric did not lead to the

reported fund-level proﬁt margin for the Fund being understated or unreasonable. Id. ¶ 5. At

trial, Lacey’s testimony largely conformed with his expert report.

         Although Plaintiﬀs contend that Lacey is “not an expert” on mutual funds, 11 they do not

challenge that he is qualiﬁed to opine on principles of accounting and cost allocation. See Pls.’

Mem. to Partially Exclude Ops. of John M. Lacey (“Mot. to Exclude Lacey”) at 11, Doc. 116.

Rather, Plaintiﬀs seeks to exclude from consideration Lacey’s opinions insofar as Lacey opines

(1) that Calamos’ AUM-based cost allocation in the 15(c) Proﬁtability Presentations were

consistent with GAAP and managerial accounting principles; (2) that Calamos’ cost allocation,

and the fund-speciﬁc proﬁts calculated on that basis, were “reasonable” and “adequate” for the

Board’s consideration; and (3) that the AUM-based cost allocations are “widely accepted” in the

mutual fund industry. Id. �e Court rejects all three challenges by Plaintiﬀs.

         Plaintiﬀs primary basis for rejecting Lacey’s opinion that AUM-based cost allocation is

consistent with GAAP rests on a legal claim for which Plaintiﬀs have oﬀered no support: that

conformity with GAAP is irrelevant to assessing cost allocation under Gartenberg because

Gartenberg somehow displaces traditional accounting principles. Id. at 19. As Plaintiﬀs tell it,

because Gartenberg requires courts to assess the investment adviser’s “cost in providing the



11
  The Court notes that Lacey does not hold himself out as an expert in the operations of the mutual fund industry.
See Trial Tr. 996:9–11 (Lacey).



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service” to the mutual fund, id. at 3 (quoting Gartenberg, 694 F.2d at 930), Gartenberg requires a

“diﬀerent and more particular requirement for cost accounting” than GAAP provides, id. �e

Court is unpersuaded. Gartenberg does not specify how costs should be allocated; nor does the

opinion suggest, in any way, that GAAP-consistent methods are impermissible. See also Krinsk

v. Fund Asset Mgmt., Inc., 875 F.2d 404, 489 (2d Cir. 1989) (describing the lack of certainty in

calculating proﬁt against product lines).

       Next, and relatedly, Plaintiﬀs assert that Gartenberg requires an investment adviser’s cost

allocation to bear a “cause and eﬀect” relationship that reﬂects the actual costs incurred in

advising a particular fund. Mot. to Exclude Lacey at 19–22. Yet Calamos points out that, in

Lacey’s opinion, an AUM-based cost allocation is appropriate precisely because it “is not

possible to identify a cause and eﬀect relationship between the Fund and the joint and common

costs incurred by [Calamos].” Def.’s Mem. in Opp’n to Motion to Exclude Opinions of John M.

Lacey (“Def.’s Opp’n to Mot. to Exclude Lacey”) at 11, Doc. 136 (citing Lacey Report ¶¶ 21–

31). Consequently, the Court ﬁnds Lacey’s opinions highly probative on the questions

surrounding Calamos’ use of an AUM-based cost allocation methodology. Indeed, the Court

found Lacey’s explanation as to why such an allocation was reasonable and adequate highly

credible and persuasive at trial. See, e.g., Trial Tr. 997:17–1000:24, 1003:9–22, 1006:6–1008:23.

       Finally, Plaintiﬀs seek to exclude Lacey’s testimony that AUM-based allocation is

“widely accepted” in the mutual fund industry because that opinion is unsupported by the data

and therefore “plainly inadmissible.” Mot. to Exclude Lacey at 4, 23. Speciﬁcally, Plaintiﬀs

contend that while Lacey bases his opinion on three sources that list allocation by AUM as one

among various permissible methods used to allocate costs, none of those sources purports to

identify the extent of any method’s use. Id. at 24. In response, Calamos does not contest that




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Lacey bases his conclusion on three sources that do not in fact establish that AUM is “widely”

used. �ey contend instead that Lacey is entitled to opine on the extent to which AUM is used,

without relying on any source or experience that actually supports that conclusion. Def.’s Opp’n

to Mot. to Exclude Lacey at 15.

       �e Court agrees with Plaintiﬀs that the Federal Rules of Evidence require more from

Lacey. See Fed. R. Evid. 702 (requiring that “testimony is based on suﬃcient facts or data”);

Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 266 (2d Cir. 2002) (“[W]hen an expert

opinion is based on data, a methodology, or studies that are simply inadequate to support the

conclusions reached, Daubert and Rule 702 mandate the exclusion of that unreliable opinion

testimony.”). Accordingly, while the Court credits Lacey’s testimony that cost allocation on the

basis of average AUM is a reasonable and adequate method for allocating costs, the Court

disregards Lacey’s assertion that such a method is “widely used.”

       Finally, David Richardson is an investment professional with over thirty years of asset

management industry experience, including with respect to both mutual funds and institutional

accounts. Pls.’ Resps. ¶ 38. Today, he works for an investment advisor, where he serves on the

management team that oversees the provision of services to U.S. mutual funds. Id. He has held

senior leadership positions with several other investment advisors for which he: (1) has

extensively engaged in the management and oversight of investment advisory services provided

to both mutual funds and institutional accounts; (2) has managed sales, marketing, business

development and shareholder services for institutional investment ﬁrms; (3) has managed an

adviser’s relationships with third parties (such as distributors, trust companies, and fund

administrators); and (4) has overseen an adviser’s global marketing and client services. Id.

       At trial, Richardson explained that part of his responsibilities as an expert was to rebut




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the opinions of Pomerantz, who, among other things, estimated the maximum costs of what he

believed were the additional services provided and risks undertaken by Calamos to the Fund vis-

à-vis Calamos’ Other ACG Accounts. Trial Tr. 754:3–9. While Richardson acknowledged that

Pomerantz estimated that the maximum cost of those additional services and risks were slightly

lower than seven basis points (according to Plaintiﬀs’ counsel), Richardson did not oﬀer an

opinion as to whether Pomerantz’s estimate was accurate. Id. 754:15–17. Nor did Richardson

oﬀer an opinion as to whether the advisory fee Calamos charges the Fund was reasonable. Id.

754:22–24. But Richardson did credibly explain that the additional services that Calamos

provided to the mutual funds, like the Fund, are consistent with additional services that are

provided by other advisors to mutual funds and that the additional fees that Calamos charged for

the provision of those services to mutual funds are consistent with the additional fees that the

mutual fund industry charges. Id. 754:25–755:10. Richardson opined that the diﬀerences in

services are a part of why Calamos charged a higher fee for provision of services to the Fund vis-

à-vis its non-Fund clients. Id. 755:21–23.

        Plaintiﬀs do not challenge Richardson’s qualiﬁcations to render his opinions. 12 �ey do,

however, seek to exclude Richardson’s opinions insofar as he opined that Plaintiﬀs understated

the scope of the greater services that Calamos provided the Fund, and, relatedly that the greater

fee Calamos charged was justiﬁed by the greater services it provided the Fund. Pls.’ Mem. to

Partially Exclude Richardson Ops. at 1, Doc. 119. In short, Plaintiﬀs contend that Richardson’s

opinions on these topics should be excluded because he has failed to independently value the




12
  Richardson is the Executive Director and Global Head of Marketing and Client Service for Impax Asset
Management, a London-based global equity manager managing both public and private equity strategies for clients
located throughout the world. Impax manages approximately $8.5 billion in assets. Richardson Report ¶ 2.
Richardson holds a BS in Mechanical Engineering and a Chartered Financial Analyst designation. Id. ¶ 5.



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cost of the greater services Calamos provided to the Fund and has not stated the additional

number of employees or man-hours required to deliver those services. Id. at 2. Because of this

failure, Plaintiﬀs contend, Richardson is unable to say whether Pomerantz’s estimation of the

value of the greater services is too low, rendering baseless his opinion that those greater services

account for the fee diﬀerential. Id. Additionally, Plaintiﬀs contend that because Richardson has

conducted no independent assessment of whether it was reasonable for Calamos or the Board to

expect the Fund’s shareholders to bear the cost of these additional services, his report and the

opinions therein are nothing more than an uncritical acceptance of Calamos’ position. Id.

       �e fact that Richardson’s opinions are not rooted in quantiﬁable, scientiﬁc analysis is no

bar to their admissibility, nor does it render his opinions the province of lay witnesses. He bases

his opinions on his “experience working with mutual funds and institutional account clients,”

Expert Report of David Richardson, CFA (“Richardson Report”) ¶ 81; see also id. ¶¶ 14, 16–20,

79, and he need not put forward an aﬃrmative quantiﬁable model to rely on that experience. See

Davis v. Carroll., 937 F. Supp. 2d 390, 412 (S.D.N.Y. 2016) (noting that a court may permit

expert testimony “where a proposed expert witness bases her testimony on practical experience

rather than scientiﬁc analysis”) (citing Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149–

50 (1999)); Jesa Enters. Ltd. v. Thermoﬂex Corp., 268 F. Supp. 3d 968, 974 (E.D. Mich. 2017)

(holding that “opinions about industry practices and customs are not unreliable simply because

they have not been ‘subjected to the crucible of peer review, or that their validity has not been

conﬁrmed through empirical analysis’” (quoting First Tenn. Bank Nat. Ass’n v. Barreto, 268 F.3d

319, 334 (6th Cir. 2001))).

       Richardson also testiﬁed that Calamos provided a greater level of services and faced

greater risks in advising the Funds vis-à-vis its Other ACG Accounts. Trial Tr. 749:19–22. In




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opining on the investment advisory services Calamos provided to the Fund speciﬁcally,

Richardson combined the services set forth in the IMA and the FASA; in other words, he did not

diﬀerentiate between services rendered under the FASA and services rendered under the IMA.

Id. 750:24–751:18. He reasoned that the IMA required Calamos to provide a range of services

and operation of the Fund, and the provision of services under the IMA incorporates all of the

services provided under the FASA. Id. 751:8–13.

       As Plaintiﬀs’ counsel pointed out during trial, Richardson’s trial testimony was somewhat

inconsistent with his deposition testimony, during which he stated that he understood the FASA

to provide a framework for Calamos’ provision of additional services beyond the provision of

investment management services. Id. 751:14–752:20. But Richardson reconciled his statements

later, testifying that “[t]he description of the services provided under the FASA are not all

contained within the [IMA]. But that doesn’t mean that the duties of the [IMA] don’t apply to

the provision of the services under the FASA.” Id. 752:24–753:3.

       H. Plaintiﬀs’ Witnesses

       Plaintiﬀs oﬀered trial testimony from Behan, Becker, Helmetag, Holloway, Neal, and

Jackson, whom they called as adverse witnesses. Plaintiﬀs also called two expert witnesses:

Mercer Bullard and Steven Pomerantz. Below, the Court evaluates the credibility, expertise, and

testimony of Bullard and Pomerantz.

           Mercer E. Bullard

       Mercer E. Bullard is a professor of law at the University of Mississippi School of Law,

where he teaches courses in corporate ﬁnance, securities regulations, economics of the ﬁrm, and

mutual and hedge fund regulation. See Expert Report of Mercer E. Bullard (“Bullard Report”) at

78. He holds a JD from the University of Virginia School of Law, an MA in National Security

Studies from Georgetown University, and a BA in English and American Studies from Yale


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College. Id. at 80. Bullard has published more than ﬁfty commentaries on mutual fund

regulatory issues and has testiﬁed on more than twenty occasions before the U.S. House and

Senate Committees related to the regulation of the ﬁnancial industry. Id. at 1–2. Previously,

Bullard was an assistant chief counsel in the Division of Investment Management at the SEC,

which is a division responsible for regulating investment companies and investment advisors. Id.

at 1.

        Plaintiﬀs oﬀered Bullard’s expert opinion as to the sixth Gartenberg factor — that is, the

independence and conscientiousness of the Independent Trustees. See id. at 4–6. 13 Ultimately,

Bullard concluded in the report that

             the [Fund’s] agreements with Calamos could not have been negotiated at
             arms-length because: (1) Calamos did not provide the information neces-
             sary for the Trustees to evaluate proﬁtability, economies of scale or compar-
             ative fees, (2) the Trustees did not make reasonable eﬀorts to obtain this
             information, and (3) the Trustees were not conscientious in evaluating fees,
             investment performance, proﬁtability, economies of scale or comparative
             fees.
Id. at 7. In line with his expert report, Bullard oﬀered two primary opinions at trial: (1)

Calamos’ method for calculating its proﬁtability for the 15(c) Responses is “per se unreasonable

under” Gartenberg and (2) the Independent Trustees lacked conscientiousness in their annual

evaluation of Calamos’ advisory fee. Pls.’ Resps. ¶ 445.




13
  Bullard does not offer any expert opinion on the merits of any of the first five Gartenberg factors. See Dep. of
Mercer E. Bullard (“Bullard Dep.”) at 202:17–22 (offering no “expert opinion on the nature and quality of Calamos’
noninvestment services to the [Fund]”), 214:22–215:2 (offering no “expert opinion regarding the [Fund’s] fees
relative to fees paid by the peer mutual funds”), 218:22–25 (offering no “expert opinion regarding the [Fund’s]
performance”), 465:21-24 (offering no opinion “as to whether Calamos realized economies of scale”), 466:13–20
(offering no opinion “as to whether there were any diseconomies of scale,” nor any “opinion on economies of scale
one way or the other”), 470:20–471:9, 472:13–473:4 (offering no opinion “on the sharing of economies of scale”),
486:10–13 (offering no expert opinion on fall-out benefits).



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       a. Bullard’s Opinion Regarding
          Calamos’ Accounting Methodologies

       With respect to Calamos’ cost allocation and accounting, Bullard concludes in his report:

(1) that allocating portfolio management expenses on the basis of AUM is unreasonable; (2) that

in making a proﬁtability estimate, “Calamos did not use a reasonable method of allocating its

expenses among advisory accounts . . . . Nor did Calamos provide the Trustees with information

with which they could have reasonably estimated Calamos’s proﬁtability with respect to the

[Fund];” and (3) many of Calamos’ expense allocations “could not have been accurate.” Bullard

Report ¶¶ 50–51, 75–77. Moreover, at trial, Bullard testiﬁed that Calamos’ AUM-based cost

allocation methodology was “per se unreasonable.” Trial Tr. 878:4–8 (Bullard). Calamos

objects to Bullard’s testimony on multiple Rule 702 grounds.

       �e Court ﬁnds that Bullard does not have the qualiﬁcations to opine on topics related to

accounting or to opine on the reasonableness vel non of Calamos’ decision to allocate indirect

expenses using average AUM. Bullard has no degrees or certiﬁcations in accounting, nor has he

ever been qualiﬁed by any court as an expert on any accounting topic. Pls.’ Resps. ¶ 447. He is

not an expert in GAAP or managerial accounting. He has no experience in preparing, auditing,

or analyzing ﬁnancial statements. He has never been retained to perform costs accounting or

ﬁnancial accounting services. And he has never received any formal training in mutual fund

proﬁtability calculations or cost allocation methodologies. Id.

       In response, Plaintiﬀs assert that cost allocation under Gartenberg “has nothing to do

with ‘accounting.’” Pls.’ Mem. of Law in Opp’n to Def.’s Mot. to Exclude Ops. of Pls.’ Expert

Witnesses (“Pls.’ Opp’n to Mot. to Exclude”) at 17, Doc. 104. Such a statement cannot be

squared with common sense. Cost allocation plainly is a matter of accounting. Indeed, as

Calamos’ expert Lacey testiﬁed, “calculating proﬁtability is an exercise in accounting.” Trial Tr.



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1013:23–1014:1 (Lacey).

         Plaintiﬀs attempt to bolster Bullard’s credentials by pointing to his experience in the

SEC’s Division of Investment Management and Mutual Fund Regulation. See Pls.’ Resps. ¶ 329

(citing Trial Tr. 893:5–896:14 (Bullard)). �e Court is unconvinced. Even when given the

chance on re-cross, Bullard’s described experiences at the SEC shed little light on his experience

with cost allocation methodologies or the reasonableness in using one versus another. See Trial

Tr. 893:5–896:14.

         Plaintiﬀs’ ﬁnal eﬀort is to point out that Bullard is currently pursuing a PhD in ﬁnance,

see id. 874:12–14, and that he was recently appointed as special master “in a Mississippi court”

to provide a damages analysis comparing investment returns against a return benchmark. Pls.’

Resps. ¶ 329. But the Court ﬁnds none of these facts persuasive as to Bullard’s qualiﬁcations to

testify as to the propriety of Calamos’ cost allocations in this case. 14 �us, as Plaintiﬀs have

failed to explain how Bullard is qualiﬁed, either in terms of formal training or practical

experience, to testify as to cost allocation or accounting, the Court aﬀords no weight to Bullard’s

testimony as to Calamos’ cost allocation and accounting methods and the propriety of the

Independent Trustees’ reliance thereon. 15

         In any event, even considering Bullard’s opinions on the propriety of Calamos’ cost

allocation methods for calculating proﬁtability, the Court ﬁnds that Bullard’s opinions lend little

14
  The Court notes that Bullard, in his report, never proclaims to base his opinions on his doctoral studies in finance.
See generally Bullard Report. Moreover, when asked by Plaintiffs’ counsel to describe his “professional
background with particular emphasis on [his] experience relative to the opinions [he] expressed in this matter,” see
Trial Tr. 892:23–25, Bullard never mentions his doctoral studies, id. 893:1–896:17. A similar omission occurred
when he was asked by Plaintiffs’ counsel to list “any other aspects of [his] teaching or scholarship that [he]
believe[s] is pertinent to the opinions [he] expressed in this case.” Compare id. 896:18–25 with id. 896:22–899:19.
15
  Because the Court has determined that Bullard is not qualified to offer accounting-related testimony, the Court
need not address Calamos’ objections that Bullard’s accounting-related opinions are not based on sufficient facts,
the product of reliable methods, or helpful to the trier of fact. See Def.’s Mot. to Exclude Ops. Pls.’ Expert
Witnesses at 28, Doc. 88.



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support to Plaintiﬀs’ claim of breach of ﬁduciary duty. At trial, Bullard conceded that 15(c)

proﬁtability has very little, if anything, to do with whether a given advisory fee is excessive. In

his opinion: (1) an adviser’s proﬁtability is a “poor measure” of the excessiveness of its advisory

fee; (2) courts have “no business” conducting an analysis of proﬁtability for purposes of

determining whether the adviser’s fees are excessive; (3) proﬁtability calculations involve cost

allocation issues that are subject to dispute and there is no universally accepted methodology for

making the analysis; (4) 15(c) proﬁtability calculations are so inherently subjective that

evaluating a § 36(b) claim based on proﬁtability “can produce randomness to the second degree;”

and (5) an adviser’s choice of a cost allocation methodology does not aﬀect whether the advisory

fee is excessive. Id. ¶ 330.

       �e Court credits this portion of Bullard’s opinion, especially given the robust testimony

from other witnesses regarding the value of analyzing proﬁtability in determining whether an

investment advisory fee is excessive. �us, while the Court ﬁnds Bullard unqualiﬁed to opine on

the reasonableness of Calamos’ cost-allocation approach, if the Court were to take Bullard’s

opinions on Calamos’ cost allocations into consideration, the Court would aﬀord little weight to

Bullard’s opinion insofar as he suggests that Calamos’ cost-allocation was unreasonable or

unusual or that the Independent Trustees were somehow derelict in their evaluation of Calamos’

compensation for advisory services rendered.

       b. Bullard’s Opinion Regarding the Conscientiousness
          of the Independent Trustees

       Bullard ultimately concluded that the Trustees did not exhibit conscientiousness in the

review of Calamos’ fees because they overly focused on superior performance while

downplaying poor performance and because they “sought to justify” Calamos’ fees rather than

critically examine them. Bullard Report at 62. Calamos disagrees with Bullard’s conclusions



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and seeks to have them excluded on multiple Rule 702 grounds. Def.’s Mot. to Exclude Ops.

Pls.’ Expert Witnesses (“Def.’s Mot. to Exclude”) at 29–34, Doc. 88.

        Turning ﬁrst to Bullard’s qualiﬁcations, Calamos asserts that Bullard has no practical

experience that would qualify him to opine on the Independent Trustees’ conscientiousness and

care in evaluating Calamos’ investment advisory fee each year. Id. at 30. In particular, Calamos

notes that Bullard has never served as a mutual fund trustee or investment advisor, has never

attended a mutual fund board meeting, or participated in the 15(c) Process. Id. Calamos further

notes that Bullard conceded in his deposition that his expertise in this area derives “primarily” or

in “substantial part” from his work as an expert in previous § 36(b) cases, which alone is an

insuﬃcient basis for qualifying an expert. Id. (citing IBEW Local 90 Pension Fund v. Deutsche

Bank AG, No. 11 Civ. 4209 (KBF), 2013 WL 5815472, at *13 (S.D.N.Y. Oct. 29, 2013) (noting

that “expertise [in] being an expert in plaintiﬀs’ securities cases . . . is not suﬃcient to

qualify . . . an expert” under Daubert); S.E.C. v. Tourre, 950 F. Supp. 2d 666, 677 (S.D.N.Y.

2013) (same)).

        Plaintiﬀs counter that Bullard has vast experience with the mutual fund industry as a

former SEC oﬃcial responsible for regulating mutual funds and fund advisors, and in view of

Bullard’s extensive testimony before Congress. Pls.’ Opp’n to Mot. to Exclude Bullard at 11–12.

�e Court agrees with Plaintiﬀs. In light of Bullard’s extensive practical experience with the

SEC and his testimony before Congress, the Court ﬁnds that he is qualiﬁed to testify about

whether the Independent Trustees were conscientious in evaluating the information provided to

them during the 15(c) Process. See Fed. R. Evid. 702 (stating that an expert witness may be

qualiﬁed “by knowledge, skill, experience, training, or education”); Arista Records LLC v.

Usenet.com, Inc., 608 F. Supp. 2d 409, 422 (S.D.N.Y. 2009) (noting that a court must look at the




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“totality” of a “witness’s background.”); see also In re Zyprexa Prod. Liab. Litig., 489 F. Supp.

2d 230, 282 (E.D.N.Y. 2007) (“If the expert has educational and experiential qualiﬁcations in a

general ﬁeld closely related to the subject matter in question, the court will not exclude the

testimony solely on the ground that the witness lacks expertise in the specialized areas that are

directly pertinent.”).

        Next, Calamos contends that Bullard’s testimony should be excluded because his

opinions are not based on suﬃcient facts or data, since Bullard only reviewed a portion of the

available record, consisting of 15(c) Responses and meeting minutes related to the approval of

the IMA at the annual June Board meeting. Def.’s Mem. to Exclude at 31. Yet, as Plaintiﬀs

correctly note, “[a]s a general rule, the factual basis of an expert opinion goes to the credibility of

the testimony, not the admissibility, and it is up to the opposing party to examine the factual basis

for the opinion in cross-examination.” U.S. Bank Nat. Ass’n v. PHL Variable Life Ins. Co., 112 F.

Supp. 3d 122, 134 (S.D.N.Y. 2015) (emphasis added) (quoting Boykin v. W. Exp., Inc., No. 12

Civ. 7428 (NSR) (JCM), 2015 WL 539423, at *6 (S.D.N.Y. Feb. 6, 2015)).

        Finally, Calamos contends that Bullard’s opinions regarding the Independent Trustees’

conscientiousness are not the product of reliable principles or methods. For support, Calamos

clings to Bullard’s statement that he “wouldn’t call” his approach to evaluating the Independent

Trustees’ conscientiousness “a methodology.” Def.’s Mem. to Exclude at 33 (quoting Bullard

Dep. 149:2–10, 150:22–151:2). But the “test for reliability of expert testimony is ﬂexible,

especially in cases where the expert’s knowledge is non-scientiﬁc and based on his experience.”

Scott v. Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 49–50 (S.D.N.Y. 2016). Nor does Bullard’s

application of his experience to the facts of this case render his opinions mere “factual

narratives,” as Calamos argues in its papers. It is axiomatic that “an expert might draw a




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conclusion from a set of observations based on extensive and specialized experience.” See

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156 (1999). �us, the Court ﬁnds Bullard qualiﬁed

to opine on the Trustees’ conscientiousness. 16

         Notwithstanding that the Court ﬁnds Bullard’s testimony regarding the Independent

Trustees’ conscientiousness admissible, the Court aﬀords little weight to his testimony.

         At the outset, the Court observes that Bullard has never been a trustee for a mutual fund

regulated under the ICA, has never reviewed an investment adviser’s 15(c) response on behalf of

a fund’s independent trustees, and has never attended a 15(c) board meeting. Pls.’ Resps. ¶ 452.

Bullard also lacks experience on the other side of the investment adviser–fund trustee

relationship: he has never worked for an investment adviser to a mutual fund, has never held

responsibility for managing the investment portfolio for an institutional or sub-advisory account,

has never negotiated an administrative or accounting agreement for a mutual fund, and has never

performed any mutual fund administration services. Id. ¶ 454.

         While Plaintiﬀs are correct in noting that Bullard has “ample indirect experience which

provides a reasonable basis for [h]is opinions,” id. ¶ 452, in determining the level of weight to

give Bullard’s testimony, the Court does consider Bullard’s lack of direct adviser or trustee

experience vis-à-vis some of the other witnesses in this case, as well as his lack of direct

experience “on the inside” of the 15(c) process.


16
   Calamos also advances an omnibus objection to Bullard’s opinions on grounds that his work as an expert on
behalf of plaintiffs only and his publication of articles critical of § 36(b)’s protective function evinces a bias
warranting exclusion of his opinions in toto. Def.’s Mem. to Exclude at 24–25. The Court observes that such
criticisms likely could be lodged against most experts who frequently appear in securities-related cases. In any
event, such credibility challenges go more toward the weight of an expert’s testimony than its admissibility. See
DiCarlo v. Keller Ladders, Inc., 211 F.3d 465, 468 (8th Cir. 2000); Royal Ins. Co. of Am. v. Joseph Daniel Const.,
Inc., 208 F. Supp. 2d 423, 428 (S.D.N.Y. 2002) (noting that a “defendant may challenge the degree of credibility a
trier of fact ought to accord [an expert’s] conclusion and present counter-evidence to refute the scientific veracity of
[an expert’s claims]”). And here, the Court finds that Bullard’s work for plaintiffs only and his articles critical of
§ 36(b) do not substantially impeach the credibility (if any) of his opinions.



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       �e Court also ﬁnds that Bullard’s factual analysis was based on materially incomplete

data. During a critical period of cross-examination by Calamos’ counsel, Bullard conceded that

although he was aware that Calamos’ 15(c) Process is a yearlong process, he did not review

materials that were provided to the Independent Trustees outside of the June 15(c) Process during

the relevant period, with only limited exception. Trial Tr. 831:13–835:11. Plaintiﬀs, in their

post-trial papers, attempt to downplay the signiﬁcance of the documents presented to Bullard for

the ﬁrst time at trial. See Pls.’ Resps. ¶ 247. �e Court is not convinced. Even Bullard conceded

that some of the materials he failed to review may have reﬂected on the conscientiousness of the

Independent Trustees. See Trial Tr. 835:7–20. �us, the Court does not ﬁnd credible Bullard’s

testimony regarding the Independent Trustees’ conscientiousness in evaluating Calamos’

investment advisory fee.

           Steven Pomerantz

       Dr. Steven Pomerantz is the president of his eponymously named economic and ﬁnancial

consulting ﬁrm, Steve Pomerantz LLC, located in New York City. Expert Report of Steve

Pomerantz, PhD (“Pomerantz Report”) at 1. Pomerantz received a PhD in mathematics from the

University of California, Berkeley, where his thesis was in the area of “Non-Linear Partial

Diﬀerential Equations;” and he received a BA in mathematics from Queens College of the City

University of New York. Id. Ex. 1 at 2. Pomerantz is currently an adjunct professor of

mathematics at Queens College. Id. ¶ 10.

       Over the course of almost thirty-ﬁve years, Pomerantz has held positions in research and

management for ﬁxed income, equities, derivatives, and alternative investments at major

investment ﬁrms. Id. ¶ 9. In those capacities, Pomerantz has provided portfolio management

services both to mutual funds and to institutional accounts. Id. He has also served as a portfolio




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manager at several ﬁrms for both ﬁxed income and equity institutional clients. Id. Pomerantz’s

sole academic publication is a 2008 article he co-authored in the Oklahoma Law Review entitled

Mutual Fund Advisory Fees: New Evidence and a Fair Fiduciary Duty Test. Id. ¶ 11; id. Ex. 1

at 3–4.

          Plaintiﬀs retained Pomerantz to analyze the record evidence and opine on whether the

Independent Trustees’ approval of the Advisory Fees paid by the Fund satisﬁes the ﬁrst ﬁve

Gartenberg factors — that is, all factors except for that relating to “the independence, expertise,

care and conscientiousness of the [F]und’s board in evaluating adviser compensation” — and

damages. Id. ¶¶ 3–4, 13. In his expert report, after analyzing all ﬁve Gartenberg factors,

Pomerantz concludes that “the advisory fees that Calamos charged to the Fund were in violation

of [§] 36(b)” of the ICA. Id. ¶¶ 12–13.

          Pomerantz also purported to “model[] the expenses incurred by Calamos for each open-

end Calamos fund, including the Fund,” and “[f]rom these directly observable Fund-speciﬁc

revenues and model-derived Fund-speciﬁc costs,” Pomerantz “calculate[d] Calamos’s Fund-

speciﬁc proﬁts.” Id. ¶ 13. After making his calculations, Pomerantz concludes that the “Fund-

speciﬁc proﬁts, in both absolute (gross dollars) and relative (proﬁt margin) terms, were much

greater than the proﬁts that Calamos reported to the Board” and were “further indication that the

Fund’s fees were excessive, as well as further indication of the disconnect between services

provided and fees charged [by Calamos].” Id. Moreover, in his report Pomerantz concludes that

the advisory fee rates Calamos charged to the Fund “bore no reasonable relationship to the

services provided,” and that the quality of the investment management services provided by

Calamos to the Fund has been extremely poor. Id. Pomerantz concludes that Calamos has been

realizing substantial economies of scale and fall-out beneﬁts through its advising the Fund, the




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beneﬁts of which Calamos has kept entirely for itself. Id. Finally, Pomerantz proﬀered at least

four methods to calculate damages.

       As with Bullard, Calamos advanced several bases under Rule 702 to exclude Pomerantz’s

opinions and testimony. See Def.’s Mot. to Exclude at 7. Calamos speciﬁcally requested that

Pomerantz be precluded from oﬀering the following expert testimony:

           a. Pomerantz’s “legal” opinions (as Calamos puts it) that (1) Calamos’ ad-
              visory fees are legally “excessive” under § 36(b), or (2) that certain facts
              oﬀered by Calamos are “irrelevant” and/or “legally irrelevant” under
              § 36(b), or (iii) that Calamos must provide the Fund only “de minimis”
              non-investment-related services pursuant to the terms of the applicable
              contracts;
           b. Pomerantz’s accounting and cost allocation opinions, including both his
              criticisms of Calamos’ accounting for Fund proﬁts and his own account-
              ing for Fund costs, on which his proﬁtability and economies of scale
              calculations are based;
           c. Pomerantz’s criticism of the Independent Trustees’ conscientiousness
              and decision-making, including his opinions regarding what the Inde-
              pendent Trustees believed or understood; and
               d. Pomerantz’s purported damage opinions.
Id. Calamos renewed their objections following trial. �e Court addresses, in turn, each alleged

basis for exclusion of Pomerantz’s opinions and testimony.

       a. Pomerantz’s Qualiﬁcations

       As a preliminary matter, the Court ﬁnds Pomerantz wholly unqualiﬁed to opine on

several matters upon which he was retained to opine. For one thing, Pomerantz holds only a

mathematics degree; he does not hold degrees in any other subjects pertinent to his opinions,

such as economics, business, accounting, or law. His dissertation does not mention mutual funds

or address the asset management industry. Trial Tr. 399:21–25 (Pomerantz). He has never taught

a course in economics or accounting; has never served as an economist or accountant; and has

never published an article in a peer-reviewed journal of economics or accounting.


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       With respect to his experience in the mutual fund industry, the Court ﬁnds his experience

lacking. As Plaintiﬀs fully admit, to the extent that Pomerantz has experience in the mutual fund

industry, that experience is “limited and dated.” See Pls.’ Resps. ¶ 411. He has not been

employed in the mutual fund industry in any capacity since 2000. Pomerantz has no mutual fund

industry experience in most of the substantive areas that relate to his proﬀered opinions, and he

has never been employed or retained as a consultant at the SEC or any other industry analysts

with respect to matters related to mutual funds. See id.

       As Plaintiﬀs fully admit, the investment experience that Pomerantz does have is

“extremely narrow.” Id. ¶ 412. Years ago, Pomerantz provided “quantitative decision support”

for an adviser’s portfolio management team. He never served as a portfolio manager himself;

nor has he served as or reported directly to (or been personally responsible for fulﬁlling the

functions of) a mutual fund’s general counsel, chief compliance oﬃcer, CFO, accounting

department, compliance department, fund administration department or shareholder servicing

department. Id. Pomerantz has never negotiated any contract with a third-party fund service

provider (e.g., sub-advisor, administrator, transfer agent, auditory, or outside counsel) and has

never been responsible for supervising their work. Id.

       Nor does Pomerantz have any experience with respect to mutual fund independent

trustees or with setting a mutual fund adviser’s advisory fee. He has never served as an

independent trustee (or an interested trustee, for that matter); he has never been responsible for

preparing board minutes or 15(c) materials; and he has never regularly attended mutual fund

board meetings. Nor has he ever never negotiated an advisory fee on behalf of a mutual fund or

its board; supervised or been regularly responsible for a board’s 15(c) process; voted on a

management agreement; been responsible for analyzing a mutual fund adviser’s fee as




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reasonable or competitive or appropriate in light of the adviser’s costs; or been retained to advise

a mutual fund on good governance practices. Pls.’ Resps. ¶ 413.

        Plaintiﬀs note that Pomerantz was a member of the Weiss Peck & Greer executive

committee which ran and oversaw the operations of the ﬁrm, including its role as an advisor to

mutual funds and institutional accounts. See Pls.’ Resps. ¶ 411. In that capacity, employees and

third-party service providers performing work on behalf of the ﬁrm’s mutual funds reported to

Pomerantz. Id. But these facts do not undercut the inadequate nature of Pomerantz’s experience

in the mutual fund industry, as detailed above.

        Although Plaintiﬀs assert that Pomerantz’s background in mathematics and his role as an

adjunct professor of statistics, probability, operations research, and ﬁnance qualify him as an

expert, it is unclear to the Court what bearing that background has on cost allocation, proﬁtability

analysis, or economies of scale. As Calamos correctly puts it, the overwhelming weight of the

evidence demonstrates that most of Pomerantz’s knowledge and experience related to mutual

funds is derived from his career as a plaintiﬀ’s litigation expert, as opposed to educational or

robust professional experience in the mutual fund industry.

        At base, Pomerantz does not have any academic credentials in accounting, ﬁnance,

economics, business, or law; and yet he nonetheless purports to oﬀer opinions on the legality of

the Independent Trustees’ decision-making and Calamos’ method of cost allocation. 17 Pomerantz

has “extremely narrow,” “limited,” and “dated” mutual fund industry experience, and yet he

purports to opine on the Independent Trustees’ decision-making and Calamos’ method of cost

allocation. Moreover, Pomerantz concedes that he is unfamiliar with the major cost accounting



17
  Calamos also notes that Pomerantz has never held a tenure-track position at any university or school on any
subject. See Def.’s Mem to Exclude at 7–8. The Court finds this point irrelevant.



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texts and that he has never been responsible for establishing or implementing a cost-allocation

methodology for a fund or for calculating a fund’s proﬁtability outside of his experience as a

hired litigation expert. Dep. of Steve Pomerantz, PhD (“Pomerantz Dep.”) 39:17–40:8, 205:2–5

(Sept. 6, 2017). And, going further, although Pomerantz has testiﬁed more than one hundred

times at deposition and trial, no court has previously ruled that Pomerantz is qualiﬁed to oﬀer an

expert opinion on cost allocation or accounting matters more generally. Pls.’ Resps. ¶ 420.

       Accordingly, in evaluating the weight to be aﬀorded to several of Pomerantz’s opinions,

the Court considers Pomerantz’s general lack of experience with mutual fund independent

trustees, investment advisers, and the 15(c) Process generally.

       b. Pomerantz’s Accounting Opinions

       At trial Pomerantz oﬀered the opinion that Calamos purportedly realized greater than

reported proﬁt from advising the Fund. Pls.’ Resps. ¶ 415. He further opined that for 2015 in

particular, Calamos’ proﬁt margin from advising the Fund was 71%, as opposed to the 46%

margin that Calamos calculated and presented to the Independent Trustees. Id. To arrive at his

proﬁt margin ﬁgure, Pomerantz used a “linear log-log” function to re-calculate Calamos’ costs

based solely on the Fund’s AUM. Id.

       As Calamos correctly observes, Pomerantz’s opinions on proﬁtability fail to meet the

basic admissibility requirements of Rule 702 and Daubert; are unreliable, and the Court ﬁnds

Pomerantz’s proﬁtability opinions unpersuasive, regardless of their admissibility.

       Pomerantz simply is not qualiﬁed to oﬀer admissible expert testimony on the issue of cost

allocation and proﬁtability. As detailed above, Pomerantz does not have a degree in accounting

or economics; he does not have a CPA license; he has never taught a course in accounting or

economics; and he has never published a peer-reviewed article in an accounting or economics




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journal. Pls.’ Resps. ¶ 418. And he has only dated, limited, and “extremely narrow” experience

in the mutual fund industry. Pomerantz has never designed a mutual fund adviser’s cost

allocation methodology; he has never prepared an adviser’s proﬁtability calculation for a mutual

fund’s board, or even calculated the pre- or post-distribution proﬁtability of any mutual fund

adviser outside of the context of litigation. DPF ¶ 419. Indeed, Pomerantz himself fully admits

that he has never been responsible for fund accounting for a mutual fund or for supervising a

fund accountant for a mutual fund. Trial Tr. 405:17–406:4 (Pomerantz).

       Of course, it is undoubtedly true that an expert witness may be qualiﬁed by “knowledge,

skill, experience, training, or education,” Fed. R. Evid. 702, and a court should not exclude

otherwise admissible testimony “simply because [it] does not deem the proposed expert to be the

best qualiﬁed or because the proposed expert does not have the specialization that the court

considers most appropriate.” Bloom v. ProMaxima Mfg. Co., 669 F. Supp. 2d 321, 328 (S.D.N.Y.

2009) (emphasis added) (quoting Lauria v. Nat’l R.R. Passenger Corp., 145 F.3d 593 (3d Cir.

1998)). Here, however, the Court ﬁnds that Pomerantz lacks the knowledge, skill, experience,

training, and education to testify as to accounting matters such as proﬁtability and cost

allocation, notwithstanding the liberal standards contained in Rule 702 and Daubert. In other

words, the Court ﬁnds that Pomerantz is unqualiﬁed to opine on cost allocation and proﬁtability

calculations in the mutual fund context, the issues at the core of this dispute. And while

Plaintiﬀs contend that the analysis under 15(c) “does not implicate economics or accounting,”

see, e.g., Pls.’ Resps. ¶ 408, given the models that Pomerantz proﬀers in support of his

conclusion, the Court disagrees.

       In any event, the Court ﬁnds that Pomerantz’s cost allocation methodology lacks a basis

in principles of accounting and misapplies the very economic models on which he purports to




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rely. DPF ¶ 421. Pomerantz purported to calculate that Calamos earned a 71% proﬁt margin

from advising the Fund. Pls.’ Resps. ¶ 415. As the Court witnessed ﬁrsthand at trial, and as

Calamos thoroughly explains in its post-trial memoranda, the alternative proﬁt margin calculated

by Pomerantz is not a viable proﬁtability calculation for a number of reasons.

       First, as explained above, Pomerantz lacks the qualiﬁcations or experience necessary to

calculate the proﬁtability of a mutual fund in an expert capacity. Additionally, Pomerantz’s

answers on cross examination revealed to the Court that Pomerantz lacked familiarity with

several basic accounting principles and authoritative works. See, e.g., Trial Tr. 452:22–453:19,

463:11–23, 464:18–23 (Pomerantz) (Q: “I accept that you created an econometric model. What

I’m asking you, sir, is whether that model complies with any authoritative criteria for properly

accounting for proﬁts under accounting principles?” A: “I can’t answer that.” Q: “Fair

enough.”).

       Second, as Calamos points out, Pomerantz never actually oﬀered the opinion that

Calamos should have used the cost allocation methodology that he proposes to calculate its

proﬁtability from managing the Funds:

             Q: Let’s be crystal clear. Let’s just start with Calamos. You’ve been clear
             already, and I don’t think you’re equivocating, you have no opinion that
             Calamos should have used your cost allocation model with a log-log as-
             sumption in it, correct?
             A: I’m not saying that anybody should use this approach or has to use this
             approach.
Trial Tr. 465:18–23 (Pomerantz). And, on the stand, Pomerantz could not identify a single

mutual fund adviser that has used or uses his cost allocation methodology. Id. 466:17–467:16,

468:20–469:6 (Pomerantz). For good reason, too — Pomerantz’s methodology suﬀered from

what he himself described as a “time machine dilemma.” See id. 468:14–469:4. Put simply,

Pomerantz’s approach to calculating the Funds’ proﬁtability requires the use of one year of data


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from the present and one year of data from the future. See Pomerantz Dep. 329:15–331:17.

�us, Pomerantz used 2015 data to allocate costs and calculate proﬁtability for 2014. Id.

231:10–235:3. Calamos, during Pomerantz’s deposition and on cross-examination at trial, drove

home the fact that a mutual fund could not, as a practical matter, employ Pomerantz’s

methodology because “to calculate costs and proﬁtability for a year like 2014, they’d have to

wait at least a whole other year to have the data to apply [the] methodology,” something no fund

is going to do. Id.; Trial Tr. 467:17–22, 468:14–469:6.

       When asked about this issue Pomerantz stated that he was “not proposing a solution to

that.” Pomerantz Dep. 232:13–16. And when asked whether, “as an ongoing business matter, no

fund would reasonably be expected to use [his] cost allocation methodology because of the time

constraints in the methodology,” Pomerantz answered “yeah.” Id. 233:3–10. �us, it came as no

surprise to the Court that Calamos’ expert Lacey — one of the only two accountants at the trial

— credibly testiﬁed that he had “never seen anything like [Pomerantz’s cost allocation

methodology] in [his] 40-year career teaching accounting and practicing accounting” and that he

could not “imagine how [he] would apply that method in practice.” Trial Tr. 1025:18–1026:2

(Lacey).

       Third, and ﬁnally, Pomerantz’s cost allocation methodology incorporates a ﬂawed and

unsupported assumption that the logarithm of Calamos’ costs is linearly related to the logarithm

of AUM. See Trial Tr. 460:3–9 (Pomerantz). As a preliminary matter, the Court notes that

Pomerantz misstated this assumption twice in his report: on one occasion he stated that the

logarithm of AUM was linearly related to costs, rather than to the logarithm of costs; and on

another occasion he stated that the logarithm of AUM was linearly related to the logarithm of

fees, not costs. DPF. ¶ 321. At trial, Pomerantz characterized his varying descriptions of the




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assumption as a “semantic issue,” see Trial Tr. 461:11–16, and, at least with respect to

Pomerantz’s reference to fees instead of costs, Plaintiﬀs argue that Pomerantz’s descriptions of

his assumption was “merely a matter of the perspective from which the assumption is being

viewed (‘fees’ viewed from one side are ‘costs’ viewed from the other).” But the Court is

unconvinced.

         Pomerantz’s misstatements demonstrate a level of inattention and imprecision that raises

(additional) questions as to his qualiﬁcations (or lack thereof) as an expert and the weight (or

lack thereof) to be aﬀorded to his testimony. Indeed, the Court ﬁnds that Pomerantz’s

misstatements reﬂect his inexperience with economics and accounting. See also Trial Tr. 531:9–

532:4, 592:22–593:15, 607:11–25 (Pomerantz) (unpersuasively explaining away various “typos”

in his opinions and charts). 18 Consequently, the Court ﬁnds his opinions fundamentally

unreliable.

         Turning to the merits of his assumption, Pomerantz could not identify any citation in

either his initial expert report or his rebuttal report that supported his assumption that the

logarithm of Calamos’ advisory costs is linearly related to the logarithm of AUM. Pls.’ Resps.

¶ 322. And when Pomerantz was asked during his deposition to provide such authority, he

identiﬁed only an unspeciﬁed portion of an unspeciﬁed book by an economist, Professor Dale



18
   As Calamos rightly points out, this is not the first time a court has found that Pomerantz tendered suspect work
product. See DPF ¶ 422. In Sivolella v. AXA Equitable Life Ins. Co., No. 11 Civ. 4194 (PGS), 2016 WL 4487857,
at *15 (D.N.J. Aug. 2016), the district court found that one of Pomerantz’s calculations contained a mathematical
error that “showed a lack of proper prior preparation on a critical point in this case” and “undermine[d] his
credibility on all issues.” And, in CCM Rochester, Inc. v. Federated Investors, No. 14 Civ. 3600 (VEC), 2016 WL
11617452, at *7 (S.D.N.Y. Aug. 31, 2016), in excluding certain of Pomerantz’s opinions the district court noted that
“Pomerantz did not exercise the level of intellectual rigor that characterizes the practice of other experts in his field”
and thus concluded that “his asset allocation opinion must therefore be excluded as unreliable under Rule 702.”
Indeed, the district court found that Pomerantz’s calculations contained omissions “sufficiently egregious for the
Court to conclude the Pomerantz lacks good grounds for his conclusions.” Id. (internal quotation marks and ellipses
omitted).



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Jorgenson. Id. He also testiﬁed at his deposition that he would provide defense counsel with the

authority he was relying upon. Id. Unsurprisingly, at trial, counsel for Calamos represented that

Pomerantz never did, in fact, provide counsel with said authority. Trial Tr. 479:2–22.

       Following Pomerantz’s deposition, Calamos ﬁled a Daubert motion to exclude

Pomerantz’s opinions, noting that “Pomerantz’s report is devoid of any basis or citation

whatsoever for [the ‘log-log’ relationship between Fund assets and Fund costs],” see Def.’s Mot.

to Exclude at 19. In response, Pomerantz ﬁled a supplemental declaration in this action that

asserted that his “linear log-log” assumption was justiﬁed by the “Cobb-Douglas function” and

two articles by economists. Pls.’ Resps. ¶ 323. Notably, Pomerantz’s supplemental declaration

did not mention any source authored by Professor Jorgenson as a basis for his assumption. Id.

And Pomerantz did not mention the Cobb-Douglas function or these economic articles as support

for his assumption in either of his expert reports or during his deposition. Id.

       In the middle of his trial testimony, Pomerantz provided through Plaintiﬀs’ counsel a

citation to a book by Professor Jorgeson as the supposed basis for his assumption that the

logarithm of Calamos’ advisory costs is linearly related to the logarithm of AUM. Pls.’ Resps.

¶ 324. Neither Pomerantz nor Plaintiﬀs’ counsel provided the cited material to Calamos or the

Court. Id. And Calamos’ expert Hubbard — an actual expert in economics — later testiﬁed

credibly that the citation to Jorgenson’s book does not support his assumption that the logarithm

of costs is linearly related to the logarithm of AUM. Trial Tr. 729:13–730:14. Moreover,

Hubbard explained that the two economics articles cited by Pomerantz in his supplemental

declaration do not support his “linear log-log” assumption regarding Calamos’ advisory costs and

AUM; these articles instead advocate using a diﬀerent model (called “translog”) not used by

Pomerantz. DPF ¶ 323.




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         Calamos’ accounting expert Lacey also testiﬁed credibly that Pomerantz’s linear log-log

relationship lacked any basis in accounting principles, stating that “I can’t imagine any

circumstances in which we would apply that method as accountants under any circumstance.”

DPF ¶ 325.

         At base, the Court ﬁnds Pomerantz’s reliance on the ﬂawed assumption that the logarithm

of Calamos’ advisory costs is linearly related to the logarithm of AUM aﬀects his entire

proﬁtability calculation and is inconsistent with both economic and accounting principles. Based

on the above ﬁndings, the Court gives no weight to Pomerantz’s opinions concerning cost

allocation and Fund proﬁtability.

         Finally, the Court ﬁnds that at trial, Pomerantz’s testimony was evasive and inconsistent.

He was subject to at least nine proper impeachments by Calamos throughout his testimony on

highly substantive matters, 19 see Trial Tr. 406:23–407:24, 408:24–409:16, 439:25–440:24,

441:2–24, 444:2–445:13, 463:11–24, 466:17–467:16, 497:4–498:1, 519:18–521:2, 533:3–21. 20

Consequently, the Court aﬀords his testimony little to no weight in determining whether Calamos

breached its ﬁduciary duty under § 36(b).

IV.      DISCUSSION 21

         Having made several background ﬁndings of fact regarding the Fund, the parties, and the

witnesses, the Court now turns to whether Plaintiﬀs have demonstrated by a preponderance of


19
  The Court does not include the several instances during Pomerantz’s testimony in which Pomerantz seemed to
prevaricate on subjects the Court found insignificant. E.g., Trial Tr. 409:17–410:5, 417:1–16, 434:17–436:16.
20
  Moreover, as Calamos notes and Plaintiffs fully admit, this Court is not alone in rejecting Pomerantz’s testimony.
Pls.’ Resps. ¶ 442 (collecting cases).
21
   Many of the factual findings set forth in Part III, supra, are included in the Court’s application of Gartenberg in
the following sections. Insofar as the Court alludes to or applies facts not set forth in Part III, such facts should be
construed as additional findings of fact for purposes of Rule 52 of the Federal Rules of Civil Procedure. See Fed. R.
Civ. P. 52(a)(1). Moreover, the Court expressly adopts all of the factual findings set forth in the parties’ joint
statement of stipulated facts, see generally SSF, whether mentioned in this opinion or not.



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the evidence that the investment advisory fees Calamos received from the Fund during the

relevant period were so disproportionately large that they bear no reasonable relationship to the

services rendered and could not have been the product of arm’s length bargaining. In evaluating

the fees, the Court considers the Gartenberg factors, as well as any other relevant factors bearing

on this question.

       A. Conscientiousness and Care
          of the Independent Trustees’ 15(c) Review

       �e Court begins by examining whether the Independent Trustees conscientiously

considered the diﬀerences in services provided and risks undertaken by Calamos in advising the

Fund vis-à-vis Calamos’ Other ACG Accounts.

       During summary judgment proceedings, the Court concluded that Calamos had failed to

point to record evidence indicating that the Independent Trustees engaged in a robust review of

the diﬀerences in services Calamos rendered to the Fund vis-à-vis Calamos’ Other ACG

Accounts. Chill, 2018 WL 4778912, at *11. Consequently, the Court concluded that

“deﬁciencies surrounding the Trustees’ evaluation of the Advisory Fees preclude[d] the Court

from aﬀording the Trustees’ judgment substantial deference as a matter of law — at least at [that]

stage of the litigation.” Chill, 2018 WL 4778912, at *9; see also id. at *3–14.

       In so concluding, the Court observed that Calamos, during summary judgement

proceedings, relied almost exclusively on the same three slides from the presentation it provided

to the Independent Trustees each year, which contained a bulleted list of services Calamos

provided to investment companies generally. �e Court remarked that “[s]uch information

hardly establishe[d] that the Trustees’ consideration of the diﬀerences in services and risk was

robust.” Id. at *11. �e Court noted that “while the ICA does not necessarily ensure fee parity

between mutual funds and institutional clients, the lack of evidence indicating that the



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Independent Trustees conscientiously considered the diﬀerences in services and risk between the

Fund and Calamos’ other clients suggest[ed] that the Trustees’ 15(c) Process was deﬁcient in its

evaluation of the Advisory Fees.” Id. at *12 (internal quotation marks omitted). And the Court

found “novel and controversial . . . the notion seemingly advanced by Calamos — that Section

36(b) allows for Independent Trustees to rely solely on their business judgment and intuition in

approving the Fund’s Advisory Fees, without regard to any sort of comparative data between the

Fund’s fees and non-Fund fees in light of the actual diﬀerences in risks incurred and services

rendered by Calamos.” Id. at *11 n.10.

       Now, following trial, Plaintiﬀs challenge whether the Trustees were fully apprised of the

diﬀerences in services Calamos provided to the Fund vis-à-vis its Other ACG Accounts. After

review of the credible evidence presented at trial, the Court concludes that the Independent

Trustees were so apprised.

       To start, the “Management Fee Rates by Product” presentation that Calamos provided as

part of the 15(c) Response each year included not only the numerical advisory fee comparison

that the Court has already ruled to be suﬃcient, see id. at *10, but also a bullet-point summary of

the various diﬀerences in services and risks between advising mutual funds as compared to

institutional or sub-advisory clients, see Decl. of J. Christopher Jackson (“Jackson Decl.”) ¶¶ 95–

96. As Jackson credibly explained in his declaration and at trial, the summary provided by

Calamos was not intended to be an exhaustive recitation of all the diﬀerences in services and

risks involved in managing the Funds versus institutional and sub-advised clients. Id. ¶ 99.

       Jackson also explained that the bullet-point summary in the Management Fee Rate

Presentation was far from the only information that Calamos provided to the Independent

Trustees throughout the year with respect to the diﬀerence in services that Calamos performs for




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the Fund and the risks that Calamos faced in providing those services. Id. ¶ 101. Indeed,

credible trial testimony conﬁrmed that the Independent Trustees regularly received extensive

information at virtually every board meeting concerning the services Calamos provides to the

Funds that are not required for its Other ACG Accounts. See, e.g., Trial Tr. 333:24–334:5

(Jackson); Jackson Decl. ¶¶ 99–101. For example, Holloway stated that he personally briefed

the Independent Trustees on topics relating to services Calamos provides to the Funds, including

compliance with the Internal Revenue Code, reviews of service provider relationships, the

performance of the Transfer Agent, and the state of shareholder services. See Holloway Decl.

¶¶ 61–63; see also Trial Tr. 394:11–395:6 (Holloway). Neal, a member of the Board,

acknowledged these presentations in his trial declaration and conﬁrmed his understanding of the

diﬀerences in services between the Funds and the Other ACG Accounts. See Neal Decl. ¶¶ 38,

41, 83–84, 86–87, 97–98, 102; see also Trial Tr. 180:12–23, 187:15–188:1 (Neal).

       Moreover, it is undisputed that the Independent Trustees have substantial years of

experience in the asset management industry, see Pls.’ Resps. ¶ 207, and testimony at trial

revealed that at least one of the Independent Trustees relied on his experience in concluding that

comparisons between the Fund and Calamos’ Other ACG Accounts are like comparing apples

and oranges. DPF ¶ 207; see also Timbers Dep. 111:10–25; Jackson Decl. ¶ 99.

       Plaintiﬀs disagree that the Independent Trustees’ experience helped them to fulﬁll their

duties and point to evidence they believe shows that (1) the Trustees were unaware of the

diﬀerences in services provided to funds and non-funds and (2) the amount of litigation risk

Calamos priced into the advisory fees charged to the Fund. See PPF ¶¶ 220, 286–87, 313–14,

401–03. Plaintiﬀs’ arguments are unavailing.

       First, Plaintiﬀs harp on the fact that Timbers testiﬁed in his deposition that he “c[ould]




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only guess” what services Calamos provided to its sub-advisory and institutional clients and

could not recall whether Calamos provided him with speciﬁc information about what services

were provided to those clients. 22 See PPF ¶ 286.

           But, notwithstanding Timbers’ statement that he could only “guess” what services

Calamos provided to its non-fund clients, Timbers also testiﬁed that he has extensive experience

in the mutual fund industry, having been formerly employed as Vice Chairman of Northern Trust

Corporation, a trust bank that sponsors a mutual fund, where he was responsible for all

investment activities, investment subsidiaries, businesses, and investment organizations.

Timbers Dep. 12:21–13:17. And, in light of his experience in the industry, Timbers credibly

explained that he was fully aware of the diﬀerences in the services Calamos provided to the Fund

vis-à-vis its sub-advisory and institutional clients. See Timbers Dep. 110:18–113:1. 23 Moreover,

22
     The specific colloquy is restated below:
                Q: And you’re familiar with the fact that [Calamos] has institutional clients?
                A: Yes.
                Q: And [Calamos] has subadvisory clients?
                A: Clients or client, yes.
                Q: Okay. And do you know what services [Calamos] provides to those clients?
                A: I can only guess.
                Q: Okay. So did the advisor ever provide you with any specific information about what
                services were provided to those clients?
                ***
                A: Ever provide --I don’t remember.
Timbers Dep. 59:10–22.
23
     The specific colloquy is restated below:
                Q.: Do you recall the substance of [the discussions of reports concerning management fee
                rates by product presentation]?
                A.: That, you know, it’s interesting. You know, it’s a lot of apples and oranges. These
                things that are required by mutual fund by regulation, just by practice are so different from
                that of an institutional separate accounting. So, you know, there’s some similarities. I used
                to say well, you know, if you look at an apple and a strawberry, they’re both red, that’s



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at trial, Plaintiﬀs’ counsel asked Calamos’ expert Laby to opine as to whether Timbers’

deposition testimony was consistent with careful consideration of the services Calamos provided

to its sub-advisory and institutional clients. In response, and consistent with the Court’s view,

Laby answered in the aﬃrmative. Trial Tr. 967:1–10 (Laby).

        Second, Plaintiﬀs claim that the Independent Trustees had no idea how much litigation

risk Calamos priced into the Fund’s yearly advisory fee. As an example, they cite the following

testimony from Neal:

            Q.: [A]ccording to Mr. Jackson, [Calamos] faced more signiﬁcant litigation
            and regulatory risks for advisory mutual funds; is that correct?
            A.: Yes.
            Q.: Mr. Jackson further explained that CAL priced these risks into the man-
            agement agreement with the funds; is that correct?
            A.: Yes.


            about it. So -- and that’s what I sort of think of this. There’s some aspects that overlap
            and are the same, but there a lot of things that mutual funds have to do that subadvisors
            don’t.
            Q.: So you discussed with your co-trustees the fact that there were additional things that
            needed to be done with mutual funds?
            A.: Absolutely.
            Q.: What things did you discuss?
            ***
            A.: Just the whole relationship to, you know, maybe a hundred thousand clients of one
            fund as opposed to the size of the fund, the way you could trade it. In terms of cash flow
            coming in, you don’t usually have any cash coming in on the institutional [ac]counts. You
            got all these regulatory filings you have to do. You have to maintain daily liquidity. The
            reporting’s different. There’s all sorts of things you have to do with a mutual fund which
            you don’t do with an institutional [or] subadvisor[y account].
            ***
            Q.: Any of those additional duties that you’re describing, would they fall under the invest-
            ment management agreement?
            ***
            A.: Yes, I believe so.
Timbers Dep. 110:18–113:1.



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           Q.: Is it fair to state you don’t know what methodology, if any, [Calamos]
           used to price the risk Mr. Jackson discussed into the management agree-
           ment, right?
           A.: I do not.
           Q.: You don’t know how much of the growth funds advisory fees was at-
           tributable to litigation risks for any year from 2013 to the present; isn’t that
           right?
           A.: Yes.
           Q.: And you never asked for that information either, right?
           A.: Correct.
           Q.: And to your knowledge, no one on the board asked for that information
           either?
           A.: Correct.
Trial Tr. 135:7–136:1 (Neal).

       Plaintiﬀs’ line of questioning implies that the Independent Trustees were required to

calculate, estimate, or otherwise reduce to a number the litigation risks faced by Calamos as a

consequence of advising the Fund. But, as Calamos correctly observes, no such calculation,

estimation, or otherwise reduction to a numerical ﬁgure is required by the plain text of § 36(b),

and no court or regulator has ever held that an adviser must provide a cost breakdown that

quantiﬁes in dollars and cents all of the diﬀerent services and risks entailed in managing a mutual

fund as compared to an institutional or sub-advisory account. See Kennis v. Metro. West Asset

Mgmt., LLC, No. 15 Civ. 8162 (GW), slip op. at 36–37, Doc. 506 (C.D. Cal. Jul. 31, 2019,

adopted Aug. 5, 2019) (concluding that Independent Trustees received suﬃcient information

from investment adviser regarding fees charged to fund at issue vis-à-vis adviser’s sub-advised

funds notwithstanding that the adviser “did not provide documentation regarding quantiﬁcation

of” services provided to the sub-advised funds); In re Davis N.Y. Venture Fund Fee Litig., No. 14

Civ. 4318 (LTS), 2019 WL 2896415, at *4, *10 & n.16 (S.D.N.Y. July 2, 2019) (concluding that

“a rational factﬁnder could not conclude that information was withheld from the Board with


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respect to the diﬀerences between services provided to the Fund and those provided to

Subadvised Funds” notwithstanding that the adviser “did not quantify this work in terms of time

or money expended”); Sivolella v. AXA Equitable Life Ins. Co., No. 11 Civ. 4194 (PGS), 2016

WL 4487857, at *44–45 (D.N.J. Aug. 25, 2016), aﬀ’d, 742 F. App’x 604 (3d Cir. 2018)

(concluding that the investment adviser “was not required to quantify the risk in order to justify a

portion of its fee” and ﬁnding that the board of trustees “nonetheless considered the risk that [the

adviser] faces, even though there was no speciﬁc cost assigned to it”). �is Court, in line with

the others to have considered this issue, agrees that Calamos need not have “quantiﬁed” the

diﬀerences in services and risks between its clients and that the Independent Trustees need not

have asked for such quantiﬁcations.

       In sum, the amount of evidence presented by Calamos at trial far exceeded that which

was presented to the Court at the summary judgement stage, where the Court observed that

Calamos had relied “almost exclusively” on the bullet-point summary as proof that the

Independent Trustees engaged in a robust review of the diﬀerences in services rendered to the

Fund vis-à-vis Calamos’ non-fund clients. See Chill, 2018 WL 4778912, at *11.

       �e trial record builds on a 15(c) review that this Court found to be “robust and informed

in many respects,” at summary judgment. Id. at *14. Speciﬁcally, the Court found beyond

genuine dispute that: (1) Calamos presented the Independent Trustees with suﬃcient

information to evaluate the disparity in fees between the Fund and Calamos’ institutional and

sub-advised clients; (2) the Trustees were “well aware” that Calamos’ Other ACG Accounts paid

fees almost half those of the Fund; (3) the Trustees were provided detailed fee-comparison data

from industry-recognized, third-party sources showing the Fund’s fee placement relative to its

peers, and thus Plaintiﬀs’ contention that the Trustees did not conscientiously consider peer




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information proﬀered by Calamos was wrong; (4) the Trustees’ evaluation of the economies of

scale and fall-out beneﬁts realized by Calamos was not deﬁcient; (5) the Trustees were fully

informed about Calamos’ proﬁtability methodology, thoroughly discussed the impact that

methodology would have on the proﬁtability ﬁgures Calamos reported vis-à-vis alternative

methodologies, and formally approved of Calamos’ use of that methodology; and (6) the Trustees

did not fail to negotiate with Calamos because they did not have a duty to negotiate. See id. at

*10–14.

       �e Court ﬁnds that the weight of credible trial evidence makes clear that the Independent

Trustees were fully informed, conscientious, and careful in approving Calamos’ annual advisory

fee under the IMA each year during the relevant period. Consequently, the Court ﬁnds that this

factor weighs against a conclusion that Calamos breached its ﬁduciary duty under § 36(b), as

substantial deference to the Independent Trustees’ decision is warranted.

       B. Comparative Fee Structures

       In the opinion granting partial summary judgment to Calamos, the Court credited

Plaintiﬀs’ contention that “Jones and Gartenberg make clear that plaintiﬀs challenging excessive

fees under [§] 36(b) do not need to point to a numerical range of fees per se to establish whether

[a] challenged fee is so disproportionately large that it could not have been the product of arm’s

length bargaining.” Chill, 2018 WL 4778912, at *15 (citing Jones, 559 U.S. at 352 (“In

reviewing compensation under § 36(b), the Act does not require courts to engage in a precise

calculation of fees representative of arm’s-length bargaining.”)). �us, insofar as Calamos

argued that Plaintiﬀs must proﬀer a number (or range of numbers) above which the advisory fee

charged to the Fund would be “excessive per se,” the Court expressly rejected that argument.

Chill, 2018 WL 4778912, at *15.




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        Plaintiﬀs instead seek to use two sets of comparisons to prove excessive advisory fees: a

comparison of annual investment advisory fees Calamos charged to the Fund versus fees charged

by investment advisors at comparable funds, and a comparison of annual investment advisory

fees Calamos charged to the Fund versus fees Calamos’ charged to its sub-advised and

institutional clients.

            Comparison of Fees Charged by Calamos versus
            Fees Charged by Advisors at Comparable Mutual Funds

        �e Court ﬁrst ﬁnds that a comparison of the fees charged by peer mutual funds does not

support a ﬁnding that the fees Calamos received from the Fund were so disproportionately large

that they bear no reasonable relationship to the services rendered and could not have been the

product of arm’s-length bargaining.

        As a preliminary matter, the Court reaﬃrms the following position, as set out in its

opinion granting partial summary judgment to Calamos: Nowhere in Jones does the Supreme

Court state that an investment adviser’s fees are insulated from review if the fees fall within the

range charged by third-party investment advisers to comparable third-party funds. To the

contrary, both Jones and Gartenberg make clear that “the test is essentially whether the fee

schedule represents a charge within the range of what would have been negotiated at arm’s-

length in the light of all of the surrounding circumstances.” Jones, 559 U.S. at 344 (emphasis

added) (quoting Gartenberg, 694 F.2d at 928). Indeed, the Supreme Court in Jones explained

that “courts should not rely too heavily on comparisons with fees charged to mutual funds by

other advisers. �ese comparisons are problematic because these fees, like those challenged,

may not be the product of negotiations conducted at arm’s length.” Jones, 559 U.S. at 350–51.

�e Second Circuit in Gartenberg similarly expressed skepticism at such comparisons, noting

that “[i]f rates charged by the many other advisers were an aﬃrmative competitive criterion,



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there would be little purpose in § 36(b).” Gartenberg, 694 F.2d at 929; see also id. at 929

(expressly rejecting the district court’s conclusions that the “market price . . . serves as a standard

to test the fairness of the investment advisory fee,” in part because “the existence in most cases

of an unseverable relationship between the adviser-manager and the fund it services tends to

weaken the weight to be given to rates charged by advisers of other similar funds”).

       Here, the placement of the Fund’s fees vis-à-vis the Fund’s mutual fund peer group

hardly comprises all the surrounding relevant circumstances. Consequently, while the Court

“do[es] not suggest that rates charged by other adviser-managers to other similar funds are not a

factor to be taken into account,” id., the Court again rejects Calamos’ argument insofar as it asks

this Court to aﬀord dispositive weight to the placement of the challenged advisory fees among

the range of fees charged by other advisors to other funds.

       Turning to the evidence adduced at trial, the Court observes at the outset that Plaintiﬀs’

own witness, Pomerantz, testiﬁed that “an adviser’s fee is not excessive simply because it’s

above the median fee charged to peer funds;” and that, in Pomerantz’s opinion, “peer group fee

comparisons are not even relevant” in his Gartenberg analysis. Trial Tr. 514:10–515:10

(Pomerantz). Nevertheless, during the course of preparing his expert report, Pomerantz collected

data to compare the annual investment advisory fee charged to the Fund with similar fees paid by

417 mutual funds in the same Morningstar Large Cap Growth category. See Pomerantz Report

¶¶ 291–93. In his report, Pomerantz presented a chart that purportedly showed “the advisory fee

rates paid by, and the net assets held by, the Fund . . . and every other similarly-categorized

mutual fund.” Id. ¶ 293. �e Morningstar data revealed that approximately 20% of the mutual

funds in Pomerantz’s data set of “every other similarly-categorized mutual fund” — that is, 80

mutual funds out of the 417 — paid fees equal to or higher than the Fund’s annual advisory fee.




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Pls.’ Resps. ¶ 256.

       Calamos contends that this result conﬁrms that the Fund’s fee is within the range of an

arm’s-length bargain, as measured by the Fund’s peer mutual funds. DPF ¶ 256. Moreover, as

noted in supra Part III.E.2, the fee comparison information that the Independent Trustees

received from the �ird-Party Service Providers showed that the fees charged to the Fund each

year, when compared to fees charged to the Fund’s peer mutual funds each year, ranged from the

69th percentile to the 95th percentile during the relevant period, based on a set of approximately

ten to twenty funds custom selected by the Fund’s �ird-Party Service Providers that each

service provider considered to be similar to the Fund. DPF ¶ 259.

       Plaintiﬀs contend that Calamos’ position “simply ignores Dr. Pomerantz’s far more

relevant comparison that controlled for funds with comparable AUM.” Pls.’ Resps. ¶ 256.

According to Plaintiﬀs, a comparison of the fees charged to the Fund with the fees charged to the

Fund’s true peer mutual funds — that is, funds with comparable AUM — demonstrates that the

Fund’s advisory fee is an “outlier” at the very top of the range of fees paid by mutual funds of

similar character and size. Id.

       �e Court has determined Pomerantz’s testimony to be inadmissible and incredible. See

Part III.H.2, supra. But even without this preliminary determination, the Court would not be

persuaded by Pomerantz’s argument.

       As part of his expert report, Pomerantz opined that “comparing the fees charged by small

funds with those charged by large funds amounts to comparing apples with oranges.” Pomerantz

Report ¶ 297. Consequently, starting with the same 417 Large Cap Growth funds referenced

above, Pomerantz compared the advisory fees paid by Large Cap Growth funds with net assets

between $1 billion and $10 billion — including the Fund. Id. ¶¶ 298–301. According to




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Pomerantz, the average fee rate and weighted average fee rate among such funds is 63 basis

points; and the Fund’s fee rate is not only well above the average, but speciﬁcally ranks at the

93rd percentile — meaning that its fees are higher than 93% of its peers. Id. ¶ 302. 24 Pomerantz

also opined that, of the nine mutual funds with over $1 billion in AUM that pay higher fees than

the Fund, all are “outliers” in that they pay fees “visibly removed from the main mass of other

peer funds.” Id. ¶ 303. Yet, notwithstanding Pomerantz’s observations, none of the independent

third-party service providers that analyzed the Fund’s advisory fee (that is, Lipper, Morningstar,

and Strategic Insight) have referred to the Fund’s fee as an “outlier.” Nor does the Court, in

viewing Pomerantz’s chart, ﬁnd that those funds constitute outliers. 25

         Moreover, as noted earlier, Calamos’ expert Hubbard conducted a comparative fee

analysis based on the Fund’s “peer group” as he deﬁned it, with an emphasis on the peer funds’

expense ratios. See Hubbard Report ¶¶ 52–54. Hubbard concluded that the Fund’s expense



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  During the trial, Pomerantz testified that, of the other peer mutual funds that paid higher advisory fees than the
Fund in his peer analysis, four — that is, approximately half — of those funds are advised by American Century
Investment Management (“ACIM”). PPF ¶ 142. Pomerantz opined at trial that ACIM “is relatively unique in that it
uses what’s called a unified fee. It does not have an advisory fee and a FASA fee. It doesn’t have a whole sleet of
fees that an investor or shareholder pays.” Trial Tr. 563:19–23 (Pomerantz). He opined further that the ACIM fees
reflected in his analysis “actually [are] covering a range of services far beyond just advisory,” and, consequently,
“they should be thrown out.” Id. 564:2–10.
The Court does not credit this opinion. As noted by Calamos, Plaintiffs did not present any admissible evidence
establishing the characteristics of ACIM funds and their fee structures, and Pomerantz’s claims regarding the
characteristics of such funds are found nowhere in either his initial export report or his rebuttal report. See Def.’s
Resps. ¶ 143. Additionally, Morningstar, one of the Independent Trustees’ “Independent Data Providers,” included
ACIM funds into the Fund’s peer group, clearly indicating that it found those funds comparable to the Fund here.
Id. Accordingly, the Court does not credit this portion of Pomerantz’s testimony.
25
  Pomerantz also purported to perform a linear regression of Morningstar data, the form of which compared the fee
charged to the assets under management for 417 mutual funds classified as Large Growth by Morningstar.
Pomerantz Report ¶ 294. But, as explained above, like Pomerantz’s cost allocation methodology, his regression
incorporates a flawed and unsupported assumption that the logarithm of Calamos’ costs is linearly related to the
logarithm of AUM. See Part III.H.2.b, supra; see also DPF ¶ 320. And, at trial, Calamos’ expert Hubbard credibly
explained why Pomerantz’s regression is unpersuasive and unreliable. See Trial Tr. 734:2–736:7 (Hubbard).
Accordingly, the Court finds unreliable Pomerantz’s regression and corresponding conclusions.




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ratios were within its peer fund’s ratios — a conclusion the Court ﬁnds credible and persuasive. 26

See DPF ¶¶ 269–70. And, like Pomerantz, Hubbard compared the Fund’s advisory fees to those

of its peers, using the same funds that Hubbard used as peers to evaluate the Fund’s expense

ratios, to the extent that data on each fund’s advisory fees were available. Hubbard Report

¶¶ 52–53. Hubbard concluded that those fees were within the range of fees charged to the

Fund’s peers, id., notwithstanding that they were undoubtedly on the higher end of the spectrum

— a conclusion the Court credits.

           In conclusion, although the Supreme Court recognized that peer mutual fund fees are not

dispositive in assessing a Section 36(b) claim, courts following the Gartenberg standard have

uniformly considered the subject fund’s fee in comparison to similar mutual funds to be a

relevant criterion to assess whether the fee is excessive. Pls.’ Resps. ¶ 273. And, as the Court

already has explained on summary judgment, although not dispositive, Plaintiﬀs do concede that

the Fund’s Advisory Fee is within the range of fees charged to peer mutual funds by other


26
     In Pomerantz’s report, he opines that
                the Board [of Trustees] appears to have committed a category mistake by prioritizing, in
                its 15c advisory fee analysis, the Calamos Funds’ total expense ratio . . . , rather than the
                Calamos Funds’ advisory fees specifically. . . . But, the 15c context seems to require a
                more particularized focus from the Board on the payment of advisory fees. Misfocus on
                total expense ratios can allow for otherwise objectionable advisory fees to be approved
                without objection . . . .”
Pomerantz Report ¶ 312 n.181. The Court cannot agree.
For one thing, Pomerantz is not qualified to opine as to what the 15(c) Process requires. Second, the Court agrees
with Hubbard’s report insofar as Hubbard opines that “to meaningfully compare the costs of different funds, it
makes economic sense for a potential investor to compare the funds’ ‘expense ratios,’ which represent the fees that
investors pay in exchange for the integrated bundle of services received.” Hubbard Report ¶ 44.
At the end of the day, “[w]hen deciding whether to purchase a mutual fund, prospective investors must decide
whether to purchase the integrated bundle of services that the fund offers. That is, investors cannot select
management services from one mutual fund and distribution or transfer agency services associated with another
fund.” Id. And, finally, the Court finds, contrary to Pomerantz’s opinion, that the Independent Trustees did not
“prioritize[e]” the Fund’s total expense ratio in determining whether Calamos’ advisory fees were excessive.
Rather, the record evidence reveals that the Trustees engaged in a robust and conscientious review of all relevant
data and factors in approving the fee each year.



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investment advisors. Id. ¶ 274.

       Here, although the Fund’s fee was above its peer group and category medians each year

that the Independent Trustees approved the IMA, as Plaintiﬀs fully admit, “[c]harging a fee that

is above an industry average does not violate Section 36(b).” Id. ¶ 276. �e Court recognized

this on summary judgment when it explained that Plaintiﬀs could not prevail by demonstrating

solely that the fees are higher, even much higher, than those charged by third parties to peer

funds. Chill, 2018 WL 4778912, at *17. Indeed, as the case law cited by Calamos demonstrates,

Section 36(b) does not require that a fund experiencing below-median performance must charge

a below-median fee. Pls.’ Resps. (citing Sivolella, 2016 WL 4487857, at *65, 67 (declining to

ﬁnd fees excessive despite the plaintiﬀs’ arguments that certain funds charged fees above the

industry average and underperformed their benchmarks)); Kasilag v. Hartford Inv. Fin. Servs.,

LLC, No. 11 Civ. 1083 (RMB), 2017 WL 773880, at *8, *12 (D.N.J. Feb. 28, 2017), aﬀ’d, 745 F.

App’x 452 (3d Cir. 2018) (declining to ﬁnd Hartford Balanced Fund’s fee excessive despite the

fact that it experienced bottom-quartile performance in almost each year and, in some years, had

above-median fees)). And, at base, after comparing the Fund’s fee with the fees charged to its

peers (as deﬁned by the �ird-Party Service Providers, Plaintiﬀs’ expert, and Calamos’ experts,

respectively), the Court concludes that such comparisons do not support Plaintiﬀs’ argument that

the fees charged to the Fund were excessive and not reﬂective of arm’s-length bargaining.

           The Utility of Comparing Fees Charged to the Fund
           by Calamos versus Fees Calamos Charged
           to Its Institutional and Sub-Advised Clients

       As Calamos correctly notes, the credible evidence demonstrates that the higher fees

charged to the Fund vis-à-vis Calamos’ Other ACG Accounts reﬂected the greater services and

risks that Calamos experienced in managing the Fund when compared to its Other ACG




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Accounts — particularly in areas such as legal, regulatory, and compliance; fund governance;

fund administration services; oversight of third-party service providers; portfolio management;

and client/shareholder services. PPF ¶ 162. Consequently, the Court ﬁnds that the fees charged

to Calamos’ Other ACG Accounts are inapt comparators to the Fund’s fees when considering

whether the Fund’s advisory fee is excessive.

       In addition to setting forth Calamos’ responsibility for portfolio management-related

services to the Fund, the IMA requires Calamos to “manage, supervise, and conduct the other

aﬀairs and business of the Trust and each Fund thereof and matters incidental thereto, subject

always to the control of the Trustees.” Pls.’ Resps. ¶ 166 (quoting JX 5). Under this provision,

the IMA requires Calamos to provide, either directly or through third parties subject to its

oversight, all services necessary to manage the Fund; both of Plaintiﬀs’ experts agreed that the

IMA requires Calamos to provide all of the services necessary to operate the Fund. Id. ¶ 167.

Indeed, Pomerantz testiﬁed that Calamos is “morally responsible” under the IMA for “everything

that needs to be done” for the Fund and for “providing literally all of the necessary services to

operate the trust.” Id.; see also Trial Tr. 487:6–488:2. Similarly, Bullard testiﬁed that the IMA

requires Calamos to provide or arrange for the complete bundle of services needed to run the

Fund. Pls.’ Resps. ¶ 167.

       In contrast to the terms of the IMA operative between Calamos and the Fund, although

Calamos’ investment management agreements with its thirty six Other ACG Accounts required it

to provide them with certain portfolio management services, none of those thirty six agreements

contained a provision that, either in words or substance, required Calamos to “manage, supervise

and conduct the other aﬀairs and business” of any of those accounts in the same manner as the

IMA requires with respect to the Fund. Id. ¶ 168.




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       At trial, Plaintiﬀs focused on two of Calamos’ Sub-Advised ACG Accounts — Nomura

and MD American — in comparing the services and risks undertaken by Calamos in advising its

Other ACG Accounts as compared to the Fund. Both Nomura and MD American were non-U.S.

based investment companies. Pls.’ Resps. ¶ 170. Unlike Calamos’ all-encompassing role with

respect to managing the Fund, the credible trial evidence reveals that Calamos provided a more

limited set of services to Nomura and MD American. Speciﬁcally, Calamos’ duties were limited

to structuring the investment portfolio, picking securities for investments, ensuring compliance

with the account’s guidelines, and some limited (and “formulaic”) reporting responsibilities to

the investment adviser or the fund’s account’s board. See DPF ¶ 170. �e remainder of the

services required to manage those funds were provided by those funds’ investment adviser, not

Calamos; their investment advisers bore the ultimate responsibility to monitor and supervise

Calamos’ performance as sub-adviser. Id.

       And, in a similar fashion to Calamos’ Sub-Advised ACG Accounts, Calamos served as an

adviser to thirty one Institutional ACG Accounts. �e services that Calamos provided to those

accounts were generally limited to structuring an investment portfolio, picking securities for

investments, ensuring compliance with guidelines, and some limited reporting responsibilities.

DPF ¶ 171.

       A review of the services and risks undertaken by Calamos in advising the Fund as

compared to advising Calamos’ Other ACG Accounts, as demonstrated by Calamos at trial,

makes clear that Calamos provides substantially more services — and undertakes substantially

more risks — in advising the Fund.

       a. Legal, Regulatory, and Compliance Services

       Mutual funds operate in an extensively regulated environment. Pls.’ Resps. ¶ 174. As




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even Plaintiﬀ’s expert Bullard acknowledged, mutual funds are subject to special rules that do

not apply to other types of collective investment vehicles, including any of Calamos’ Other ACG

Accounts. Id.; see also Trial Tr. 857:22–860:3 (Bullard). More speciﬁcally, as Plaintiﬀs

acknowledge, Calamos’ management of the Fund requires that it comply with numerous and

constantly changing laws, rules, and regulations — including, but not limited to, the entirety of

the ICA, many other federal statutory provisions, and numerous SEC rules and regulations —

that do not apply at all to its Other ACG Accounts. Pls.’ Resps. ¶ 175. As Plaintiﬀs concede, in

advising the Fund, Calamos’ legal and regulatory obligations imposed by just the ICA alone are

signiﬁcant. Id. ¶ 176. Among other things, Calamos must comply with ICA provisions relating

to aﬃliated underwriting, the use of derivatives, aﬃliated transactions, and investments in other

investment companies. Id. Calamos must also stay current with and implement related SEC

interpretations and guidance. Id. None of these provisions applies to Calamos’ services to any

of its Other ACG Accounts.

       Plaintiﬀs admits that under SEC Rule 38a-1, the Fund is required to maintain policies and

procedures to address its compliance with federal securities laws. Id. ¶ 177. �rough the Funds’

CCO, the Fund is required to and has developed extensive compliance protocols. Id. In

addition, the Funds’ CCO is required to review annually the Funds’ compliance policies and

procedures and provide a report to the Independent Trustees. Id. Neither SEC Rule 38a-1 nor

the extensive work of the Funds’ CCO applies to any of Calamos’ Other ACG Accounts. Id.

Plaintiﬀs admit that, in managing the Fund, Calamos must also comply with other federal

securities law by, among other things, frequently preparing prospectuses, reports, and a variety of

other disclosure documents on behalf of the Fund. Id. ¶ 178. Calamos does not have to prepare

any of these documents for its Other ACG Accounts.




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       Furthermore, Calamos’ legal department is responsible for the organization of all Board

and Committee meetings — as well as preparing and coordinating all agendas and meeting

materials incident thereto — in relation with the Board’s overseeing of the Funds. Id. ¶ 182.

None of this work is required for, or for the beneﬁt of, any of Calamos’ Other ACG Accounts.

Id.

       And, ﬁnally, to meet all of the legal, regulatory, and compliance responsibilities incident

to managing the Fund, Calamos creates, implements, and maintains internal processes,

procedures, and policies to monitor and ensure that the Fund complies with the many applicable

rules and regulations that govern mutual funds. Id. ¶ 179. �ese internal processes, procedures,

and policies touch upon every Calamos department and most aspects of the day-to-day work

done by those departments. Id.

       Plaintiﬀs admit all of the aforementioned. But they nevertheless oﬀer several reasons

why the diﬀerences in Calamos’ legal, regulatory, and compliance services to the Fund vis-à-vis

its Other ACG Accounts are not so diﬀerent as to render a fee comparison between those clients

inapt. �e Court ﬁnds none of Plaintiﬀs’ reasons persuasive.

       First, Plaintiﬀs argue that compliance with all securities laws and the Internal Revenue

Code is necessary irrespective of client type. PPF ¶ 209. But the evidence before the Court (and

Plaintiﬀs’ record citations) does not support Plaintiﬀs’ assertion. See Def.’s Resps. ¶ 209.

Instead, while it is true that certain aspects of the Internal Revenue Code and some securities

laws apply to both the Fund and Calamos’ Other ACG Accounts, see, e.g., Mickey Dep. 110:11–

124:18, as a general matter, the weight of the trial evidence conﬁrms that these laws impose

signiﬁcantly more obligations on Calamos with respect to advising the Fund.

       Second, Plaintiﬀs argue that many of Calamos’ third-party providers — who were paid by




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the Fund — took on many of the compliance tasks cited by Calamos. See Pls.’ Resps. ¶ 175. For

example, Plaintiﬀs point out that many of Calamos’ regulatory ﬁlings were prepared and drafted

either entirely or in large part by State Street in exchange for a fee paid by the Fund; certain

compliance functions are the responsibility of the Funds’ Transfer Agent, also compensated by

the Fund separately; and, similarly, outside counsel assisted Calamos’ legal department in

preparing registration statements and prospectuses in exchange for a fee paid by the Fund. PPF

¶¶ 173, 216. While it is true that certain service providers prepared, assisted in providing

information used in, or distributed certain regulatory ﬁlings and shareholder prospectuses for

Calamos, the trial record demonstrates that all providers were subject to Calamos’ monitoring,

supervision, and oversight. Def.’s Resps. ¶¶ 173, 216. And, as stated above, Calamos remains

responsible to the Fund for the activities conducted through service providers; Calamos was

responsible to the Fund for identifying, monitoring, and working to mitigate risks arising from

these service-provider relationships; and Calamos remains liable to the Fund in the event that a

service provider does not correctly perform one of its duties or provides subpar performance. Id.

�erefore, the Court ﬁnds that failing to credit Calamos for its supervision of and responsibility

for third-party service providers would grossly understate the realities of Calamos’ services to the

Fund.

        Third, Plaintiﬀs argue that many of the Other ACG Accounts contractually negotiated a

level of service similar to that imposed by the Fund. Pls.’ Resps. ¶ 175. As an example,

Plaintiﬀs contend that while Calamos’ Institutional Accounts did not beneﬁt from the regulatory

protections applicable to mutual funds, they nonetheless “built similar protective frameworks”

into their investment management agreements with Calamos, and Plaintiﬀs claim that Calamos

was obligated to provide these accounts with frequent and extensive reporting. PPF ¶¶ 210–12.




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�e Court disagrees.

       �e credible evidence at trial demonstrates that the legal, regulatory, and compliance

services Calamos rendered to its Other ACG Accounts were not “extensive” when compared to

the services provided to the Fund. Instead, as Becker credibly explained, these services were

“pretty standardized” — for example, the Other ACG Accounts’ investor guidelines were similar,

the materials presented to those Accounts were similar, the meetings were similar, and many of

the reports Calamos was required to submit did not require substantial eﬀort to create or

customize. Trial Tr. 73:1–75:4 (Becker); Becker Decl. ¶¶ 128, 130–33. And, as Behan

explained, while his department completed due diligence questionnaires on behalf of both mutual

fund clients and separately managed accounts, they completed the vast majority of these

questionnaires — upwards of 90% — for mutual fund clients. Behan Decl. ¶ 87. Jackson also

testiﬁed extensively about the eﬀort Calamos expended in monitoring the regulatory landscape

for any new developments or risks that may face Calamos in advising mutual funds. Trial Tr.

349:9–350:24 (Jackson). As Jackson explained, Calamos does not face this same risk with

regard to the Other ACG Accounts. Id. 350:25–351:1.

       Fourth, and ﬁnally, Plaintiﬀs argue that even assuming Calamos undertakes additional

services and greater risks with respect to advising the Fund versus the Other ACG Accounts, the

costs associated with those greater services and risks come “nowhere close” to explaining or

accounting for the diﬀerence in Calamos’ advisory fees. PPF ¶ 157. But — without determining

whether Plaintiﬀs’ assertion is correct, as explained throughout this opinion — Calamos need not

have “quantiﬁed” the amount of additional services it provided (and additional risks it

undertook) in advising the Fund vis-à-vis its Other ACG Accounts, and any disparity between

fees charged to mutual funds versus institutional accounts need not result entirely from the actual




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diﬀerence in costs and risks an investment adviser incurs in advising the funds versus the

institutional accounts. See supra Part IV.A; cf. Jones, 559 U.S. at 350 (“Even if the services

provided and fees charged to an independent fund are relevant, courts should be mindful that the

[ICA] does not necessarily ensure fee parity between mutual funds and institutional clients . . . .).

       In sum, the Court ﬁnds that the legal, regulatory, and compliance obligations (and risks)

that Calamos undertook in advising the Fund far exceed the obligations (and risks) Calamos

undertook in advising its Other ACG Accounts.

       b. Fund Governance Services

       �e Court ﬁnds that Calamos also provides extensive fund governance services to the

Fund that it did not provide at all, or to anywhere near the same extent, to any of its Other ACG

Accounts. DPF ¶ 181. �e Calamos Funds Board is responsible for overseeing only the Fund

(and the other Calamos-sponsored funds); it is not responsible for any of the Other ACG

Accounts. Id. Consequently, none of the work that Calamos performs for the Board —

including the numerous reports or presentations prepared for the Independent Trustees and the

continuous work or communication with the Independent Trustees and their Counsel — is for the

beneﬁt of any of Calamos’ Other ACG Accounts. Id.

       Moreover, during the 15(c) Process each year, Calamos prepares its extensive 15(c)

Response, which requires signiﬁcant time and eﬀort from Calamos. Id. ¶ 183; see also Trial Tr.

337:13–340:4 (Jackson). While Plaintiﬀs dispute that Calamos had to expend a substantial

amount of time and eﬀort in preparing the 15(c) Responses, see Pls.’ Resps. ¶ 87, the Court ﬁnds

that the weight of credible evidence presented at trial is to the contrary.

       In sum, the Court ﬁnds that the fund governance obligations (and risks) that Calamos

undertook in advising the Fund greatly exceed the limited obligations (and risks) Calamos




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undertook in advising its Other ACG Accounts, to the extent Calamos undertook any services.

       c. Fund Administration Services

       �rough the Fund Administration Department, Calamos provides a wide variety of

essential administrative services to the Fund — such as daily NAV calculation, fund accounting,

and tax reporting. DPF ¶ 184. None of these services was provided to the Other ACG Accounts.

Id.

       Plaintiﬀs urge this Court not to consider these services because: (1) NAV calculation and

fund accounting were provided by State Street, which was independently compensated by the

Funds; (2) Calamos was compensated for tax reporting through the FASA, not the IMA; and (3)

the Fund Administration Department’s expenses were de minimis. �e Court disagrees with all

three contentions for the reasons explained supra. In short, the record evidence demonstrates

that, pursuant to the IMA, Calamos was responsible for “providing literally all of the necessary

services to operate” the Funds. Trial Tr. 487:6–488:2 (Pomerantz); Pls.’ Resps. ¶ 167.

       Whether Calamos opted to engage with a third-party service provider to fulﬁll its

obligations to the Fund is of no moment. As Plaintiﬀs fully admit, Calamos monitors,

supervises, and oversees all of the third-party service providers for the Fund, including the sub-

administrator (State Street), transfer agent (U.S. Bancorp Fund Services), custodian (State

Street), securities lending agents (State Street and Citibank), and auditor (Deloitte). Pls’ Resps.

¶ 187. Calamos remained ultimately responsible for all of the work provided by these third-party

service providers. DPF ¶ 187; see also Jackson Decl. ¶ 119. Yet Calamos was not required to,

and did not, oversee any of these (or any other) third-party service providers with respect to any

of the Other ACG Accounts. Pls.’ Resps. ¶ 188. In sum, in line with other courts to have

considered this issue, the Court ﬁnds that the managerial role Calamos played in coordinating




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with and supervising the Fund’s third-party service providers is far more extensive than Plaintiﬀs

contend, and the Independent Trustees did not err in considering Calamos’ managerial role in its

15(c) Review of the IMA. Cf. In re BlackRock Mut. Funds Advisory Fee Litig., No. 14 Civ. 1165

(FLW), 2019 WL 1387450, at *30 (D.N.J. Feb. 8, 2019); Sivolella v. AXA Equitable Life Ins. Co.,

No. 11 Civ. 4194 (PGS), 2016 WL 4487857, at *46 (D.N.J. Aug. 25, 2016), aﬀ’d, 742 F. App’x

604 (3d Cir. 2018); Kasilag v. Hartford Inv. Fin. Servs., LLC, No. 11 Civ. 1083 (RMB), 2017

WL 773880, at *19 (D.N.J. Feb. 28, 2017), aﬀ’d, 745 F. App’x 452 (3d Cir. 2018).

       And while Plaintiﬀs contend that Calamos “operates the Fund Administration department

at insigniﬁcant cost” because the department’s “total annual budget is $2.8 million,” see PPF

¶ 186, the weight of credible trial evidence demonstrates that the Fund Administration’s budget

does not cover all of the actual costs of fund administration, given that several other Calamos

departments provide fund administration services directly or work alongside the Fund

Administration Department in servicing the Fund. See Trial Tr. 388:5–391:4 (Holloway); see

also Holloway Decl. ¶¶ 9, 54–56.

       Moreover, throughout this litigation, Plaintiﬀs have insisted that the Independent

Trustees’ evaluation failed to distinguish the services Calamos furnished pursuant to the IMA

from the services Calamos furnished pursuant to the FASA, for which it was paid roughly one

basis point a year. Chill, 2018 WL 4778912, at *13. At the summary judgment stage, the Court

observed that § 36(b)’s legislative history indicates that the threshold inquiry in evaluating the

nature and quality of services provided by the investment advisor is the exact services secured by

the challenged fee, id. (citing Zehrer v. Harbor Capital Advisors, Inc., No. 14 Civ. 789 (JHL),

2018 WL 1293230, at *10 (N.D. Ill. Mar. 13, 2018)), and subsequently concluded that “Plaintiﬀs,

at the very least, ha[d] raised genuine questions of material fact with respect to whether the




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Independent Trustees exhibited a lack of conscientiousness when it evaluated Calamos’ services

in a ‘bundled’ fashion.” Chill, 2018 WL 4778912, at *13.

         Now, with the beneﬁt of trial, the Court ﬁnds that the Independent Trustees did not err in

considering the full panoply of advisory services Calamos provided to the Fund, without

disregarding the services speciﬁcally delineated under the FASA. Over and over again at trial,

witnesses from both parties took the stand and testiﬁed credibly that Calamos was required to

provide all services necessary to advise the Fund under the IMA, regardless of whether the FASA

was in operation. See e.g., Trial Tr. 132:14–133:16 (Neal), 393:14–394:4 (Holloway), 487:6–

488:2 (Pomerantz), 750:8–753:3 (Richardson), Trial Tr. 865:4–866:6 (Bullard), 957:13–958:2

(Laby); Pls.’ Resps. ¶¶ 166–67, 346, 348, 352–53. �us, the Court will not elevate form over

substance by drawing lines — divorced from reality — between obligations Calamos had under

the IMA as compared to the FASA. 27

         In sum, the Court ﬁnds that the fund administration obligations (and risks) that Calamos

undertook in advising the Fund greatly exceed the limited obligations (and risks) Calamos

undertook in advising its Other ACG Accounts, to the extent Calamos undertook any services.

         d. Portfolio Management Services

         Plaintiﬀs claim that Calamos provided the Fund and its Other ACG Accounts the same

kinds of Portfolio Management Services under their IMAs, contrary to Calamos’ representations



27
  Throughout their post-trial papers, Plaintiffs assert that the Court had ruled previously, as a matter of law, that the
Independent Trustees evinced a lack of conscientiousness when they evaluated all the services Calamos provided
each year during relevant period in approving the IMA, without excluding from their 15(c) Review those services
expressly listed in, and purportedly compensated fully by, the FASA. See, e.g., Pls.’ Resps. ¶¶ 344, 350, 353. Not
so. In its opinion granting partial summary judgment to Calamos, this Court noted only that “Plaintiffs, at the very
least, have raised genuine questions of material fact with respect to whether the Independent Trustees exhibited a
lack of conscientiousness when it evaluated Calamos’ services in a ‘bundled’ fashion.” Chill v. Calamos Advisors
LLC, No. 15 Civ. 1014 (ER), 2018 WL 4778912, at *13 (S.D.N.Y. Oct. 3, 2018) (emphasis added). And those
“genuine questions of material fact” have now been resolved in Calamos’ favor, as explained supra.



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to the Trustees in its presentations. PPF ¶ 89–96. According to Plaintiﬀs, for all of its ACG

clients, Calamos was required: (1) to buy, sell, exchange, convert and otherwise trade in any

stocks, bonds and other securities; (2) to establish and deal through accounts with one or more

securities broker-dealers or banks as Calamos may select; and (3) to use its best judgment to

select broker-dealers to obtain the best price and most favorable execution. Id. But, as Calamos

correctly explains (and the credible trial evidence conﬁrms), while there are some overlapping

portfolio management services that Calamos provided to the Funds and to its Other ACG

Accounts, the portfolio management services provided to the Funds are diﬀerent and greater in

scope than those provided to any of its Other ACG Accounts. Def.’s Resps. ¶ 89. Jackson

testiﬁed at length about these diﬀerences, which need not be rehashed in this opinion. See, e.g.,

Trial Tr. 333:6–334:13; 343:7–346:5.

       Plaintiﬀs contend that the same investment management personnel serviced the Fund and

the Other ACG accounts. See PPF ¶ 92. �at observation, however, is of little consequence. As

mentioned above, the trial record demonstrates that the portfolio management services that

Calamos provided to the Fund were diﬀerent from and greater in scope than those that Calamos

provided to its Other ACG accounts. See DPF ¶¶ 189–92; see also Def.’s Resps. ¶¶ 199, 314.

       e. Client and Shareholder Services

       Calamos provides various client and shareholder services for the Fund. Plaintiﬀs contend

that Calamos “lavished” the Other ACG Accounts with an “extraordinary level of attention”

when it came to client services. See PPF at heading III.B.3.e.i. But the Court ﬁnds that the

credible weight of the evidence presented at trial paints a diﬀerent picture than that painted by

Plaintiﬀs.

       Among other contentions, Plaintiﬀs argues that whereas Calamos had six to seven times




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the number of full-time Distribution Department personnel servicing the Funds than those

servicing the Other ACG Accounts, this proportion roughly parallels the proportion of the Funds’

AUM to the Other ACG Accounts’ total AUM during the relevant period. PPF ¶ 187. �us,

according to Plaintiﬀs, the cost-per-dollar of AUM to provide the Funds and the Other ACG

Accounts with client services were substantially similar. Id. As Calamos correctly argues,

however, the number of distribution personnel used to service Calamos’ clients says little about

the amount of eﬀort expended by Calamos to provide client services for Fund shareholders as

compared to its Other ACG Accounts. Def.’s Resps. ¶ 187. And indeed, as demonstrated at trial,

the amount of eﬀort Calamos expended in servicing the Funds was far greater than that expended

in servicing its Other ACG Accounts. See, e.g., Trial Tr. 73:1–23 (Becker) (contrasting Calamos’

client services work for thousands of mutual fund clients and their intermediaries with the work

done for Calamos’ Other ACG Accounts); Behan Decl. ¶ 87 (explaining that over 90% of the due

diligence questionnaires completed by Calamos was for the beneﬁt of retail mutual fund clients,

with the small remaining balance at the request of the Other ACG Accounts).

       Plaintiﬀs also contend that Calamos provides both the Funds and its Other ACG Accounts

with quarterly portfolio reviews customized to their individual portfolios, e-newsletters with

market commentary, ﬁrm updates, product reviews, and regular in-person portfolio reviews. PPF

¶ 190. �is much is true. But, as explained credibly by Becker at trial, Calamos’ burden in

preparing for mutual fund board meetings (including preparing documents, compiling

performance data, and answering questions) was far more extensive than the burdens of

preparing for meetings with Calamos’ Other ACG Accounts. See Trial Tr. 73:1–75:3 (Becker).

Calamos also produced evidence demonstrating that its travel burdens were much greater in

advising the Funds vis-à-vis its Other ACG Accounts. See, e.g., id. 75:5–76:2 (Becker)




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(explaining the atypicality of Calamos’ relationship with Nomura — its largest institutional

account — and noting that the requirement to visit Nomura locally once a year was “extreme”

and an “exception to the rule”). And insofar as Plaintiﬀs rely on Calamos’ relationship with

Nomura in attempting to demonstrate that the fees charged to Calamos’ ACG Accounts are an apt

comparator to those charged to the Funds, the Court ﬁnds such reliance unpersuasive in light of

Becker’s extensive credible testimony regarding why Nomura was not a “typical” ACG client.

See Part III.G.2, supra.

       In sum, the Court ﬁnds that the client services provided to the Fund greatly exceeded the

limited client services Calamos provided to its Other ACG Accounts.

       f. Calamos’ Risks in Advising the Fund
          vis-à-vis Its Other ACG Accounts

       �e weight of credible evidence presented at trial conﬁrms that investment advisors

across the industry, including Calamos, take on greater risks in advising mutual funds than they

do with respect to their institutional and sub-advisory clients. As Richardson and Jackson

explained, mutual fund advisors assume greater risk advising mutual funds than they do when

sub-advising other funds or institutional clients, and insurance does not fully cover these risks.

See Richardson Report ¶¶ 19, 45, 67–73, 117–25, 128–32; Trial Tr. 262:14–266:18, 346:7–347:6,

348:4–351:5 (Jackson). Speciﬁcally, the Court ﬁnds that there is — at the very least — increased




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legal and regulatory risk, operational risk, 28 and entrepreneurial risk 29 in advising mutual funds

as compared to non-mutual funds. Moreover, Jackson persuasively explained that these risks are

“inherent” and “dynamic,” and require investment advisors like Calamos to continuously

monitor the legal landscape to try and anticipate issues before they arise. Trial Tr. 348:4–349:3,

349:9–351:5 (Jackson).

         �e Court ﬁnds that insurance does not fully cover these greater risks in advising mutual

funds vis-à-vis its Other ACG Accounts, see DPF ¶ 202, and that Calamos bears these risks even

if they have not materialized in the past or have not been quantiﬁed, id. ¶ 203.

         Both Calamos and Plaintiﬀs’ witnesses agree that it is common practice within the mutual

fund industry for investment advisors to charge a higher fee to mutual fund clients than they

charge to institutional and sub-advisory clients that invest in similar strategies. Pls.’ Resps.

¶ 225. And here, Plaintiﬀs fully admit that no court has ever held that the fees charged to an

investment adviser’s institutional or sub-advised clients constitute a ceiling on fees charged to

the adviser’s mutual fund clients. Pls.’ Resps. ¶ 227. Likewise, to the Court’s knowledge, no



28
  Again, as mentioned above, the IMA requires Calamos to “manage, supervise and conduct the other affairs and
business of the Trust and each Fund thereof and matters incidental thereto, subject always to the control of the
Trustees.” Pls.’ Resps. ¶ 166. Under this provision, Calamos is responsible for ensuring the provision of the entire
variety of non-portfolio management services necessary to manage the Fund, such as fund administration and
accounting, legal, compliance, and external reporting. Id. Indeed, Pomerantz testified that Calamos is “morally
responsible” under the IMA for “everything that needs to be done” for the Fund and for “providing literally all of the
necessary services to operate the trust.” Trial Tr. 487:6–488:2. Similarly, Bullard testified that the IMA requires
Calamos to provide or arrange for the complete bundle of services needed to run the Fund. Pls.’ Resps. ¶ 167.
In contrast to the terms of the IMA operative between Calamos and the Fund, none of the agreements with Calamos’
Other ACG Accounts contained a provision that, either in words or substance, required Calamos to “manage,
supervise and conduct the other affairs and business” of any of those accounts in the same manner as the IMA
requires with respect to the Fund. Id. ¶ 168.
29
  At trial, Plaintiffs attempted to undermine Richardson’s opinions by implying that the Fund had ceased
experiencing entrepreneurial risks because of its age and level of profitability. See Trial Tr. 757:24–758:19
(Richardson). Yet the Court credits Richardson’s observation that “entrepreneurial risks continue even after you’ve
obtained a measure of profitability. You don’t know that the fund is always going to be profitable going forward.”
Id. 758:24–759:4; see also Richardson Report ¶ 128.



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court has ever held that the fees charged to an investment adviser’s institutional or sub-advised

accounts are even apt comparators for the fees charged to mutual funds such that a disparity

between those fee structures constitutes evidence of a lack of arm’s-length bargaining. Rather, as

far as the Court can tell, every court to have considered this issue on the merits has come to the

exact opposite conclusion. See, e.g., Jones v. Harris Assocs. L.P., 611 F. App’x 359, 361 (7th Cir.

2015) (concluding upon remand from the Supreme Court that “Plaintiﬀs have not proﬀered

evidence that would tend to show that [the investment adviser] provided pension funds (and

other non-public clients) with the same sort of services that it provided to the [mutual] funds, or

that it incurred the same costs when serving diﬀerent types of clients”); Gartenberg, 694 F.2d at

930 n.3 (rejecting comparisons between fees charged by an adviser to a money market fund

versus fees it charged to a pension fund and noting that “[t]he nature and extent of the services

required by each type of fund diﬀer sharply”). 30

        �e facts in this case do not counsel a diﬀerent result. Accordingly, the Court concludes

that the fees charged to Calamos’ Other ACG Accounts are inapt comparators to the fees charged

to the Fund in determining whether the Fund was charged excessive fees. Simply put, the

diﬀerences in services and risks undertaken by Calamos in advising the Fund vis-à-vis Calamos’

Other ACG Accounts are too great for any comparison to be probative on the question of whether




30
   District Courts across the country have come to the same conclusions. See, e.g., Kennis v. Metro. West Asset
Mgmt., LLC, No. 15 Civ. 8162 (GW), slip op. at 41–48, Doc. 506 (C.D. Cal. Jul. 31, 2019, adopted Aug. 5, 2019);
In re Blackrock Mut. Funds Advisory Fee Litig., No 14 Civ 1165 (FLW), 2019 WL 1387450, at *29–32 (D.N.J. Feb.
8, 2019); Goodman v. J.P. Morgan Inv. Mgmt., Inc., 301 F. Supp. 3d 759, 774 (S.D. Ohio 2018); Sivolella v. AXA
Equitable Life Ins. Co., No. 11 Civ. 4194 (PGS), 2016 WL 4487857, at *43 (D.N.J. Aug. 25, 2016), aff’d, 742 F.
App’x 604 (3d Cir. 2018); Gallus v. Ameriprise Fin., Inc., 497 F. Supp. 2d 974, 982 (D. Minn. 2007) rev’d and
remanded, 561 F.3d 816 (8th Cir. 2009), cert. granted, judgment vacated, 559 U.S. 1046 (2010), and order
reinstated, 2010 WL 5137419 (D. Minn. Dec. 10, 2010), aff’d, 675 F.3d 1173 (8th Cir. 2012); Schuyt v. Rowe Price
Prime Reserve Fund, Inc., 663 F. Supp. 962, 973 n.38 (S.D.N.Y.), aff’d, 835 F.2d 45 (2d Cir. 1987).




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the Fund’s fees are representative of arm’s-length bargaining. 31

             Comparison of Fees Charged to the Fund by Calamos
             versus Fees Calamos Charged to Its Institutional and Sub-Advised Clients

        Even if such a comparison were to be relevant, the Court notes that Plaintiﬀs

fundamentally misapprehend the importance of comparative fee structures in the Gartenberg

analysis. According to Plaintiﬀs, “a fee negotiated at arm’s length with [an] institutional or sub-

advisory account invested in the same strategy serves as a ﬁrst-order baseline reference for a

mutual fund’s advisory fee, but mutual funds can validly exceed such a baseline to the extent that

mutual funds were provided with greater services.” Pls.’ Resps. ¶ 428 (emphasis added); see

also id. ¶ 209 (arguing that § 36(b) and Jones requires Calamos to “cost-justify” the Fund’s fees).

�eir expert, Pomerantz, is under the same misapprehension. See Trial Tr. 493:9–497:3

(Pomerantz) (testifying that fee diﬀerentials between diﬀerent clients can only be “justiﬁed” to

the board of trustees on the basis of diﬀerence in services rendered).

        Plaintiﬀs are wrong: �e Supreme Court in Jones made clear that “[e]ven if the services

provided and fees charged to an independent fund are relevant, courts should be mindful that the

[ICA] does not necessarily ensure fee parity between mutual funds and institutional clients.”

559 U.S. at 350 (emphasis added). Likewise, the Supreme Court has concluded that “[o]nly

where plaintiﬀs have shown a large disparity in fees that cannot be explained by the diﬀerent

services in addition to other evidence that the fee is outside the arm’s-length range will trial be

appropriate.” Id. at 350 n.8 (emphasis added); see also id. at 354 (�omas, J., concurring)

(cautioning courts to refrain from “emphasiz[ing] fee ‘fairness’ and proportionality in a manner

that could be read to permit the equivalent of the judicial rate regulation the Gartenberg opinions


31
  While not discussed in this opinion, the Court rejects Pomerantz’s “AUM-weighted average effective fee rate”
opinions for the reasons provided by Calamos in its moving papers. See Def.’s Resps. ¶ 149.



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disclaim” (citation omitted)). Moreover, this Court was clear on this point in its opinion granting

partial summary judgment to Calamos, remarking:

           Plaintiﬀs will be hard-pressed to prevail at trial merely by demonstrating
           solely that the challenged Advisory Fees are higher, even much higher, than
           those charged to Calamos’ comparable institutional and sub-advisory cli-
           ents . . . . It is neither the province nor the duty of federal courts to “assess
           the fairness or reasonableness of advisors’ fees; the goal is to identify the
           outer bounds of arm’s length bargaining and not engage in rate regulation.”
Chill, 2018 WL 4778912, at *17 (quoting Paskowitz v. Prospect Capital Mgmt. L.P., 232 F. Supp.

3d 498, 501 (S.D.N.Y. 2017)).

       Here, Plaintiﬀs have failed to show that the disparity in fees between the Fund and

Calamos’ Other ACG Accounts cannot be explained by the diﬀerent services and risks Calamos

undertakes in advising the Fund. And, even assuming that Plaintiﬀs could make such a showing,

the Court nevertheless ﬁnds that Plaintiﬀs have failed to show “additional evidence” persuasive

enough to convince the Court by a preponderance of the evidence that the Fund’s advisory fees

are not the product of arm’s-length bargaining.

       C. Proﬁtability

       �e Court ﬁnds that the proﬁtability of the Fund to Calamos does not support a

conclusion that the advisory fees paid by the Fund to Calamos were excessive.

       In its opinion and order granting partial summary judgment to Calamos, the Court found

“wholly lacking in merit” Plaintiﬀs’ contention that the Independent Trustees’ review of the

Fund’s proﬁtability was deﬁcient because Calamos’ 15(c) presentations to the Board materially

understated the Fund’s proﬁtability. Chill, 2018 WL 4778912, at *12. Instead, the Court

concluded that “the Independent Trustees were fully informed about Calamos’ proﬁtability

methodology, thoroughly discussed the impact that methodology would have on the proﬁtability

ﬁgures Calamos reported vis-à-vis alternative methodologies, and formally approved of



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Calamos’ use of that methodology.” Id. But the Court concluded that there were triable issues of

fact surrounding the Fund’s actual proﬁtability to Calamos, in substantial part because Calamos

failed to provide a meaningful argument as to why Plaintiﬀs’ alternative proﬁtability ﬁgures and

evidence of calculation ﬂaws did not raise triable issues of material fact. Id. at *20–21. �e

Court did note, however, that it agreed with Plaintiﬀs’ expert, Bullard, who testiﬁed during his

deposition that “an advisor’s proﬁtability is a poor measure of the excessiveness of its fees

because there is no necessary correlation between the two.” Id. at *21 (citing Bullard Dep.

302:2–7).

            Proﬁtability Estimates

       �e parties proﬀered two estimates of Calamos’ pre-tax, pre-distribution proﬁtability. �e

Plaintiﬀs, using a methodology developed by Pomerantz and discussed in Part III.H.2.b, supra,

estimated that Calamos enjoyed a proﬁt margin of between 61% and 75% from the Fund during

the relevant period. Pomerantz Report at ¶ 521. Calamos, relying on its internal methodology,

suggested its proﬁtability was much lower: only 29% to 55%. DPF ¶ 342.

       A number of district courts have examined advisors’ proﬁt margins and concluded that

the margin was not excessive. Several of these cases are laid out below:




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                            Case                                      Margin Approved

 Meyer v. Oppenheimer Mgmt. Corp.,                                       89% pre-tax,
 707 F. Supp. 1394, 1401 (S.D.N.Y. 1988), aﬀ’d, 895               including some distribution
 F.2d 861 (2d Cir. 1990)                                                   expenses

                                                                        77.3% pre-tax,
 Schuyt v. Rowe Price Prime Reserve Fund, Inc., 663 F.
                                                                including some sales promotion
 Supp. 962, 979 (S.D.N.Y. 1987)
                                                                           expenses

 In re Davis New York Venture Fund Fee Litig., No. 14
 Civ. 4318 (LTS), slip op. 11, 31–32 (S.D.N.Y. July 2,             73.33% to 81.43% pre-tax
 2019), Doc. 164.

 Kasilag v. Hartford Inv. Fin. Servs., LLC,
 No. 11 Civ. 1083 (RMB/KMW), 2017 WL 773880, at
                                                                    45.6% to 80.3% pre-tax
 *22 (D.N.J. Feb. 28, 2017), aﬀ'd, 745 F. App’x 452 (3d
 Cir. 2018)

 Redus-Tarchis v. N.Y. Life Inv. Mgmt. LLC, No. 14 Civ.
 7991 (WHW), 2018 WL 5307546, at *9-10 (D.N.J. Oct.                      46% to 53%,
 10, 2018)                                                              pre-distribution

         In determining whether Calamos’ proﬁts are indicative of excessive fees, “[t]he Court is

guided by the notion that it is not a permissible approach under Section 36(b) to argue that the

adviser ‘just plain made too much money.’” Kasilag v. Hartford Inv. Fin. Servs., LLC, No. 11

Civ. 1083 (RMB/KMW), 2017 WL 773880, at *22 (D.N.J. Feb. 28, 2017), aﬀ’d, 745 F. App’x

452 (3d Cir. 2018) (quoting Kalish v. Franklin Advisors, Inc., 742 F. Supp. 1222, 1237 (S.D.N.Y.

1990)). Yet, that is the entirety of Plaintiﬀs’ argument on this point. See PPF ¶ 397; Pls.’ Resps.

¶ 342.

         Given that both Calamos’ and Plaintiﬀs’ estimates of proﬁtability fall well within the

range of many, if not all of the proﬁtability ranges approved by other courts, and given that there

is no other evidence indicating that the proﬁt margins are excessive, this Court determines that

neither interpretation of Calamos’ proﬁt margin is excessive under the ICA. Keeping in mind the




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warnings of the Gartenberg court, this Court declines to set fees or impose any cost-plus pricing

scheme. See 694 F.2d at 928.

             The Best Estimate of Calamos’ Proﬁtability

        Because the Court has determined that both estimates of proﬁtability fail to support a

charge of excessive fees, it may end the proﬁtability analysis there. But to the extent necessary,

it ﬁnds Calamos’ AUM-allocation method, described in Part III.E.3, supra, more appropriate

than that used by Pomerantz.32

        Calculating pre-distribution proﬁtability, like any other proﬁtability calculation,

necessarily involves the exercise of discretionary accounting judgments that may aﬀect the

overall result. Pls.’ Resps. ¶ 299. But, as Plaintiﬀs’ note, diﬀerent methodologies can produce a

range of diﬀerent results that are not equally reasonable, and that, at the extremes, yield absurd

results and are not decision-useful. Id. Particularly when calculating proﬁtability of a subset of

the Calamos business, there is no one “true” proﬁtability ﬁgure because there are a range of

reasonable and acceptable judgments and methodologies that can be used to produce a range of

diﬀerent but equally reasonable results. Id. As Lacey credibly explained at trial, “[t]here is no

single best method [for allocating costs]. It depends on the facts and circumstances and the

judgment of management.” Id. ¶ 299.

        In preparing the Proﬁtability Presentation, Calamos is required to account for not only

“direct” expenses, but also “indirect” expenses (sometimes called “joint and common”

expenses). Id. ¶ 302. An indirect expense is an expense that is incurred but cannot be connected

solely to a speciﬁc cost object, such as rent, insurance, employee salaries, and utilities like



32
  The Court has already found Pomerantz’s methodology to be unreliable. See Part III.H.2.b, supra. To the extent
considering it is still relevant, the Court finds Calamos’ methodology to be the more reliable of the two.



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electricity or gas heat. Id. It is not possible to trace these expenses to the product(s) and fund(s)

incurring these costs. Id. �erefore, some allocation methodology must be selected so that the

expenses can be attributed to the cost object(s) to which the expense is connected. Id. A large

amount of the advisory expenses are indirect expenses that therefore must be allocated. Id.

        �e AUM allocation approach is “commonly accepted within the industry,” as the Court

recognized on summary judgment. DPF ¶ 304. �e trial witnesses reinforced this conclusion.

Id. Pomerantz admitted that allocation by AUM is common in the mutual fund industry, and that

he is unaware of a single statute, SEC regulation, or any other source of law that prohibits the use

of such a methodology. Id. In addition, as Neal testiﬁed, during his time at Kemper, that

investment adviser also utilized the average AUM allocation methodology to calculate mutual

fund proﬁtability for its 15(c) response. Id.; see also Trial Tr. 215:19–25 (Neal) (“Is it the way

we did it at Kemper? Yes. Is it the way many advisers and independent boards do it? Yes. And

it’s the way we did it.”).

        �us, contrary to Plaintiﬀs’ representation that “there is no record evidence indicating that

many, or any, advisers other than [Calamos] allocate eﬀectively all advisory costs on the sole

basis of AUM,” see Pls.’ Resps. ¶ 301, the record reveals credible testimony that other advisers

in fact do so. Moreover, as the only qualiﬁed accountants this Court credited at the trial

(Helmetag and Lacey) testiﬁed, Calamos’ manner of calculating Fund-level proﬁtability,

including its allocation of indirect costs on the basis of AUM, is consistent both with managerial

accounting principles and the principles underlying GAAP. Id. ¶ 305. �ese facts went

uncontroverted; Plaintiﬀs did not oﬀer any competent evidence that Calamos’ cost allocation

approach is inconsistent with managerial accounting principles or the principles underlying

GAAP. Id. ¶ 306.




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       Lacey credibly explained why Calamos’ cost allocation method and its concomitant

Proﬁtability Presentations could be “decision-useful” to the Independent Trustees:

           It’s a reasonable allocation. �e larger fund gets a larger beneﬁt from the
           information. What we’re talking about is computing the proﬁtability for the
           adviser advising a particular fund. So, it’s the proﬁtability the adviser —
           we must allocate these common costs, joint costs, to the diﬀerent funds.
           And so, there has to be some mechanism to do so. And where we don’t
           have the cause and eﬀect relationship, we look at beneﬁts received. Larger
           funds receive more beneﬁt.

Trial Tr. 1006:11–19 (Lacey) (emphasis added).

       In the ordinary course of business, Calamos’ corporate books do not segregate expenses

between pre-distribution and post-distribution activities. Pls.’ Resps. ¶ 308. �us, in preparing

the pre-distribution proﬁtability requested by the Independent Trustees, Calamos must undertake

further calculation and exercise further judgment in seeking to identify pre-distribution expenses

and post-distribution expenses. Id. During the relevant period, the manner in which Calamos

allocated indirect costs between the advisory and distribution functions was fully disclosed to the

Independent Trustees, as Bullard acknowledged. Id. ¶ 309. Moreover, the trial record ﬁrmly

establishes that the Independent Trustees found the apportionment of these expenses in this

manner both reasonable and decision-useful. DPF ¶ 309; see also Neal Decl. ¶ 108.

       Some of these apportionment judgments are intuitively clear. For example, the decision

to apportion 100% of indirect investment management expenses to the advisory function as

opposed to the distribution function is straightforward. Pls.’ Resps. ¶ 310. But other

apportionment judgments are less clear. For example, Plaintiﬀs take issue with Calamos

apportioning 100% of “Information Services” and “General & Administrative” (“G&A”)

expenses — which included executive management, legal, compliance, human resources, rent

(facilities), and ﬁnancial department expenses — to the distribution function. See Helmetag



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Decl. ¶ 52 (citing the 2016 Mutual Fund Proﬁtability Presentation (DX 145-R at 634768)).

Plaintiﬀs claim that it is unreasonable to allocate 100% of Information Services and G&A

expenses to the advisory function and 0% to the distribution function, particularly given that

“distribution personnel constitute 23% of Calamos’ total headcount and utilize the same IT

Services and G&A resources as [Calamos’] advisory personnel.” PPF ¶ 408; see also Trial Tr.

253:14–254:12 (Helmetag) (testifying that “distribution comprises about 23 percent of the

company in terms of head count”). Plaintiﬀs’ point is well taken. Bhatt, Calamos’ former CFO,

could not recall during his deposition whether the Independent Trustees ever asked questions

regarding why 100% of Information Services expenses was allocated to the advisory function

versus distribution. Bhatt Dep. 96:15–97:1. Timbers testiﬁed to the same eﬀect. See Timbers

Dep. 94:11–95:14.

       Neal testiﬁed, however, that he believed it was reasonable to allocate all of the expenses

for Information Services and G&A to Calamos’ advisory function. Trial Tr. 146:24–147:2,

148:24–149:1. Neal explained that the Independent Trustees could have been more picky about

Calamos’ allocation methodology, but determined that it was unnecessary because (a) the

Trustees were “industry-experienced people” who knew the approximate costs and services

related to advising, (b) Calamos’ average AUM approach was a reasonable methodology, and (c)

proﬁtability information “wasn’t the kind of information that’s essential for approval” of the

IMA, but rather “only a piece of information.” Id. 191:5–192:21 (emphases added); see also

Timbers Dep. 98:6–8 (“You know, [Calamos] had — all these accountants have their ways of

allocating [expenses,] and if it sounds reasonable, it sounds fair, then you’re okay.”).

       Similarly, as Helmetag credibly testiﬁed, with respect to the G&A expenses being 100%

allocated to the advisory function, given the overall dominance of the advisory function within




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the Calamos organization as compared to the distribution function, it was reasonable to estimate

that these departments are required in substantial part to support the advisory function. For

example, external wholesalers who work to distribute the Funds work remotely and have no need

for oﬃce space at Calamos, so in this instance it is reasonable to estimate that the advisory

function incurs greater rent expense than the distribution function. DPF ¶ 311.

        Plaintiﬀs, of course, disagree. �ey point out that Calamos’ distribution department,

which included at least seventy ﬁve personnel, was larger than Calamos’ investment management

department, which included approximately sixty ﬁve to seventy ﬁve personnel. See Pls.’ Resps.

¶ 311. But resort to headcount, without more, says little to nothing about the extent of expenses

incurred in handling the advisory function versus the distribution function. For example, as

Helmetag explained, a number of the distribution personnel are “wholesalers” who work

remotely and do not reside in any oﬃce of Calamos and, therefore, do not contribute to one of

Calamos’ largest expenses under the G&A umbrella: rent. See Trial Tr. 254:6–255:16. At

bottom, “the predominant costs are for the advisory function;” therefore, if one were to have

allocated 5% or 10% of G&A to distribution, in Helmetag’s opinion, which the Court credits, “it

doesn’t result in a material diﬀerence . . . to the results that are presented in the proﬁtability

analysis. It may change the overall proﬁtability by a percent or two.” Id. 249:17–23. �e Court

ﬁnds that Calamos’ allocations — and therefore proﬁt margin estimates of 29% to 55% — were

reasonable.

        In conclusion, the Fund’s proﬁtability to Calamos — and Calamos’ methodology for

calculating proﬁtability — fail to support Plaintiﬀs’ argument that Calamos breached its ﬁduciary

duty under § 36(b). As the credible evidence at trial revealed: (1) no estimate of Calamos’

proﬁtability is excessive; (2) an adviser’s choice of cost allocation methodology, if reasonable (as




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is Calamos’ average AUM methodology) does not meaningfully aﬀect whether an advisory fee is

excessive; (3) Calamos’ calculation of its proﬁtability as to the Fund necessarily involves the

exercise of reasonable discretionary accounting judgments, as Calamos’ judgments were; and (4)

because there are a range of reasonable and acceptable judgments and methodologies that can be

used, and which all will produce a range of diﬀerent but equally reasonable results, there is no

one “true” proﬁtability ﬁgure. �us, in this case, consideration of the Fund’s proﬁtability to

Calamos does not lend support to Plaintiﬀs’ claim that Calamos violated its ﬁduciary duty under

§ 36(b).

        D. �e Nature and Quality of Services Calamos Provided to the Fund

             The Recent Performance of the Fund

        �e Court now evaluates the nature and quality of services provided to the Fund.

Plaintiﬀs contend that the Fund’s performance was exceptionally poor, and they maintain that the

Independent Trustees oﬀered only “ﬁg-leaf responses” to Calamos’ “continued poor

performance” in advising the Fund. PPF Part I.E. In other words, Plaintiﬀs zero in on the

quality of services provided by Calamos. 33 Upon review of the trial record, the Court ﬁnds that

the Fund did underperform for most of the relevant period. But the Court also ﬁnds that the

Independent Trustees were fully informed about the Fund’s performance history — both the

positive and the negative; were fully informed about Calamos’ eﬀorts to “right the ship;” and

ultimately evinced conscientiousness and care in approving the advisory fees charged to the Fund

each year during the relevant period, notwithstanding Fund performance.



33
  Given the Court’s conclusions concerning (1) the propriety of the Independent Trustees’ consideration of all
advisory services provided by Calamos, without attempting to artificially distinguish the services provided by the
IMA from the services provided pursuant to the FASA, and (2) the propriety of the Independent Trustees’
consideration of Calamos’ obligation to supervise and manage the Fund’s third-party service providers, any dispute
over the nature of services provided to the Fund by Calamos has been laid to rest.



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        Although performance is not an explicit Gartenberg factor, boards of trustees and courts

alike have considered fund performance in analyzing the “nature and quality of services”

provided by an investment adviser. See In re Davis N.Y. Venture Fund Fee Litig., No. 14 Civ.

4318 (LTS), 2019 WL 2896415, at *14 (S.D.N.Y. July 2, 2019). �at said, courts have often

been “wary about attaching too much signiﬁcance to a fund’s ﬁnancial performance,” Paskowitz

v. Prospect Capital Mgmt., 232 F. Supp. 3d 498, 506 (S.D.N.Y. 2017) (quoting Redus-Tarchis v.

N.Y. Life Inv. Mgmt., No. 14 Civ. 7991 (WHW), 2015 WL 6525894, at *7 (D.N.J. Oct. 28, 2015))

— and for good reason. As explained by the Fourth Circuit in Migdal v. Rowe Price-Fleming

International, Inc.:

             Investing is not a risk-free endeavor. Even the most knowledgeable advisers
             do not always perform up to expectations, and investments themselves in-
             volve quite diﬀerent magnitudes of risk. Furthermore, investment results
             are themselves cyclical. An under-achieving fund one year may be an over-
             achieving fund the next.

248 F.3d 321, 327–28 (4th Cir. 2001). Hewing to Migdal’s reasoning, the Second Circuit has

held that “allegations of underperformance alone are insuﬃcient to prove that an investment

adviser’s fees are excessive.” Amron v. Morgan Stanley Inv. Advisors Inc., 464 F.3d 338, 344 (2d

Cir. 2006) (quoting Migdal, 248 F.3d at 327); cf. In re Davis, 2019 WL 2896415, at *15

(observing that “imposing liability based on proﬁts during periods of poor performance” risks

“put[ting] the Court in the position of setting fees in a performance-based billing regime”).

        Calamos urges the Court to examine the Fund’s performance in a series of one-year

periods:

                During the one-year period prior to the June 2013 Board meeting, the
                 Fund’s performance ranked at the 97th percentile 34 of its Morningstar


34
  All percentile rankings for performance listed immediately below, as presented by Morningstar, follow this logic:
“1 = Best, 100 = Worst.” See, e.g., JX 88 at 523996 n.1.



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                  category;
                 During the one-year period immediately prior to the June 2014 Board
                  meeting (that is, as of June 2014), the Fund’s performance had reached
                  the top quartile of its Morningstar category, ranking in the 20th percen-
                  tile; 35
                 During the one-year period immediately prior to the July 2015 Board
                  meeting (that is, as of June 2015), the Fund’s performance remained in
                  the top third of its Morningstar category, ranking in the 32nd percentile;
                 During the one-year period immediately prior to the July 2016 Board
                  meeting (that is, as of June 2016), the Fund’s performance was in the
                  bottom quartile of its Morningstar category, ranking in the 86th percen-
                  tile;
                 During the one-year period prior to the June 2017 Board meeting (that
                  is, as of May 2017), the Fund’s performance was again in the bottom
                  quartile of its Morningstar category, ranking in the 87th percentile. But,
                  the Fund’s year-to-date performance in 2017 — the majority of which
                  time the Fund had been under Michael Grant’s supervision following
                  David Kalis’ departure from Calamos — had been better relative to peer
                  mutual funds than its one-year performance, ranking in the 58th percen-
                  tile of its Morningstar category; and
                 During the one-year period prior to the June 2018 Board meeting (that
                  is, as of May 2018), the Fund’s performance was in the third quartile of
                  its Morningstar category, ranking in the 60th percentile.

Pls.’ Resps. ¶ 98.

         But, as Plaintiﬀs are quick to point out, the Fund’s comparative investment performance

data over three-, ﬁve-, and ten-year periods did not look much better, and oftentimes looked

worse than the performance ﬁgures cited above. See, e.g., PPF ¶¶ 101–02. �ey also point out



35
   As Plaintiffs rightly point out, while the Fund’s Morningstar performance ranking for the one-year period ending
June 2014 was the 20th percentile, the performance ranking for the one-year period ending March 2014 (i.e., the
traditional period reported in the Independent Data Providers’ Reports) was the 32nd percentile. See Pls.’ Resps.
¶ 98. But this fact has little persuasive value, as both percentiles indicate strong fund performance and, as Hubbard
explained, “the relative rank of any fund’s returns (especially returns measured over short horizons, such as a one-
year period) is sensitive to the discrete ‘end’ dates selected to measure the fund’s returns.” Hubbard Report ¶ 113.
Additionally, the Independent Trustees were apprised monthly and quarterly of the Fund’s performance, see SSF
¶ 31; Pls.’ Resps. ¶ 122, and were therefore aware of these figures. See Becker Decl. ¶¶ 4, 7, 9–11, 18–19, 22–24,
26.



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that Calamos’ witnesses admitted as much during trial. See, e.g., id. ¶¶ 107–08.

        Regardless of the amorphous “end” date selected to measure the Fund’s returns, the Court

ﬁnds that incontrovertible evidence demonstrates that the Fund’s performance was often

underwhelming during the relevant period. Accordingly, this factor supports Plaintiﬀs’

contention that Calamos’ fees were excessive.

             Mitigating Factors

        But it does so weakly. At base, the credible trial evidence reveals that past performance,

whether relative or absolute, is of limited utility in assessing the excessiveness vel non of fees

charged to a mutual fund under § 36(b). Investors and boards are typically more concerned with

future performance, which necessarily entails some speculation; and past performance, whether

poor or exceptional, is a weak and unreliable indicator of future performance. DPF ¶¶ 279–80.

�us, while the Court remains of the opinion that “it seems axiomatic that a mutual fund’s

persistent underperformance vis-à-vis its peers is the best barometer of the [quality of] services it

receives,” see Chill v. Calamos Adivsors LLC, 175 F. Supp. 3d 126, 142–43 (S.D.N.Y. 2016), it is

not unreasonable for a board of trustees — fully apprised of the fund’s performance history and

its investment adviser’s eﬀorts to improve performance — to evaluate (and ultimately credit) the

potential of better future returns, while also weighing the lackluster past returns, in determining

whether to approve an IMA. �e Court ﬁnds that the Independent Trustees did exactly that in

this case.

        For example, the Independent Trustees received information at each Board meeting about

the Fund’s since-inception performance on an absolute basis, relative to benchmark indices, and

relative to peer mutual funds, along with information about the Fund’s performance during other

short-, medium-, and long-term periods. Pls.’ Resps. ¶ 96. In addition to providing this and




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additional performance data to the Independent Trustees, Calamos regularly provided them with

its explanation of the investment decisions and market forces that it believed contributed to the

Fund’s performance and how Calamos planned to adapt to these and other market forces going

forward. Pls.’ Resps. ¶ 99. �e Court also ﬁnds that throughout the relevant period, and contrary

to Plaintiﬀs’ contentions otherwise (which need not be rehashed in this opinion), Calamos did

make numerous signiﬁcant and costly changes to its investment team and investment process,

which was not limited to additional personnel hired to service the Funds. See DPF ¶¶ 106–20.

And the Independent Trustees did conscientiously consider these signiﬁcant and costly changes

(along with several other factors) in determining whether to approve Calamos’ advisory fee each

year during the relevant period. Pls.’ Resps. ¶¶ 122–23, 129–31; DPF ¶¶ 127, 133–38, 141–42. 36

         �e recent underperformance is further contradicted by the Fund’s since-inception

performance. As of each annual meeting when the Independent Trustees voted to approve the

IMA, the Fund’s since-inception annualized return was at least 12.74%, which both ranked

between the 2nd and 4th percentiles of its Morningstar category and exceeds the annual returns

of all of the Fund’s benchmark indices during the same period. Pls.’ Resps. ¶ 96. �e Fund also

has earned positive absolute returns in twelve of the ﬁfteen years leading up through the end of

2017. Id. In fact, �e Fund’s since-inception ranking compared to peer mutual funds actually

understates the Fund’s relative performance because the peer group only includes mutual funds

that survived for the entire time period. Id. ¶ 97. In particular, Hubbard’s analysis shows that

only nine of approximately sixty original peer mutual funds at the time of its inception have

survived to the present date. Id. �e Fund has also experienced substantial periods of



36
  Insofar as Plaintiffs’ expert Bullard opined otherwise, the Court finds his testimony unpersuasive for the same
reasons provided by Calamos. See DPF ¶ 125.



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outperformance even as compared to these nine surviving funds. Id.

       Plaintiﬀs argue that the Fund’s long-term performance history is “irrelevant” because the

“Fund’s since inception performance has nothing to do with [Calamos]’s performance vis-à-vis

the [] Fund’s shareholders during the [r]elevant [p]eriod.” Pls.’ Resps. ¶ 96. Plaintiﬀs are

wrong. �e Fund’s express investment objective is long-term capital growth. See supra Part

III.B. �us, the Fund’s long-term performance is, at the very least, a somewhat useful measure

of a Fund’s success in achieving its investment objective. See Hubbard Report ¶ 113 (explaining

that “the relative rank of any fund’s returns (especially returns measured over short horizons,

such as a one-year period) is sensitive to the discrete ‘end’ dates selected to measure the fund’s

returns”). �us, while it certainly is true that the Independent Trustees should also consider the

Fund’s medium- and short-term performance, as well as the Fund’s performance relative to its

peers, the Court ﬁnds unpersuasive Plaintiﬀs’ assertion that the Fund’s long-term performance is

simply irrelevant. �e Court credits trial testimony explaining the utility of such a metric. See,

e.g., Trial Tr. 716:20–717:8 (Hubbard).

       Finally, the Court ﬁnds that Calamos’ substantial eﬀorts to improve performance and the

Fund’s more recent uptick in performance further lessens the importance of the Fund’s struggles

with performance during the relevant period. Cf. Kasilag v. Hartford Inv. Fin. Servs., LLC, No.

11 Civ. 1083 (RMB), 2017 WL 773880, at *21 (D.N.J. Feb. 28, 2017), aﬀ’d, 745 F. App’x 452

(3d Cir. 2018) (“Dr. Hubbard’s unrebutted testimony that the fund was undergoing management

changes, and the fact that the Fund performed strongest during the ﬁnal ten-year period presented

to the Court softens the determination that the Fund overall performed weakly.”).

       E. Economies of Scale and Fall-Out Beneﬁts

       �e Court has already ruled in Calamos’ favor as to economies of scale and fall-out




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